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                                      UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF PUERTO RICO
      -------------------------------------------------------------x
      In re:                                                                PROMESA
                                                                            Title III
      THE FINANCIAL OVERSIGHT AND
      MANAGEMENT BOARD FOR PUERTO RICO,
                                                                            No. 17 BK 3283-LTS
               as representative of
                                                                            (Jointly Administered)
      THE COMMONWEALTH OF PUERTO RICO, et al.

                                        Debtors.1
      -------------------------------------------------------------x

                                          CERTIFICATE OF SERVICE

         I, Christian Rivera, declare under penalty of perjury that I am employed by Kroll
  Restructuring Administration LLC (“Kroll”)2, the solicitation, notice, and claims agent for the
  Debtors in the above-captioned cases under Title III of the Puerto Rico Oversight, Management,
  and Economic Stability Act (PROMESA).

          On March 30, 2022, at my direction and under my supervision, employees of Kroll caused
  a request for additional claim information, in the form of a customized letter, a blank copy of
  which is attached hereto as Exhibit A, to be served via First Class Mail on the ACR ERS Notice
  Parties Service List attached hereto as Exhibit B.

         On March 30, 2022, at my direction and under my supervision, employees of Kroll caused
  a request for additional claim information, in the form of a customized letter, a blank copy of
  which is attached hereto as Exhibit C, to be served via First Class Mail on the ACR Public
  Employees Final Notice Service List attached hereto as Exhibit D.


  1
    The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four (4)
  digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto Rico
  (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax
  Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal Tax ID:
  8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS)
  (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the
  Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax
  ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last
  Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case
  No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as Bankruptcy
  Case numbers due to software limitations).
  2
    On March 29, 2022, Prime Clerk LLC changed its name to Kroll Restructuring Administration LLC.
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         On March 30, 2022, at my direction and under my supervision, employees of Kroll caused
  a request for additional claim information, in the form of a customized letter, a blank copy of
  which is attached hereto as Exhibit E, to be served via First Class Mail on the ACR Tax Final
  Notice Service List attached hereto as Exhibit F.


  Dated: April 12, 2022
                                                                   /s/ Christian Rivera
                                                                   Christian Rivera
  State of New York
  County of New York

  Subscribed and sworn (or affirmed) to me on April 12, 2022, by Christian Rivera, proved to me
  on the bases of satisfactory evidence to be the person who executed this affidavit.

  /s/ OLEG BITMAN
  Notary Public, State of New York
  No. 01BI6339574
  Qualified in Queens County
  Commission Expires April 4, 2024




                                             2                                        SRF 60546
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                                    Exhibit A
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  30 de marzo de 2022




  Re:    Reclamación Núm.       - REQUIERE RESPUESTA/ FAVOR COMPLETAR
         REQUERIMIENTO DE INFORMACIÓN ADJUNTO

  Estimado

  Le escribimos respecto a su(s) Evidencia(s) de Reclamación [Proof(s) of Claim], la(s) cual(es)
  fue(ron) presentada(s) contra El Sistema de Retiro de Los Empleados y registrada(s) por Prime
  Clerk como Evidencia de Reclamación Núm.              (la “Reclamación”).

  El 13 de julio d, los Deudores transfirieron su Reclamación al Procedimiento de
  Reconciliación Administrativa de Reclamaciones (“ACR” por sus siglas en inglés,
  o “Procedimiento”). Esto significa que su Reclamación se resolverá utilizando los
  procesos administrativos existentes del Estado Libre Asociado de Puerto Rico (“ELA”). En
  específico, su Reclamación se resolverá por la Administración de Sistemas de
  Retiro (“ASR”) utilizando los procesos de revisión de pensión/retiro, según
  descrito en la orden autorizando el Procedimiento [Caso Núm. 17-bk-3283, ECF Núm.
  12274]1.

  Los agentes y representantes de los Deudores revisaron su Reclamación en conjunto
  con cualquier documentación suplementaria que usted haya proporcionado. Basado en la
  información provista por usted, aparenta que su Reclamación solo afirma su derecho a
  recibir pensión, sin más. Es decir, no surge de su Reclamación que usted dispute o esté
  impugnando el monto de los pagos de pensión que está recibiendo o que espere recibir en
  el futuro, al momento de su jubilación. Usted puede determinar el monto del pago de la
  pensión que la ASR actualmente estima que usted estará recibiendo mediante una consulta
  de su estado de cuenta de pensión más reciente.
  1
   Copias de todos los escritos, alegaciones y mociones están disponibles en la página electrónica de Prime
  Clerk: https://cases.primeclerk.com/puertorico/.
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  Los Deudores le envían esta carta para confirmar (1) si usted disputa o no el monto de su pensión;
  o (2) si usted tiene o no una reclamación independiente contra la ASR que no esté relacionada
  con su derecho a recibir pensión. Puede confirmar si usted está cuestionando el monto de su
  pensión o si tiene una reclamación independiente, completando el encasillado intitulado
  “Respuesta del Reclamante” en el Formulario de Requerimiento de Información adjunto y
  enviándolo a la dirección que se identifica más abajo.

  En el caso de que usted NO esté cuestionando el monto de su pensión y NO tenga una
  reclamación independiente en contra de la ASR (no relacionada a su derecho de recibir
  pensión), entonces la ASR considerará su Reclamación resuelta. Esto, no obstante, no deberá
  interpretarse como una determinación de que usted no tiene derecho a recibir pensión.
  Sencillamente implica que el tratamiento de su pensión, se determinará por el plan de ajuste
  que, en su día, el Tribunal confirme. Si el plan de ajuste propuesto tuviera un impacto sobre el
  monto de su pensión, usted tendrá la oportunidad de participar en el proceso del plan de
  ajuste.

  En el caso de que usted sí dispute el monto del pago de su pensión, o si tenga una
  reclamación independiente contra la ASR (que no esté relacionada a su derecho a recibir
  pensión), favor de seguir las instrucciones en el Formulario de Requerimiento de Información
  adjunto, y aneje toda y cualquier documentación disponible en apoyo de lo que usted entiende
  es el monto correcto de su pensión o de su reclamación.

  Favor de responder a esa                    carta en o antes de 29 de abril de
  2022       enviando      el                Formulario    de    Requerimiento de
  Información adjunto completado,             en conjunto con la información y
  documentación requerida.

  Favor de enviar el formulario completado y los documentos en apoyo por correo electrónico
  a PRACRprocess@primeclerk.com, o por correo, entrega personal, o correo urgente a la
  siguiente dirección:
                        Commonwealth of Puerto Rico ACR Processing Center
                                      c/o Prime Clerk, LLC
                                   850 3rd Avenue, Suite 412
                                      Brooklyn, NY 11232

  Favor de acompañar a su respuesta toda y cualquier documentación disponible a usted que
  sustente lo que usted entiende es el monto correcto de su pensión o que apoye la
  reclamación independiente que tenga contra la ASR.

  Para mayor información sobre el Procedimiento, los procesos de pensión/retiro, o si
  usted tiene cualesquiera otras preguntas sobre los casos bajo el Título III, puede contactar
  Prime Clerk LLC al (844) 822-9231 (sin cargos en Estados Unidos de América y Puerto Rico)
  o al (646) 486-7944 (para llamadas internaciones), durante el siguiente horario: 10:00
  a.m. a 7:00 p.m. (Atlantic Standard Time) (Disponible en español).
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  March 30, 2022




  Re: Claim No.         - RESPONSE REQUIRED
       COMPLETE ATTACHED INFORMATION REQUEST

  Dear

  We write with respect to your proof(s) of claim, which was filed on      against
  The Employees Retirement System and logged by Prime Clerk as Proof of Claim No.
  the “Claim”).
  On      July 13,,       the     Debtors     transferred  your    Claim     into   the
  Administrative Claims Reconciliation (“ACR”) process.    This means that your Claim
  will be resolved using the Commonwealth’s existing administrative processes.
  Specifically, your claim will be resolved by ERS using the Pension/Retiree Procedures,
  as described in the order authorizing the ACR process [Case No. 17-bk-3283, ECF No.
  12274]1.

  The Debtors’ agents have reviewed your Claim and any supporting documentation that
  you have provided. Based on the information you have provided, it appears that your
  Claim is only asserting your right to receive your pension and nothing else. It does not
  appear that you dispute the amount of the pension payments you are receiving or
  can expect to receive upon your retirement.           You can determine the pension
  payment amount ERS presently expects you will receive by consulting your most recent
  pension benefit statement.

  The Debtors are sending this letter to confirm whether or not you dispute the amount
  of your pension or whether you have any independent claim against ERS unrelated to
  your right to pension benefits. Please confirm whether or not you dispute the amount of
  your pension or have an independent claim unrelated to your pension benefits by
  completing the box marked

  1
      Copies of all pleadings are available on Prime Clerk’s website,

  https://cases.primeclerk.com/puertorico/.
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  “Claimant Response” on the attached information request form and returning the form to
  the address listed below.

  If you DO NOT dispute the amount of your pension payment or do not have an
  independent claim against ERS, then there is no further action for ERS to take, and ERS will
  consider your Claim resolved. This, however, shall not be interpreted as a determination that
  you do not have a right to receive pension. This simply implies that treatment of your pension
  will be determined by the plan of adjustment. If the plan of adjustment will impact the
  amount of your pension, you will have an opportunity to participate in the plan of adjustment
  process.

  If you do dispute the amount of your pension payment or if you do have an independent
  claim against ERS unrelated to your pension benefits, please follow the instructions on the
  attached information request form, and attach any and all documentation available to you to
  support what you believe to be the correct amount of your pension payment.

  Please respond to this letter on or before April 29, 2022 by returning the enclosed information
  request form with the requested information and documentation.

  Please send the completed form and any supporting documents via email
  to PRACRprocess@primeclerk.com, or by mail, hand delivery, or overnight mail to the
  following address:

                        Commonwealth of Puerto Rico ACR Processing Center
                                     c/o Prime Clerk, LLC
                                  850 3rd Avenue, Suite 412
                                     Brooklyn, NY 11232

  Please enclose with your response any and all documentation available to you to support what
  you believe to be the correct amount of your pension payment.

  For more information about the ACR process, the Pension/Retiree Procedures, or if you have
  any other questions regarding the Title III cases, you may contact Prime Clerk LLC at (844)
  822-9231 (toll free for U.S. and Puerto Rico) or (646) 486-7944 (for international callers),
  available 10:00 a.m. to 7:00 p.m. (Atlantic Standard Time) (Spanish available).




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  Evidencia de Reclamación:
  Reclamante:

                     FORMULARIO DE REQUERIMIENTO DE INFORMACIÓN

  Favor de confirmar si usted disputa o no el monto de su pago de pensión completando
  el encasillado intitulado “Respuesta del Reclamante” a continuación y siguiente las
  instrucciones establecidas en el mismo. Envíe este formulario completado y cualquier
  documentación suplementaria que sustente el monto de su pensión o su reclamación
  independiente por correo por correo electrónico a PRACRprocess@primeclerk.com, o por
  correo, entrega personal, o correo urgente a la siguiente dirección: Commonwealth of Puerto
  Rico ACR Processing Center, c/o Prime Clerk, LLC, 850 3rd Avenue, Suite 412, Brooklyn, NY
  11232.


          CLAIMANT RESPONSE REGARDING PROOF OF CLAIM NO
   _____ Yo/nosotros NO disputamos el monto de mi/nuestra pensión reclamada en el
   formulario de Evidencia de Reclamación núm.           NI tenemos reclamación
   independiente contra la ASR, no relacionada con mi/nuestro derecho a recibir pensión.
   Yo/nosotros entendemos que no hay acción ulterior a ser tomada por la ASR, y que la ASR
   considerará mi/nuestra reclamación resuelta.
   O
   _____ Yo/nosotros SI disputamos el monto de mi/nuestra pensión reclamada en el
   formulario de Evidencia de Reclamación núm.             o SI tenemos reclamación
   independiente contra la ASR porque (provea todo el detalle que sea necesario. Acompañe
   páginas adicionales si necesario e incluya la documentación suplementaria en apoyo):
   __________________________________________________________________________
   __________________________________________________________________________
   __________________________________________________________________________


   Nombre del Reclamante:____________________________________________________
   Firma del Reclamante:______________________________________________________
   Fecha:____________________________________________________________________
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  Proof of Claim:
  Claimant:

                             INFORMATION REQUEST FORM

  Please confirm whether or not you dispute the amount of your pension payment by completing
  the “Claimant Response” box below and following the instructions laid out in the box. Please
  return this form and any additional documentation via email to:
  PRACRprocess@primeclerk.com, or by mail, hand delivery, or overnight mail to: Commonwealth
  of Puerto Rico ACR Processing Center, c/o Prime Clerk, LLC, 850 3rd Avenue, Suite 412,
  Brooklyn, NY 11232.

           CLAIMANT RESPONSE REGARDING PROOF OF CLAIM NO
   _____ I/we DO NOT dispute the amount of my/our pension that I claimed in Proof of
   Claim No.            and DO NOT have an independent claim against ERS unrelated to my/
   our pension benefits. I/we understand that there is no further action for ERS to take, and
   that ERS will consider my claim resolved.
   OR
   _____ I/we DO dispute the amount of my/our pension that I claimed in Proof of Claim .
   No.            or DO have an independent claim against ERS unrelated to my/our pension
   benefits because (provide as much detail as needed. Attach additional pages if necessary,
   and include any and all supporting documentation.):
   __________________________________________________________________________
   __________________________________________________________________________
   __________________________________________________________________________


   Claimant Name:___________________________________________________________
   Claimant Signature:________________________________________________________
   Date:_____________________________________________________________________




                                                3
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                                    Exhibit B
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                                                             Exhibit B
                                                 ACR ERS Notice Parties Service List
                                                     Served via First Class Mail

              MMLID                 NAME                   ADDRESS 1             ADDRESS 2        CITY    STATE POSTAL CODE
              2239180 Otero Carrion, Benito       Calle San Juan 1004          Tras Talleres   San Juan   PR    00907
              1100346 RIVERA TORRES, WALDEMAR     HC‐02 BOX 4883                               VILLALBA   PR    00766
              2191677 Serrano, Edwin A            13015 Plantation Park Cir    Apt.1022        Orlando    FL    32821‐6429




In re: The Commonwealth of Puerto Rico, et al.
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                                    Exhibit C
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  Responda a esta carta el 19 de abril de 2022 o antes, devolviendo el cuestionario adjunto con la
  información y documentación solicitada.

  Tenga en cuenta que solo necesita devolver un formulario, ya sea en inglés o español.

  Si tiene alguna pregunta acerca de esta carta o su reclamación, llame al Prime Clerk LLC al (844)
  822-9231 (llamadas sin cargo desde Estados Unidos y Puerto Rico) o (646) 486-7944 (para
  llamadas internacionales), disponible de 10:00 a.m. a 7:00 p.m. (Hora Estándar del Atlántico)
  (español disponible), o dirección de correo electrónico PRACRprocess@primeclerk.com.

  Please respond to this letter on or before April 19, 2022 by returning the enclosed questionnaire
  with the requested information and documentation.

  Note, you only need to return one form, either in English or Spanish.

  If you have any questions about this letter or your claim, please call: Prime Clerk LLC at (844) 822-
  9231 (toll free for U.S. and Puerto Rico) or (646) 486-7944 (for international callers), available
  10:00 a.m. to 7:00 p.m. (Atlantic Standard Time) (Spanish available), or email
  PRACRprocess@primeclerk.com.
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   30 de marzode 2022




     Re:     Reclamación Núm.                       - REQUIERE RESPUESTA

     Estimado

     Reciba un cordial saludo de parte de la Autoridad de Asesoría Financiera y Agencia
     Fiscal (“AAFAF”). En virtud de la Ley Núm. 2-2017, la AAFAF representa al Gobierno de
     Puerto Rico ante el Tribunal del Título III de PROMESA1 (“Tribunal de Título III”). Usted
     está recibiendo esta comunicación porque presentó la Evidencia de Reclamación
     (Proof ofClaim) de referencia (“Reclamación”) ante el Tribunal de Título III.

     Como conoce, los Deudores bajo el Título III de PROMESA, por conducto de la Junta de
     Supervisión y Administración Financiera de Puerto Rico transfirieron su Reclamación
     al Procedimiento de Reconciliación Administrativa de Reclamaciones con el fin de
     resolver su Reclamación utilizando los procesos administrativos existentes del Gobierno
     de Puerto Rico. El propósito de esta misiva es notificarle que la información
     suministrada por usted hasta el momento, no es suficiente para que la entidad
     gubernamental para la cual trabaja(ó) pueda atender adecuadamente su Reclamación.

     Esta es la tercera y última solicitud para que provea la información suficiente para evaluar y
     resolver adecuadamente su reclamo. En consecuencia, se le solicita que responda al
     formulario anejado a esta carta en el cual describa detalladamente la
     naturaleza de su Reclamación. En el formulario debe incluir: (1) número de
     teléfono donde se le pueda contactar directamente; (2) su número de empleado; (3)
     número de seguro social; (4) de su Reclamación haberse sometido a un proceso
     administrativo y/o judicial, indicar número de caso administrativo, judicial o ambos; y (5)
     toda documentación en apoyo de su reclamo. Si usted tiene pendiente un caso
     administrativo o judicial contra la entidad para la cual trabaja(ó) favor de así
     especificarlo. Si, por el contrario, el caso fue adjudicado con carácter de finalidad, favor
     incluya una copia de la resolución y/o sentencia final, de tenerla disponible.



     1 Puerto Rico Oversight, Management, and Economic Stability Act.
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     De no responder a esta tercera solicitud de información, su Reclamación será removida
     del Procedimiento de ACR y objetada, lo que puede conllevar la eliminación de su
     Reclamación. Si su Reclamación es eliminada, usted ya no tendrá una reclamación
     dentro del Procedimiento de ACR o ante el Tribunal de Título III.

     Favor de remitir el Formulario de Respuesta que se acompaña, junto con cualquier
     documento en apoyo a su reclamo, dentro de los próximos veinte (20) días desde la fecha
     de notificación de esta carta, a la siguiente dirección de correo electrónico
     PRACRprocess@primeclerk.com; o, por correo, a la siguiente dirección:

                           Commonwealth of Puerto Rico ACR Processing
                                 Center c/o Prime Clerk, LLC
                                  850 3rd Avenue, Suite 412
                                     Brooklyn, NY 11232

     Es de suma importancia que responda a esta comunicación en el periodo de veinte (20)
     días aquí dispuesto, para el trámite adecuado de su Reclamación. Si tiene alguna pregunta
     respecto a esta carta, favor enviar un correo electrónico a acr@aafaf.pr.gov.

     Respetuosamente,

     La Autoridad de Asesoría
     Financieray Agencia Fiscal
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     March 30,2022




     Re:     Claim No.                  - REQUIRES RESPONSE

     Dear

     Greetings on behalf of the Puerto Rico Fiscal Agency and Financial Advisory Authority
     (“AAFAF”). Under Act 2-2017, AAFAF represents the Government of Puerto Rico
     (“Government”) in the Title III proceedings under PROMESA1. You are receiving this
     communication because you filed the referenced Proof of Claim (“Claim”) in the Title III
     Court.

     As you know, the Debtors under Title III of PROMESA, through the Financial Oversight
     and Management Board (“FOMB”) transferred your Claim to the Administrative
     Claims Reconciliation Process (“ACR”) in order to resolve the Claim using the
     Government’s existing administrative procedures. The purpose of this letter is to notify
     that the information provided by you to date is not sufficient for the government
     agency responsible for reconciling your Claim to adequately evaluate and resolve your
     Claim.

     This is the third and final request to provide sufficient information to adequately evaluate
     and resolve your claim. We request that, within a term of twenty (20) days, you submit
     the attached form along with any supporting documentation in which you describe in detail
     the nature of your Claim. In your response, you should include, without limitation: (1) a
     telephone number and email address, if available, where you can be contacted; (2) your
     employee number; (3) your social security number; (4) if your claim is/has been subject of
     an administrative or judicial process, provide the case file number; and (5) any
     document that supports your Claim. If you have a pending administrative or judicial
     case, please so indicate. If, to the contrary, the case is closed, please provide a copy of the
     final resolution or finaljudgment, if available.

     Failure to respond to this third information request will result in your claim being
     removed from ACR for failure to respond and objected to, which may result in your
     claim being expunged. If your claim is expunged you will no longer have a claim in
     the ACR process or the Title III Proceedings.
     1 Puerto Rico Oversight, Management, and Economic Stability Act.
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     Please send the completed form and any supporting documents within twenty (20) days
     from the       date    of    the   notice   of    this  letter,    via   email   to
     PRACRprocess@primeclerk.com, or by mail, hand delivery, or overnight mail to the
     following address:

                          Commonwealth of Puerto Rico ACR Processing
                                Centerc/o Prime Clerk, LLC
                                 850 3rd Avenue, Suite 412
                                    Brooklyn, NY 11232

     It is of the utmost importance you reply to this letter within the twenty (20) days
     specified herein, for the adequate evaluation and resolution of your Claim. Should
     youhave any questions regarding this letter, please write an email to acr@aafaf.pr.gov.

     Respectfully,

     The Puerto Rico Fiscal
     Agency and Financial
     Advisory Authority
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                                       FORMULARIO DE RESPUESTA DEL RECLAMANTE

Claim No.                        Creditor Name:

(1) Nombre Completo

(2) Número de teléfono
(3) Número de empleado
(4) Agencia para la cual
    trabaja(ó) y fecha. Si
    usted fue empleado en
    más de una agencia, por
    favor identifique la
    agencia o agencias
    relacionadas a su
    reclamación y las fechas
    en que estuvo empleado
    por cada agencia.
(5) Correo electrónico
(6) Número de seguro social
    (últimos cuatro dígitos)
(7) Número de caso               Incluya número de caso administrativo y/o judicial, si alguno, que haya radicado y que esté directamente relacionado
                                 a los beneficios reclamados en la Evidencia de Reclamación (Proof of Claim)
    administrative o judicial,
    si aplica.

(8) Describa en detalle la
    naturaleza de su
    reclamación y los
    fundamentos por los
    cuales usted cree que
    tiene derecho al
    beneficio reclamado.
    Incluya páginas
    adicionales si es
    necesario.




                  *** Attach any supporting documentation you may have related to your claim. ***
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                                               EMPLOYEE RESPONSE LETTER

Claim No.                        Creditor Name:

 (1) Full Name

 (2) Telephone Number
 (3) Employee Number
 (4) Agency and Dates of
     Service (if you have been
     employed by more than
     one agency, or agencies
     related to your claim,
     include dates of
     employment at each
     agency).
 (5) Personal Email Address
 (6) Social Security Number
      (last four digits).
 (7) Case File Number, if        (This includes any administrative and/or judicial complaint you filed in connection with the employee
     applicable                  status/benefits requested in your Claim, other than the Title III case.)




 (8) Describe in detail the
     nature and basis of your
     Claim. Please add
     additional pages, if
     needed. Include the
     nature of the claim and
     detail the reasons why
     you believe you are
     entitled to such
     benefit/stipend/wage
     increase/incentive




                   *** Attach any supporting documentation you may have related to your claim. ***
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                                                                        ACR Public Employees Final Notice Service List
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        MMLID                        NAME                           ADDRESS 1                              ADDRESS 2         ADDRESS 3   ADDRESS 4          CITY   STATE POSTAL CODE
        1988928 Álvarez Hernández, Oscar          1377 Calle Jagüey Urb. Los Caobos                                                                  Ponce         PR    00716‐2627
        1671614 Álvarez Morales, Victor M.        RR 8 Box 9001 Dajaos                                                                               Bayamon       PR    00956
        1656795 Álvarez Ortiz, Carmen A.          HC01 Box 17399                                                                                     Humacao       PR    00791
        1249223 ARROYO RAMOS, LISSETTE            PO BOX 1304                                                                                        GUAYAMA       PR    00784‐1304
        1664588 GARCIA BONILLA, GLENDA L          BO. GUAYABAL SECTO CERRO                     HC‐01 BOX 4424                                        JUANA DIAZ    PR    00795
        1658751 Garcia Bonilla, Glenda L          Bo. Guayabal Secto Cerro                     HC ‐ 01 Box 4424                                      Juana Diaz    PR    00795
         970255 Garcia Cedeno, Carmen I           T 51 Calle 20                                Ext. Caguax                                           Caguas        PR    00725
         970255 Garcia Cedeno, Carmen I           T 51 Calle 20                                Ext. Caguax                                           Caguas        PR    00725
        1965906 Garcia Colon , Rafael A.          Barrio Campanille Villa Hosto                Buzon 1319                                            TOA BAJA      PR    00949
        2185821 Garcia Colon, Florencia           0‐21 Calle P. Jardines de Arroyo                                                                   Arroyo        PR    00714
         709036 GARCIA CORTES, MARGARITA          HC 59 BOX 6902                                                                                     AGUADA        PR    00602
        1514036 Garcia Cortes, Margarita          HC 59 Box 6902                                                                                     Aguada        PR    00602
        1660179 Garcia Cruz, Anidxa Y.            PO Box 901                                                                                         Hatillo       PR    00659
        1732945 Garcia Cruz, Luz V                Hc 03 Buzon 18326                                                                                  Rio Grande    PR    00745
        1745912 Garcia Cruz, Luz V.               HC 03 buzon 19326                                                                                  Rio grande    PR    00745
        2206317 Garcia Cruz, Margarita            G‐14 Calle 9                                 Villa del Carmen                                      Cidra         PR    00739
        2108967 Garcia Cruz, Margarita            G‐14 Calle 9 Urb.Villa del Carmen                                                                  Cidra         PR    00739
        1910620 Garcia Davila, Maria B            Sky Tower 3 Hortensia Apt 14.d                                                                     SAN JUAN      PR    00926
        2077505 Garcia de Jesus, Juan             Carr 119 Km 13.1 Ramal 496 K4.1              Bo. Piedra Gorda                                      Camuy         PR    00627
        2077505 Garcia de Jesus, Juan             Juan Garcia de Jesus                         HC1 Box 3451                                          Camuy         PR    00627

          184776 GARCIA DE RIVERA, LOURDES M      URB VILLA DE SAN ANTON                       Q6 CALLE LEOPOLDO JIMENEZ                             CAROLINA      PR   00987
         1650748 Garcia del Valle, Anna M.        HC 30 Box 33335                                                                                    San Lorenzo   PR   00754
                                                                                               CONDOMINIO EL ALCÁZAR,
         1596248 Garcia Emanuelli, Karen          500 CALLE VALCARCEL                          APTO. 8‐A                                             SAN JUAN      PR   00923
         2161206 Garcia Felix, Juan               P.O Box Aporti de 221                                                                              Patillas      PR   00723
         2143718 Garcia Figueroa, Nirma I         Box 218                                                                                            Juano Diaz    PR   00795
         1712656 GARCIA FLORES, ROSA MARIA        HC 03 BOX 11055                                                                                    JUANA DIAZ    PR   00795
         1629983 Garcia Garcia, Amanda I          Urb jdnes Monte Blanco 616 Fias B‐20                                                               Yauco         PR   00698
         1902021 Garcia Garcia, Iris P.           Cond. Las Torres Navel                       Apto. 202A                                            Yauco         PR   00698
         1816846 Garcia Garcia, Nilda I           Urb. Alturas de Yauco M‐44 Calle 9                                                                 Yauco         PR   00698
         2135221 Garcia Gonzales, Esperanza       Hc 763 Buzon 3283                                                                                  Patillas      PR   00723
          185478 GARCIA GONZALEZ, GLORIA          HC 70 BOX 48813                                                                                    SAN LORENZO   PR   00754
         1829649 Garcia Gonzalez, Lydia           3564 Josefina Woll                           Las Delicias II                                       Ponce         PR   00728‐3428
         1726763 Garcia Gonzalez, Maria De J      PO Box 2318                                                                                        Vega Baja     PR   00693
         1617447 Garcia Irizarry, Joaquin         Carr 679 KM 2.0                              Bo. Espinoza Sector Fortuna                           Vega Alta     PR   00692
         1617447 Garcia Irizarry, Joaquin         Box. 56                                                                                            Vega Alta     PR   00692
         1761918 Garcia Irizarry, Johanna         Bo. Caonillas Arriba                                                                               Villalba      PR   00766
         1761918 Garcia Irizarry, Johanna         HC‐02 Box 5210                                                                                     Villalba      PR   00766
         2154683 Garcia Lopez, Vilma M.           1208 Courtney Chase Circle Apt. 1027                                                               Orlando       FL   32837
         1747091 Garcia Machin, Vilma M           2620 Eagle Canyon Drive N                                                                          Kissimmee     FL   34746
         1677529 GARCIA MACHIN, VILMA M.          2620 EAGLE CANYON DRIVE N                                                                          KISSIMMEE     FL   34746
         1174690 GARCIA MACHUCA, BRENDA L         PO BOX 876                                                                                         VEGA BAJA     PR   00694

         1916584 Garcia Maldonado, Margarita      DD‐24 Calle Montanas Valle Verde III Norte                                                         Bayamon       PR   00961
         1002773 Garcia Marrero, Hector           12 Maple Run                                                                                       Haines City   FL   33844


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                                                                         ACR Public Employees Final Notice Service List
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        MMLID                      NAME                            ADDRESS 1                              ADDRESS 2         ADDRESS 3   ADDRESS 4        CITY    STATE POSTAL CODE
        1924185 GARCIA MARTINEZ, ALBERTO          46 CALLE 4 JARDINES                                                                               TOA ALTA     PR    00953
        1516029 Garcia Martinez, Hector R         L‐15 Calle 14 Condado Moderno                                                                     Caguas       PR    00725

         2086759 GARCIA MATIAS, LEILA             BB‐1 CALLE LAUREL QUINTAS DE DORADO                                                               DORADO       PR   00646
         1636396 Garcia Medina, Yobanie           Santa Clara                                  Calle Collins #35 A                                  Jayuya       PR   00664
         2113559 Garcia Mendez, Edwin             P.O. Box 278                                                                                      Naguabo      PR   00718‐0278

         1454925 GARCIA MERCADO, RUTH             PO BOX 109                                                                                        SABANA HOYOS PR   00688
         2056274 Garcia Nazario, Rose Elia        Urb. Villa El Encanto C/5 #S1                                                                     Juana Diaz   PR   00795

         1593328 GARCIA NIEVES, CARMEN DELIA      HC 02 BOX 12933                                                                                   AGUAS BUENAS PR   00703

         1689014 GARCIA NIEVES, CARMEN DELIA      HC 02 BOX 12933                                                                                   AGUAS BUENAS PR   00703
          734656 Garcia Ortiz, Pablo Antonio      Calle Carolina Mayagues                                                                           Mayaguez     PR   00680
          734656 Garcia Ortiz, Pablo Antonio      La Loma #440                                                                                      Mayaguez     PR   00680
         2191204 Garcia Ortiz, Roberto            Egida de la Policia                          Apt # 302 Calle Corozal                              Maunabo      PR   00707
         1610189 GARCIA OSORIA , ENNIT            HC‐5 BOX 55025                                                                                    HATILLO      PR   00659
         1654270 Garcia Osorio, Diane             HC‐5 Box 55025                                                                                    Hatillo      PR   00659
         1718297 Garcia Pabon, Carmen Rita        E‐12                                         Calle Navorra              Urb. Anaida               Ponce        PR   00716‐2558
         1458435 GARCIA PADIN, GAMALIEL           URB. SAN ANTONIO                             #2908 CALLE MATOMAS                                  SAN ANTONIO PR    00690
          983405 GARCIA PAGAN, EDWIN              URB LOS CAOBOS                               1099 CALLE ALBIZIA                                   PONCE        PR   00716‐2621
         1937340 GARCIA PEREZ, ADA IRMA           PO BOX 77                                                                                         JUNCOS       PR   00777‐0077
         1658432 Garcia Perez, Alberto            2223 Calle Maga Urb. Los Caobos                                                                   Ponce        PR   00716‐2709
         1984484 GARCIA PEREZ, CARMEN A.          PMB 224 APART. 8901                                                                               HATILLO      PR   00659
         1817915 GARCIA PIAZZA, LURIANNE          HC72 BOX 3766‐109                                                                                 NARANJITO    PR   00719
          306898 GARCIA PINEDA, MARTHA E          PO BOX 195241                                                                                     SAN JUAN     PR   00919‐5241
         1922329 Garcia Pinto, Diana              RR 18 Box 575                                                                                     San Juan     PR   00926‐9717
         2171960 Garcia Prado, Idalise            HC‐70 Box‐26020                                                                                   San Lorenzo  PR   00754
                                                  T‐11 CALLE EUCALIPTO URB. GLENVIEW
         1807487 GARCIA QUINONES, GLORIA E.       GARDENS                                                                                           PONCE        PR   00730

         1953517 Garcia Quinones, Gloria E.       T.11 Calle Eucalipto Urb Glenview Gardens                                                         Pounce       PR   00730
         1596289 GARCIA RAMOS, DIANA D            RIO GRANDE ESTATE                            AVENIDA B R56                                        RIO GRANDE   PR   00745
         2042848 Garcia Ramos, Juan Manuel        RR9 BOX 1580                                                                                      SAN JUAN     PR   00926
         1699944 GARCIA RAMOS, LUCIDERIZ          URB. VISTAS DEL ATLENTICO                    #133 CALLE DELFIN                                    ARECIBO      PR   00612
         2041803 Garcia Rivera, Alicia            C 19 Calle D                                                                                      Carolina     PR   00987
         1970426 Garcia Rivera, Aurora            204 Calle Reina                                                                                   Ponce        PR   00730
          187524 GARCIA RIVERA, ENIBETH           PO BOX 2160                                                                                       CANOVANAS    PR   00729
         1878681 Garcia Rivera, Enrique           HC ‐1 BOX 3224                                                                                    Villalba     PR   00766
         1001490 GARCIA RIVERA, IVETTE            L‐10 CALLE M                                 URB. ALAMAR                                          LUQUILLO     PR   00773
          698175 GARCIA RIVERA, LISANDRA          PO BOX 523                                                                                        MAUNABO      PR   00707
         1845210 Garcia Rivera, Tomas Javier      805 CALLE SAUCO                              VILLA DEL CARMEN                                     PONCE        PR   00730
         1570837 Garcia Robledo, Carlos O         PO Box 330666                                                                                     Ponce        PR   00733
         2131838 Garcia Rodriguez, Anabel         HC 02 Box 5816                                                                                    Penuelas     PR   00624
         2131762 Garcia Rodriguez, Anabel         HC 02 BOX 5816                                                                                    PENUELAS     PR   00624
         2131627 Garcia Rodriguez, Anabel         HC02 Box 5816                                                                                     Penuelas     PR   00624


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        MMLID                       NAME                              ADDRESS 1                                     ADDRESS 2              ADDRESS 3   ADDRESS 4          CITY     STATE POSTAL CODE
        2131599 Garcia Rodriguez, Anabel              HC 02 Box 5816                                                                                               Penuelas        PR    00624
        2079766 Garcia Rodriguez, Janet de L.         560 Calle Napoles Apt. 1B                         Cond Concordia Gardens II                                  Rio Grande      PR    00924
        2079766 Garcia Rodriguez, Janet de L.         Camino de La Reina 624                            Carr. 8860 Apt. 5203                                       Trujillo Alto   PR    00976
                                                      CAMINO DE LA REINA 624 CARR. 8860 APT
         1917584 GARCIA RODRIGUEZ, JANET DE LOURDES   5203                                                                                                         TRUJILLO ALTO   PR   00976
         1605945 GARCIA RODRIGUEZ, MARIA S            HC 65 Box 6455                                                                                               PATILLAS        PR   00723
         2131462 Garcia Rodriquez, Anabel             HC02 Box 5816                                                                                                Penuelas        PR   00624
         1639853 Garcia Roman, Raquel                 P.O. Box 56                                                                                                  Vega Alta       PR   00692
         1867338 Garcia Rosado, Aileen I.             110 Valeria                                       Urb. Colinas de San Francisco                              Aibonito        PR   00705
         2207621 Garcia Ruiz, Gesselle                Calle 5 #92 Promised Lane                                                                                    Naguabo         PR   00718
         1855578 Garcia Ruiz, Luz P.                  Corto Villa                                       Suite 259                                                  Humacao         PR   00791
         1545575 Garcia Ruiz, Milagros                Hacienda San Jose. Calle 1                        #1                                                         Ponce           PR   00731‐9610
         1545575 Garcia Ruiz, Milagros                H‐C 06 Buzon 2092                                                                                            Ponce           PR   00731‐9610
         2207841 Garcia Ruiz, Ricardo                 RR 9 Box 938                                                                                                 San Juan        PR   00926
                                                                                                        Urb. Haciendas del Rio, Calle B‐
         2076416 Garcia Sanchez, Dilfia Noemi         Departamento de Educacion Elemental               H‐5                                                        Caomo           PR   00769
         2076416 Garcia Sanchez, Dilfia Noemi         PO BOX 1806                                                                                                  Caomo           PR   00769
         1549477 GARCIA SANTIAGO, JOSE GERARDO        URB. BRISA DEL VALLE CALLE                        VIENTO #50                                                 JUANA DIAZ      PR   00795
         1576347 Garcia Santiago, Jose Gerardo        Urb Birsa Del Valle Calle Viento 50                                                                          Juana Diaz      PR   00795
         1688843 Garcia Santiago, Josue R             Urb. Jardines de Santa Isabel Calle 5 I‐6                                                                    Santa Isabel    PR   00757
         1854384 Garcia Santiago, Milagros            N‐32 Calle Santa Lucia                            Urb Santa Elvira                                           Caguas          PR   00725
         1952649 Garcia Santiago, Milagros            N‐32 Calle: Santa Lucia‐Urb: Santa Elvira                                                                    Cajuas          PR   00725
         1894909 Garcia Sepulveda, Carmen Rosaura     HC 1 Box 7562                                                                                                San German      PR   00683
         1057774 GARCIA SERRANO, MARITZA              PO BOX 162                                                                                                   BARCELONETA     PR   00617
         1164627 GARCIA SOLIVERAS, ANDRES             BO QUEBRADA ARRIBA                                BUZON HC 63 3652                                           PATILLAS        PR   00723
         1697434 Garcia Soto, Marilitza               Calle Hestia 596                                  Jard. de Monte Olivo                                       Guayama         PR   00784
         1993102 GARCIA TIRADO, MARIA DEL C.          100 CARR. 933                                     APT 5 ESPERANZA VILLAGE                                    JUNCOS          PR   00777
         2090301 Garcia Tirado, Maria del Carmen      100 Carr. 933 Apt.5 Esperanza Village                                                                        Juncos          PR   00777‐2940
         1808980 Garcia Varela, Andrea                PO Box 262                                                                                                   San Sebastian   PR   00685
          188870 GARCIA VARGAS, LETICIA               URB SANTA JUANITA                                 CALLE YOKOHAMA BN 7                                        BAYAMON         PR   00956
         1955755 GARCIA VISBAL, CELIA E.              P.O. BOX 727                                                                                                 AGUADA          PR   00602
         2232003 Garcia, Laura Concepción             Urb. Las Mueses Buzón 236                         c/ Francisco Colon #BB13                                   Cayey           PR   00736
         2083798 Garcia, Sonia Rosa                   Calle Reina de las Flores #1236                   Urb. Hacienda Borinquen                                    Caguas          PR   00725
         1589846 Garcia, Wanda I.                     Box 230                                                                                                      Penuelas        PR   00624
         2110061 Garnier Talavera, Elba               Calle Picacho 1217                                Urb. Alturas De Mayaguez                                   Mayaguez        PR   00680
         1911778 Garrafa Rodriguez , Elizabeth        PO Box 167                                                                                                   Patillas        PR   00723
         1585612 Garriga Rodriguez , Ferdinand        Urb. Parque del Sol Calle 3 Casa C‐2                                                                         Patillas        PR   00723

         1973287 Gascot Marquez, Yanira M.            # 79 Calle Palacios, Urb. Estancias Reales                                                                   San German      PR   00683
         1998957 Gaston Garcia, Aida J.               HC‐63 Buzon 3308                                                                                             Patillas        PR   00723
         1945158 Gaudia Minguela, Norma I.            PO Box 9300430                                                                                               San Juan        PR   00930
         1587946 Gautier Santiago, Yakara Y.          PO Box 950                                                                                                   Coamo           PR   00769
          189759 GAVINO FIGUEROA, GLADYS              LUCERNA                                           EDIF A1 APT F1                                             CAROLINA        PR   00983‐1737
         2080326 Gay Davila, Judith                   P.O. Box 1928                                                                                                Juncos          PR   06777
         2085385 Gay Davila, Judith                   P.O. Box 1928                                                                                                Juncos          PR   00777
         1935297 Gay Davila, Judith                   PO Box 1928                                                                                                  Juncos          PR   00777


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        MMLID                        NAME                             ADDRESS 1                             ADDRESS 2     ADDRESS 3   ADDRESS 4          CITY     STATE POSTAL CODE
        1632571 Gazmey Rodriguez, Norma I.        RR 2 Box 545                                                                                    San Juan        PR    00926
        1194069 Gaztambide Figuer, Edward Y       PO Box 232                                                                                      Yauco           PR    00698
        2108244 Genaro Maceira, Laura Estrella    Ext Roosevelt                                 468 Calle Eddie Gracia                            San Juan        PR    00918
        2105583 GENARO MACEIRA, LAURA ESTRELLA    EXT. ROOSEVELT                                468 CALLE EDDIE GRACIA                            SAN JUAN        PR    00918
        2057222 Genaro Maceira, Laura Estrella    Ext. Roosevelt, 468 Calle Eddie Gracia                                                          San Juan        PR    00918
         941314 GENERA SANFIORENZO, YADILKA       P O BOX 81                                                                                      LAS PIEDRAS     PR    00771
        1764884 Georgi Rodriguez, Haydee          HC 9 Box 1531                                                                                   Ponce           PR    00731‐9747
        1953366 Georgi Rodriguez, Haydee          HC 9 Box‐1531                                                                                   Ponce           PR    00731‐9747
        1606217 Georgi Rodriguez, Haydee          HC9 BOX 1531                                                                                    PONCE           PR    00731‐9747
        1983814 Georgi Rodriguez, Haydee          HC9 Box 1531                                                                                    Ponce           PR    00731‐9747
        1958933 Georgi Rodriguez, Jesus M         HC 9 Box 1531                                                                                   Ponce           PR    00731‐9747
        1866548 Georgi Rodriguez, Jesus M.        HC 09 Box 1531                                                                                  Ponce           PR    00731‐9747
        1977417 Georgi Rodriguez, Jesus M.        HC9 Box 1531                                                                                    Ponce           PR    00731‐9747
        1752889 Gerena Alvalle, Mary Edna         HC 08 Box 67809                                                                                 Arecibo         PR    00612
        2006899 Gerena Crespo, Hilda I.           Ext. Villa Rita Calle 30 HH‐4                                                                   San Sebastian   PR    00685
        2219351 Gerena Mercado, Ivette            PO Box 8901                                                                                     Hatillo         PR    00659‐9141
        1882643 Gerena Ruiz, Martin               4427 Guacamayo Villa Delicias                                                                   Ponce           PR    00728
        1567813 GERENA SAN FIORENZO, YADILKA      P.O. BOX 81                                   BO. SABANA                                        LAS PIEDRAS     PR    00771
        1510058 Gerena Sanfiorenzo, Yadilka       PO Box 81                                                                                       Las Piedras     PR    00771
         594727 GERENA SANFIORENZO, YADILKA M     PO BOX 81                                                                                       LAS PIEDRAS     PR    00771
        1560831 Gerena Sanfiorenzo, Yadilka M.    PO Box 81                                                                                       Las Piedras     PR    00771
        1563127 Gerena Sanfiorevzo, Yadilka       P.O. Box 81                                                                                     Las Piedras     PR    00771
        1890380 GERMAIN OPPENHEIMER, CARMEN E.    URB. EL MADRIGAL CALLE 2 B10                                                                    PONCE           PR    00730
        1641037 Gierbolini Alvarado, Agneris      2019 Massimo Dr                                                                                 Creedmoor       NC    27522
        1655681 Gierbolini Alvarado, Glenda I     P.O. Box 557                                                                                    Coamo           PR    00769
        1614342 GIERBOLINI HOYOS , OCTAVIO H.     P.O. BOX 557                                                                                    COAMO           PR    00769
        1873495 GIL LUGO, MARIESTHER              URB. COUNTRY CLUB                             901 CALLE VITERBO                                 SAN JUAN        PR    00924
        2123812 GIL MAYSONET, SHARAMARI           4‐E‐3 CALLE PLAYERA                           URB. LOMAS VERDES                                 BAYAMON         PR    00956
        1591991 Gilbert Marquez, Rose             #3 Ines Davila Semprit                                                                          Bayamon         PR    00961
        1613183 GIL‐HERNANDEZ, YAZMIN             150 VILLAS DEL BOSQUE                                                                           CIDRA           PR    00739
        2047019 Giner, Gloria                     Villa Del Carmen 4605                                                                           Ponce           PR    00716
        1728261 GINES AYUSO, SHAKIRA              G‐121 CALLE CIDRA                             LAGO ALTO                                         TRUJILLO ALTO   PR    00976
        1704648 Gines De Leon, Yudelka            Avenida Jupider No. 73                        Bda. Sandin                                       Vega Baja       PR    00693
        2012063 GINES VALENCIA, ANDRA L           CALLE 7 NO F 8                                RINCON ESPANOL                                    TRUJILLO ALTO   PR    00976
        2130933 Gloria Coss Martinez, Carmen      HC 70 Box 26020                                                                                 San Lorenzo     PR    00754
        2130942 Gloria Coss Martinez, Carmen      HC 70 Box 26020                                                                                 San Lorenzo     PR    00754
        1866634 GOGLAD COLON, SANDRA              52 CALLE LA CEIBA                             URB VALLE HUCARES                                 JUANA DIAZ      PR    00795
        1872440 GOGLAD COLON, SANDRA              52 CALLE LA CEIBA                             VALLE HUCARES                                     JUANA DIAZ      PR    00795‐2807
        1844863 Goglad Colon, Sandra              52 Calle La Ceiba Urb. Valle Hucares                                                            Juana Diaz      PR    00795
        1853243 Goglad Colon, Sandra              52 Calle La Ceiba Urb. Valle Hucares                                                            Juana Diaz      PR    00795
        1853243 Goglad Colon, Sandra              EXT. Jacaguax D #1                                                                              Juana Diaz      PR    00795
         194154 GOICOCHEA PEREZ, LIZ ENID         HC 05 BOX 58208                                                                                 HATILLO         PR    00659
        2012169 Goicochea Perez, Liz Enid         HC‐5 Box 58208                                                                                  Hatillo         PR    00659
        1795815 GOLDEROS VEGA, ALFONSO            I‐4 SAN PATRICIO AVENUE                       APT. 1903                                         GUAYNABO        PR    00968‐3224
        1698168 Gomez Garcia, Nelson Manuel       PO Box 893                                                                                      Anasco          PR    00610
        1698168 Gomez Garcia, Nelson Manuel       Reparto Daguey Calle 6 C 30                                                                     Anasco          PR    00610


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        2101787 Gomez Gomez, Ivelisse J.          Ave Barbosa 606                                                                                    Rio Piedras     PR    00936
        2101787 Gomez Gomez, Ivelisse J.          RR 9 Box 973                                                                                       San Juan        PR    00926
         794015 GOMEZ LOPEZ, ERIKA Y              HC 01 BOX 4115                                 BO. CALLEJONES                                      LARES           PR    00669
        2036665 Gómez López, Lourdes H.           317 Citadel Repto. Universitario                                                                   San Juan        PR    00926
        2034594 Gomez Malave, Candida             019 Colesibi urb. Caguax                                                                           Caguas          PR    00725
        1738528 GOMEZ MARTINEZ, MARIA DEL C       COND DORAL PLAZA 1019                          AVE LUIS VIGOREAUX APT 4K                           GUAYNABO        PR    00966‐2404
        1555808 Gomez Matos, Brenda I.            8 Villas Kennedy r78                                                                               San Juan        PR    00915
        2053768 Gomez Rivera, Alma V.             90 Universo Urb Toaville                                                                           Toa Baja        PR    00949
        1083560 GOMEZ RODRIGUEZ, REINALDO         PO BOX 482                                                                                         ARROYO          PR    00714
        2176834 Gomez Sanchez, Rosa               HC1 box 6168                                   Bo. Yaurel                                          Arroyo          PR    00714
        1730139 Gomez Sierra, Dorca               BO Juan Sanchez Buzon 1406                                                                         Bayamon         PR    00959
        2068532 GOMEZ SIERRA, DORCAS              BUZON 1406                                     BO.JUAN SANCHEZ                                     BAYAMON         PR    00959
         711865 GOMEZ TORRES, MARIA               URB BAIROA PARK                                E6 PARQUE DE LA FUENTE                              CAGUAS          PR    00727
        1586613 GOMEZ VEGA, JULIA                 HC03 BOX 37467                                                                                     CAGUAS          PR    00725
        2192953 Gonalez Lopez, Rosa H             Carr 111 Bo Angeles                                                                                Utado           PR    00641
        2192953 Gonalez Lopez, Rosa H             HC 03 Box 13369                                                                                    Utuado          PR    00641
        1816521 GONZALES BONILLA, DORIS R         HC‐2 BOX 4920                                                                                      VILLALBA        PR    00766‐9885
        1889715 Gonzales Ortiz, Edwin             Num 433 Paseo Ruisessor                                                                            Coto Laurel     PR    00780‐2407
        1875541 Gonzales Rosado, Manuel           L‐14 Calle 11 Santa Teresita                                                                       Bayamon         PR    00961
        2131442 Gonzales Santiago, Manuel         Bo Quebrado de Yauco Carr 375 Km 3                                                                 Yauco           PR    00698
        2131442 Gonzales Santiago, Manuel         HC‐03 Box 14888                                                                                    Yauco           PR    00698
        2071240 Gonzalez ‐ Muniz, Paquita         HC 61 Box 34997                                                                                    Aquada          PR    00602
        1733778 Gonzalez , Somarie                P.O. Box 164                                                                                       Cidra           PR    00739
        1993243 GONZALEZ ACEVEDO, ISMAEL          HC‐05 BOX 10821                                                                                    MOCA            PR    00676
        1775427 Gonzalez Acevedo, Rosa Ivettet    PO Box 2233                                                                                        San Sebastian   PR    00685
         794140 GONZALEZ ACEVEDO, WANDA I         BO. MALPASO                                    HC61 BOX 34216                                      AGUADA          PR    00602
        1853648 GONZALEZ ALEJANDRO, GLADYS        RR 36 BOX 6190                                                                                     SAN JUAN        PR    00926
        2215802 Gonzalez Almena, Fidel            Urb. Senderos de Garabo                        55 Calle Malin                                      Gurabo          PR    00778‐9830
        2142273 Gonzalez Alvares, Antonio         Parcelas Sabareta Calle 1 de Mayo nu 62                                                            Mercedita       PR    00715
        1610009 González Alvarez, Ramonita        Urb. Santa Elena                               Calle Nogal # E 10                                  Guayanilla      PR    00656
        1567897 González Alvarez, Ramonita        Urb. Santa Elena                               Calle Nogal # E‐10                                  Guayanilla      PR    00656
        1945839 GONZALEZ ARROYO, JENNY            PO BOX 50999                                                                                       TOA BAJA        PR    00950‐0999
        1656819 Gonzalez Babilonia , Laura L.     66 Calle Serafin Mendez                                                                            Moca            PR    00676
        1843785 Gonzalez Babilonia, Laura L.      66 Calle Seratin Mendez                                                                            Moca            PR    00676
        2084219 Gonzalez Baez, Jose E.            G‐5 C/8 Ciudad Masso                                                                               San Lorenzo     PR    00754
        1820871 Gonzalez Bonilla, Doris R         HC‐2 Box 4920                                                                                      Villalba        PR    00766‐9885
        2097860 Gonzalez Borges, Ramona           15 Ana Maria                                                                                       Camuy           PR    00627‐2821
         842330 González Cában, Concepción        Ext Royal Palm                                 IL 5 Calle Palma Royal                              Bayamón         PR    00956
         842330 González Cában, Concepción        D‐5 Calle 1 Bayamón Hills                                                                          Bayamón         PR    00956
        1570226 Gonzalez Camara, Fernando L.      URB Constancia                                 Calle Chalet #3474                                  Ponce           PR    00717‐2236
        1605539 Gonzalez Cancel, Ana N            AY‐6 C/54 Urb. La Hacienda                                                                         Guayama         PR    00784
        1785730 Gonzalez Carmona, Luz M.          3500 W. Orange Grove 9105                                                                          Tucson          AZ    85741
        1515635 Gonzalez Cartagena, Elba Ida      HC 2 Box 7221                                                                                      Salinas         PR    00751
        1084543 GONZALEZ CIRINO, RICARDO          PO BOX 11664                                                                                       SAN JUAN        PR    00910
        1074755 GONZALEZ COLLAZO, ORLANDO         URB. MONTE ELENA                               336 CALLE BROMELIA                                  DORADO          PR    00646
        1980084 Gonzalez Collozo, Emma            HC 4 Box 2514                                                                                      Barranquitas    PR    00794


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        2154741 Gonzalez Colon, Tomas              139 Urb Parque de Guasimia                                                                         Arroyo           PR    00714
        1883082 Gonzalez Concepcion, Jeanette      E‐10 Urb. Moropo                                                                                   Aguada           PR    00602
        1586231 GONZALEZ CORDERO, EDWIN            PO BOX 194                                                                                         MOCA             PR    00676
         197429 Gonzalez Cordero, Marisol          HC 58 BOX 14861                                  BO. LAGUNAS                                       AGUADA           PR    00602‐9727
         197429 Gonzalez Cordero, Marisol          870 Concepcion Vera                                                                                Moca             PR    00676
        1641412 GONZALEZ CORREA, REBECCA           VILLA UNIVERSITARIA CALLE 24                     BF12                                              HUMACAO          PR    00791
        1773158 Gonzalez Cotto, Ana M.             HC‐02 Box 11624                                                                                    Humacao          PR    00791
        1604917 Gonzalez Cotto, Irma Iris          Calle 53 50‐1                                    Urb. Miraflores                                   Bayamon          PR    00957‐3854
        1648311 Gonzalez Cotto, Irma Iris          Calle 53 50‐1                                    Urb. Miraflores                                   Bayamon          PR    00957‐3854
        1602298 Gonzalez Cotto, Irma Iris          Calle 53 50‐1                                    Urb. Miraflores                                   Bayamon          PR    00957‐3854
        2071572 Gonzalez Crespo, Amelia            LF4 32 5ta Sec Villa del Rey                                                                       Caguas           PR    00725
        2039366 Gonzalez Crespo, Anastacia         S20 9 4 tasecc Villa del Rey                                                                       Caguas           PR    00727
        1104164 GONZALEZ CRESPO, WILMAR            CARR 416 KM 5.2 INT.                             HC 58 BOX 14743                                   AGUADA           PR    00602‐0602
        1786600 Gonzalez Cruz, Daisy               Urb. Bella Vista B‐28                                                                              Aibonito         PR    00705
        1782998 GONZALEZ CRUZ, SONIA IVETTE        123 BALDORIOTY ST                                                                                  AIBONITO         PR    00705
        1743567 GONZALEZ DE JESUS, ENID            HC 1 BOX 2625                                                                                      ARECIBO          PR    00616
        1743567 GONZALEZ DE JESUS, ENID            HC 01 BOX 2625                                                                                     BAJADERO         PR    00616
        2037102 Gonzalez del Rio, Raquel           HC03 Box 33396                                                                                     Hatillo          PR    00659
        1674668 Gonzalez Del Valle, Gerardo        HC‐10 Box 49372                                                                                    Caguas           PR    00725
        1777977 GONZALEZ DEL VALLE, GERARDO        HC 10 BOX 49372                                                                                    CAGUAS           PR    00725
        1746779 González Del Valle, Gerardo        HC‐10 Box 49372                                                                                    Caguas           PR    00725
         198025 Gonzalez Del Valle, Juan Antonio   Calle Laurel 504                                 Reparto Flamboyan                                 Mayaguez         PR    00680
        2023077 Gonzalez Del Valle, Pedro          Hc 5 Box 56939                                                                                     Mayaguez         PR    00680
                                                                                                                                                      Rio Canas Arriba
         2023077 Gonzalez Del Valle, Pedro         Carr. 354 Km 4 Hm. 7                                                                               May              PR    00680
         1320174 GONZALEZ DIAZ, BRENDA L           URB ESTANCIAS DE TORTUGUERO                      312 TIVOLI                                        VEGA BAJA        PR    00693
         1678014 GONZALEZ DIAZ, DELIMARYS          P.O. BOX 1823                                                                                      LARES            PR    00669
          909524 GONZALEZ DIAZ, JOSE               ATTN: ISAMAR GONZALEZ DELGADO                    PO BOX 981                                        YABUCOA          PR    00767
         1859179 GONZALEZ FALU, CLARA              VILLA DE CASTRO                                  JJ 27 CALLE 60                                    CAGUAS           PR    00725
         1859179 GONZALEZ FALU, CLARA              JJ 27 CALLE 600 URB VILLAS DE CASTRO                                                               CAGUAS           PR    00725
         1213784 GONZALEZ FIGUEROA, HECTOR JOEL    HC 10 BOX 49199                                                                                    CAGUAS           PR    00725

         2000160 Gonzalez Figueroa, Jesus A        Calle 7 Blog E‐18 Urb. El Conquistador Tn                                                          Trujillo Alto   PR   00976
                                                                                                                                                      SABANA
          794510 GONZALEZ FIGUEROA, TAMARA         URB VILLA ALBA J 17                                                                                GRANDE          PR   00637
         1546112 Gonzalez Flores, Bethzaida        PO Box 2569                                                                                        Juncos          PR   00777
         2082182 GONZALEZ FLORES, OMAYRA           RES. CATANITO GARDEN EDF‐5                       APT‐E12                                           CAROLINA        PR   00985
         2082182 GONZALEZ FLORES, OMAYRA           RUTA RURAL #1 BOX 36F                                                                              CAROLINA        PR   00983
         2148911 Gonzalez Fuentes, Juana           HC 5 Box 51520                                                                                     San Sebastian   PR   00685
         2024555 Gonzalez Garcia, Adalberto        Villas De Rio Canas                              1212 Calle Pedro Mendez                           Ponce           PR   00728‐1936
         2155962 Gonzalez Garcia, Liz              HC01 Box 5055                                                                                      Santa Isabel    PR   00757
         1801080 Gonzalez Gonzalez, Frandith       Urb. Villa Borinquen, Calle Nitaíno, G‐38                                                          Caguas          PR   00725

          199231 GONZALEZ GONZALEZ, JOSETTE        PO BOX 2657                                      BO JUNCAL                                         SAN SEBASTIAN PR     00685
          794577 GONZALEZ GONZALEZ, KAREN          CALLE 4 D 14                                     LOMA ALTA                                         CAROLINA      PR     00987
         1715661 Gonzalez Gonzalez, Maria E.       390 PMB 138 carretera 853                                                                          Carolina      PR     00987


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        2060475 Gonzalez Gonzalez, Maria Luz       Urb Quintes del Norte A‐34 Calle 2                                                                 Bayamon       PR    00961
        1114183 GONZALEZ GONZALEZ, MARIANO         BO CACAO BAJO                                HC 63 BOX 3180                                        PATILLAS      PR    00723

         1717766 GONZALEZ GONZALEZ, MELISSA        PO BOX 1306                                                                                        SABANA HOYOS PR    00688
          199359 GONZALEZ GONZALEZ, MIRTA          HC 61 BOX 5356                                                                                     AGUADA       PR    00602

         1559246 GONZALEZ GONZALEZ, ZORAIDA        PO BOX 3910                                  BAYAMON GARDENS STATION                               BAYAMON       PR   00958
         1863770 Gonzalez Hernandez, Carmen V.     Ciudad Jardin de Bairoa                      226 Calle Santander                                   Caguas        PR   00729
         1677604 Gonzalez Hernandez, Claribel      3633 El Cademus Urb. Punto Oro                                                                     Ponce         PR   00728‐2011
         2046269 Gonzalez Herrera, Evelyn          1006 Aramana Urb. Monterrey                                                                        Mayaguez      PR   00680
         1963755 Gonzalez Irizarry, Elizabeth      527 San Damian                               Ext. El Comandante                                    CAROLINA      PR   00982
         2020045 Gonzalez Irizarry, Elizabeth      527 San Damian, Ext El Comandante                                                                  Carolina      PR   00982
         2091686 Gonzalez Irizarry, Elizabeth      527 San Damian, Ext. El Comandante                                                                 Carolina      PR   00982
         2098914 GONZALEZ IRIZARRY, MIRIAM         VILLA FONTANA                                VIA 43 4RS‐4                                          CAROLINA      PR   00983
         2083668 Gonzalez Irizarry, Miriam         4RS‐4 Via 43                                 Villa Fontana                                         Carolina      PR   00983
         2080890 GONZALEZ IRIZARRY, MIRIAM         VIA 43 4RS‐4 VILLA FONTANA                                                                         CAROLINA      PR   00983
         2096883 Gonzalez Jimenez, Iris Marta      P.O. Box 1212                                                                                      Jayuya        PR   00664

          794659 GONZALEZ LABOY, LIZANDRA          BO. CACAO ALTO SECTOR SURO                   CARR 184 KM HC #63 BOX 3387                           PATILLAS      PR   00723
          794659 GONZALEZ LABOY, LIZANDRA          HC 63 BOX 3387                                                                                     PATILLAS      PR   00723‐9651
         1784224 Gonzalez Lopez , Arelis           HC‐04 BOX 19558                                                                                    Camuy         PR   00627
         2093470 Gonzalez Lopez, Sylvia            P.O. Box 2067                                                                                      Hatillo       PR   00659
         1680391 GONZALEZ LUCIANO, MARIA D         HC‐01 BOX 4074                                                                                     ADJUNTAS      PR   00601
          200377 GONZALEZ MALDONADO, AIDA          CALLE 3 A‐25 ALTURAS DE SAUCI                URB. ALTURAS                                          BAYAMON       PR   00957
         1854387 GONZALEZ MALDONADO, IRIS MARIA    141 CALLE DALIA                              URB JARDINES DE JAYUYA                                JAYUYA        PR   00664
         2050997 Gonzalez Maldonado, Iris Maria    141 Calle Dalia                              Urb Jardines de Jayuya                                Jayuya        PR   00664
         2044733 GONZALEZ MALDONADO, IRIS MARIA    141 CALLE DALIA                              URB. JARDINES DE JAYUYA                               JAYUYA        PR   00664
         2002176 Gonzalez Maldonado, Iris Maria    141 Calle Dalia, Urb Jardines de Jayuya                                                            Jayuya        PR   00664
          200553 GONZALEZ MARRERO, TANIA I.        #165 C/Niza                                  Urb Ext. El Comandante                                Carolina      PR   00982
          200553 GONZALEZ MARRERO, TANIA I.        EDIF. R‐1 APT. 178                           JARDINES DE BERWIND                                   RIO PIEDRAS   PR   00924
         1953465 Gonzalez Marrero, Virginia C.     AI‐12 c Magali Central Levittown                                                                   Toa Baja      PR   00949
         1712498 Gonzalez Marrero, Yeidy M.        PO Box 394                                                                                         Morovis       PR   00687
         2011123 Gonzalez Martinez, Aixamar        Calle Sloandra #30                                                                                 Arecibo       PR   00612
         1696209 GONZALEZ MARTINEZ, ELISA EILEEN   URBANIZACION SANTA MARTA                     CALLE D BLOQUE C #11                                  SAN GERMAN    PR   00683
                                                   Urbanización Santa Marta Calle D Bloque C
         1681986 Gonzalez Martinez, Elisa Eileen   #11                                                                                                San Germán    PR   00683
         2087789 Gonzalez Martinez, Ivette M       HC 03 Box 11875                                                                                    Camuy         PR   00627
         1963633 Gonzalez Martinez, Ivette M.      HC 03 Box 11875                                                                                    Camuy         PR   00627
         1964499 Gonzalez Martinez, Ivette M.      HC‐03 Box 11875                                                                                    Camuy         PR   00627
         2134434 Gonzalez Medina, Idalys           Urb. Estancias de la Ceiba #48               Calle Almendra                                        Hatillo       PR   00659
          200939 GONZALEZ MELENDEZ, MIRIAM         BDA MARIN                                    CALLE 12 191 A                                        GUAYAMA       PR   00784
         1627467 Gonzalez Mendoza, Leslie          Urb. San Agustin                             113 Calle San Bruno                                   Vega Baja     PR   00693
          201098 Gonzalez Mercado, Wanda E.        P.O. BOX 1197                                                                                      AGUADA        PR   00602
         2150193 Gonzalez Molina, Nancy I.         HC‐01 Box 4200                                                                                     Salinas       PR   00751
         1978900 Gonzalez Montesino, Luz E.        Barrio Qda Cruz                              Buzon RR #6 7170                                      TOA ALTA      PR   00953
         1721940 Gonzalez Mora, Irene              HC 73 Box 5926                                                                                     Cayey         PR   00737


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        2160291 Gonzalez Morales, Carlos J.       Bzn‐j‐1 Calle#4 los Almendros               Bo: Talante                                           Maunabo         PR    00707
        1888858 Gonzalez Muniz, Paquita           HC 61 BOX 34997                                                                                   AGUADA          PR    00602‐9556
        1130417 GONZALEZ MUNIZ, PAQUITA           HC 61 BOX 34997                                                                                   AGUADA          PR    00602
        1724787 Gonzalez Narvaez, Keilyvette      Calle B # 286                               Urbanizacion Flamingo Hills                           Bayamon         PR    00957
        1976032 Gonzalez Navarro, Gladys V.       HC 02 Box 30885                                                                                   Caguas          PR    00727
        1976032 Gonzalez Navarro, Gladys V.       PO Box 1153                                                                                       San Lorenzo     PR    00754‐1153
        1766665 Gonzalez Nieves, Enrique          P.O. Box 635                                                                                      Sabana Hoyos    PR    00688
         201649 Gonzalez Nieves, Jose M           Po. Box 2072                                                                                      Yabucoa         PR    00767
        1768200 Gonzalez Nieves, Yazmin D.        PO Box 6814                                                                                       Bayamon         PR    00960‐9008
        1221502 GONZALEZ OCASIO, IVELISSE         HC‐04 BOX 15367                                                                                   CAROLINA        PR    00987
        2100803 Gonzalez Ocasio, Ivelisse         HC‐04 Box 15367                                                                                   Carolina        PR    00987
        1495555 GONZALEZ OLIVERO , VIVIAN         PO BOX 243                                                                                        UTUADO          PR    00641
        1505942 Gonzalez Olivero, Vivian          PO BOX 243                                                                                        Utuado          PR    00641
        2000716 Gonzalez Olmo, Pablo              536 Calle Eufrates                                                                                Hatillo         PR    00659
        1194582 GONZALEZ ORTIZ, EDWIN             433 PASEO RUISENOR                          COTO LAUREL                                           PONCE           PR    00780‐2407
        1653567 González Ortiz, Rosa H.           Urbanizacion Jardines de Vega Baja          142 Jardin del Alba                                   Vega Baja       PR    00693
        1985778 Gonzalez Ortiz, Ruth I            2‐K‐13 Jose M. Solis                                                                              Caguas          PR    00727
        2092600 Gonzalez Ortiz, Sara li           Urb. Villa Carolina,                        78 # 2 Calle 84                                       Carolina        PR    00985
        1487019 Gonzalez Pacheco, Karitza         429 West Governor Rd.                                                                             Hershey         PA    17033
        1486959 Gonzalez Pacheco, Karitza         429 West Governor Road                                                                            Hershey         PA    17033
        1969118 GONZALEZ PAGAN, JESSICA           URB. VALLE DEL PARAISO                      #10 CALLE RIACHUELO                                   TOA ALTA        PR    00953
        1141740 GONZALEZ PAULINO, ROSA            PO BOX 164                                                                                        ANGELES         PR    00611
        2028050 Gonzalez Perez, Angel M.          #2562, C/ NACAR                                                                                   Ponce           PR    00716
        2005978 Gonzalez Perez, Angela C.         #367 Calle Atenas                                                                                 San Juan        PR    00920
        2030725 GONZALEZ PEREZ, DEITER J          URB ISABELA                                 D‐37 CALLE 9 LA CATOLICA                              Aguada          PR    00602
        1575512 GONZALEZ PEREZ, FELIX D           HC‐02 BOX 4417                                                                                    VILLALBA        PR    00766
        1589080 Gonzalez Perez, Felix D           HC‐02 BOX 4417                                                                                    VILLALBA        PR    00766
        2018843 Gonzalez Perez, Jose D.           University Gardeas                          Calle Bambu H‐18                                      Arecibo         PR    00612
        1607045 Gonzalez Perez, Marisol           PO Box 163                                                                                        Quebradillas    PR    00678
        1567704 GONZALEZ PEREZ, MYRTHA I          HC‐3 BOX 9776                                                                                     LARES           PR    00669
        1568178 Gonzalez Perez, Myrtha I          HC‐3 Box‐9776                                                                                     Lares           PR    00669
        1671415 Gonzalez Perez, Wanda T.          D‐6 Urb San Cristobal                                                                             Aguada          PR    00602
        2005496 Gonzalez Pinero, Lilliam          Box 560174                                                                                        Guayanilla      PR    00656
        1882059 GONZALEZ PLAZA, YAHAIRA           URB LA CONCEPCION                           146 CALLE COBRE                                       GUAYANILLA      PR    00656
        1749062 Gonzalez Qninones, Awilda         HC ‐7 Box 30065                                                                                   Juana Diaz      PR    00795
        1577772 Gonzalez Quinones, Nelson G.      Calle Ucar #82 Urb. Paseo La Ceiba                                                                Hormigueros     PR    00660
        1784529 Gonzalez Quinonez, Samuel         Apartado 934                                                                                      Yauco           PR    00698
        1651075 Gonzalez Quintana, Edward         HC 06 Box 11801                                                                                   San Sebastian   PR    00685
         202800 GONZALEZ RAMIREZ, MARIBEL         APARTADO 722                                                                                      LARES           PR    00669
        1668670 GONZALEZ RAMOS, GUILLERMO         PO BOX 2758                                                                                       RIO GRANDE      PR    00745‐2758
        2027723 Gonzalez Ramos, Sonia             Carr. 314 Km. 06                                                                                  San German      PR    00683
        2027723 Gonzalez Ramos, Sonia             HC02 ‐ Box 11592                                                                                  San German      PR    00683
        2233678 Gonzalez Rivera, Carlos D         PO Box 1262                                                                                       Cabo Rojo       PR    00623
        2154837 Gonzalez Rivera, Daniel           HC 63 Box 3590                                                                                    Patillas        PR    00723
        1685845 Gonzalez Rivera, Enrique          Bda. Marin Calle 5 170‐A                                                                          Guayama         PR    00784
        2031246 Gonzalez Rivera, Esther M.        Urb. El Madrigal H 18 Calle 1                                                                     Ponce           PR    00730


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        1577909 Gonzalez Rivera, Hector           Parc Amadeo                                12 Calle D                                         Vega Baja      PR    00693‐5136
        1634382 Gonzalez Rivera, James A.         BDA Marin                                  Calle 5 170 A                                      Guayama        PR    00784
        2223102 Gonzalez Rivera, Jose L.          P.O. Box 1215                                                                                 Morovis        PR    00687
        1877765 Gonzalez Rivera, Juana M.         P.O. Box 127                                                                                  Jayuya         PR    00664
        2054244 Gonzalez Rivera, Migdalia         PO Box 693                                                                                    Jayuya         PR    00664
        1962829 Gonzalez Rivera, Nylsa M.         Urb. Minima #7                                                                                Arroyo         PR    00714
        1962829 Gonzalez Rivera, Nylsa M.         Urb. Minima #7 Calle A                                                                        Arroyo         PR    00714
        2005643 Gonzalez Rivera, Rosa E.          HC 04 BOX 16319                                                                               CAMUY          PR    00627
        2016368 Gonzalez Rivera, Sara             P.O. Box 1754                                                                                 Sabana Seca    PR    00952‐1754
        1940779 GONZALEZ RIVERA, SOLDELIX         PORTALES DE JACARANDA                      15021 CALLE UCAR                                   SANTA ISABEL   PR    00757
        1824213 Gonzalez Rivera, Soldelix         Portales de Jacaranda 15021 Calle Ucar                                                        Santa Isabel   PR    00757
        2090520 Gonzalez Rivera, Soldelix         Portales de Jacaranda                      15021 Calle Ucar                                   Santa Isabel   PR    00757
        1916649 Gonzalez Rivera, Soldelix         Portales de Jacaronda                      15021 Calle Ucar                                   Sante Isabel   PR    00757
        1952211 Gonzalez Rivere, Soldelix         Portales de Jacaranda 15021 calle Ucar                                                        Santa Isabel   PR    00757
        2048004 GONZALEZ RODRIGUEZ, ALMA I.       A‐10 CONVENTO                              VILLA DEL RIO                                      GUAYANILLA     PR    00656‐1101
         203818 GONZALEZ RODRIGUEZ, DIANE L       PO BOX 59                                                                                     ADJUNTAS       PR    00601
        1605441 Gonzalez Rodriguez, Eileen M.     P.O. Box 59                                                                                   Adjuntas       PR    00601
         795144 GONZALEZ RODRIGUEZ, MARTA         PO BOX 1228                                                                                   AIBONITO       PR    00705
        2023954 Gonzalez Rodriguez, Mary L.       733 Concepcion Vera                                                                           Moca           PR    00676
        2003388 Gonzalez Rodriguez, Mary Luz      733 Cancepcion Vera                                                                           Moca           PR    00676
        1922108 Gonzalez Rodriguez, Neika L.      Ext Sta Ana 3 Calle 10 #242                                                                   Salinas        PR    00751
        1764800 Gonzalez Rodriguez, Noelia        4116 Apt. U Townhouse Rd                                                                      Richmond       VA    23228
        1995543 GONZALEZ RODRIGUEZ, ROSA M.       CALLE 4 A40 URB. VISTA AZUL                                                                   ARECIBO        PR    00612‐2525
        1791301 Gonzalez Rodriguez, Tulidania     Urb Valle de Andalucia                     Calle Lorca 2919                                   Ponce          PR    00728‐3104
        1630458 Gonzalez Rodriguez, Tulidaria     Urb. Valle de Andalucia                    Calle Lorca 2919                                   Ponce          PR    00728‐3104
        1502237 GONZALEZ ROIG, ANA C.             URB. COUNTRY CLUB                          CALLE 406 MG‐4                                     CAROLINA       PR    00982
        1943389 Gonzalez Roman, Ada I             Urb. Jardines de Lares C‐2                                                                    Lares          PR    00669
        1596940 Gonzalez Roman, Ana M.            Urb. Sabana Garden                         Calle 13 Bloq 9‐26                                 Carolina       PR    00983
        1539672 Gonzalez Roman, Diego             B‐32 Solaz Los Recieos                                                                        Guayama        PR    00784
        2031024 Gonzalez Roman, Jeniffer S.       P.O. Box 671                                                                                  Adjuntas       PR    00601
        2112696 Gonzalez Rosa, Jeanette           CB7 Jardines del Caribe                                                                       Isabela        PR    00662
        2000052 Gonzalez Rosado, Daisy W.         674 Asis                                                                                      Vega Baja      PR    00693
        1863126 Gonzalez Rosado, Natividad        Urb. La Arboleda Calle 18 #190                                                                Salinas        PR    00751
         994069 GONZALEZ ROSARIO, FERNANDO        CALLE MOLINA                               #94                                                PONCE          PR    00730‐3656
        2104419 Gonzalez Rosario, Nancy           HC 57 Box 15497                                                                               Aguada         PR    00602
        2004222 GONZALEZ ROSARIO, NELIDA          HC 10 BOX 49373                                                                               CAGUAS         PR    00725
        1873732 Gonzalez Ruiz, Adelaida           HC61 Box 34176                                                                                Aguada         PR    00602
        1963015 GONZALEZ SANABRIA, BENITA         PMB 427 SUITE 102 405 AVE. ESMERALDA                                                          GUAYNABO       PR    00969
        1916120 GONZALEZ SANCHEZ, GILBERTO        URB JAIME L DREW                           190 CALLE 7                                        PONCE          PR    00730
        1869432 Gonzalez Sanchez, Gilberto        Urb. Jaime L. Drew                         Calle 7 #190                                       Ponce          PR    00730
        1735178 GONZALEZ SANCHEZ, GILBERTO        URB JAIME 2 DREW                           CALLE 7 #190                                       PONCE          PR    00730
        2106210 Gonzalez Sanchez, Omaira          PO Box 1023                                                                                   Coamo          PR    00769
        2092390 Gonzalez Santiago, Pedro A.       #53 Nemesia Arroyo                                                                            Mayaguez       PR    00680
        2118308 GONZALEZ SERRANO, AIDA LUZ        AF‐ 28 calle Oubeck Cagus Monte                                                               Caguas         PR    00725
        2072728 Gonzalez Soler, Luz N.            HC‐03 Box 16896                                                                               Quebradillas   PR    00678
        1701939 GONZALEZ SOTO, JOCELYN            URB ISLAZUL                                3335 CALLE BELICE                                  ISABELA        PR    00662


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         205372 Gonzalez Soto, Joselyn              Urb Islazul 3335 Calle Belize                                                                      Isabela         PR    00662
        2115255 Gonzalez Soto, Maria N.             HC 60 Box 29780                                                                                    Aguada          PR    00602
        2087379 Gonzalez Soto, Maria N.             HC 60 Box 29780                                                                                    Aguada          PR    00602
        1581069 GONZALEZ SUAREZ, ALEIDA             CALLE OCACIA 1 A 37 ROYAL PALM                                                                     BAYAMON         PR    00956
        1581069 GONZALEZ SUAREZ, ALEIDA             PO BOX 50424                                                                                       TOA BAJA        PR    00950
                                                    Urb. Villas de Rio Canas Calle, Luis Torres,
         1577298 Gonzalez Torres, Alexander         Nadal 1020                                                                                         Ponce           PR   00728
         1504470 Gonzalez Torres, Alexandra         Urb. Vilas De Rio Canes Calle Luis             Torres Nadal 1020                                   Ponce           PR   00728
         1956994 Gonzalez Torres, Carmen Claritza   745 Santana                                                                                        Arecibo         PR   00612‐6805
         1657733 Gonzalez Torres, Lester A.         Calle Salvador Lugo #33                                                                            Adjuntas        PR   00601

         1248253 GONZALEZ TORRES, LILLIAM           URB VALLE HERMOSO                              CALLE CORAL SP17                                    HORMIGUEROS PR       00660
         2047853 Gonzalez Torres, Lissette          PO Box 8230                                                                                        Ponce       PR       00732‐8230
         1496683 GONZALEZ TORRES, LIZETTE           06 URB JESUS M. LAGO                                                                               UTUADO      PR       00641
         1495455 GONZALEZ TORRES, LIZETTE           06 URB JESUS M. LAGO                                                                               UTUADO      PR       00641
         1728193 Gonzalez Torres, Marisol           Urb. Caguas Norte Calle Viena AO‐5                                                                 Caguas      PR       00725
         1946780 Gonzalez Torres, Milagros          HC 1 Box 5841                                                                                      Orocovis    PR       00720
         1538488 Gonzalez Torres, Nancy             HC‐03 Box 8725                                                                                     Lares       PR       00669
          585510 GONZALEZ TORRES, VICTOR MANUEL     BO MOSQUITO PRADA 9 BUZON 2081                                                                     AGUIRRE     PR       00704
         1758803 Gonzalez Torres, Zayda J.          Urb. Vistas Del Mar 2512 calle Nacar                                                               Ponce       PR       00716
         1635778 Gonzalez Trinidad, Nellie          Hc 02 Buzon 6274 Bo. Sabana                                                                        Luquillo    PR       00773
         1939322 Gonzalez Valentin, Lucila Yadira   PO Box 567                                                                                         Arroyo      PR       00714
                                                                                                   1466 Ave. Felix Aldarondo
         1939322 Gonzalez Valentin, Lucila Yadira   Attn: Manuel Acevedo Urama                     Santiago                                            Isabela         PR   00662
         1742812 Gonzalez Valle, Jenniffer          PO Box 2776                                                                                        San Sebastian   PR   00685
         1694716 González Vargas, Damaris           HC 60 Box 12272                                Carr. 411 KM 5.6 Interior                           Aguada          PR   00602
         1638711 González Vargas, Damaris           HC 60 Box 12272                                                                                    Aguada          PR   00602
         1656994 Gonzalez Velez, Jose B             PO Box 512                                                                                         Lares           PR   00669
         2029502 Gonzalez, Enid Rosa                HC‐02 Box 4459                                                                                     Villalba        PR   00766
         2134005 Gonzalez, Evelyn Alicea            Box 568                                                                                            Cabo Rojo       PR   00623
         2018559 GONZALEZ, GLADYS                   P.O. BOX 372322                                                                                    CAYEY           PR   00737
         1717589 Gonzalez, Reynaldo                 HC 2 Box 7366                                                                                      Lares           PR   00669
         2219703 Gonzalez, Sujeil                   Hc 4 Box 46856                                                                                     San Sebastian   PR   00685
         1768400 Gonzalez, Tania                    HC 5 Box 45974                                                                                     Vega Baja       PR   00693
         2038516 Gonzalez‐Borges, Ramona            15 Ana Maria                                                                                       Camuy           PR   00627‐2821
         1909857 Gonzalez‐Del Toro, Jeisa Aymara    Urb Eng Senonal Calle Castania 142                                                                 Ponce           PR   00731
         1699562 Gonzalez‐Gonzalez, Ricardo         Bo. Algarrobo 4210 Carr. #2                                                                        Vega Baja       PR   00693
         2074647 Gonzalez‐Martinez , Ivette M.      HC 03 Box 11875                                                                                    Camuy           PR   00627
         1899772 Gonzalez‐Muniz, Paquita            HC 61 Box 34997                                                                                    Aguada          PR   00602
         1940484 Gonzalez‐Ramos, Carmen A           PO Box 1220                                                                                        Camuy           PR   00627
         1962701 Gotay Ferrer, Dinaseth             Com. Caracoles 3 Buzon 1374                                                                        Penuelas        PR   00624
         1950026 Gotay Ferrer, Dinaseth             Com.Caracoles 3 buzon 1374                                                                         Penuelas        PR   00624
         1580943 Gotay Hays, Nitza                  317 Calle Los Olivos                           Urb Canas Housing                                   Ponce           PR   00728
         1580943 Gotay Hays, Nitza                  Carr. 14 Ave. Tito Castro                                                                          Ponce           PR   00728
         2034950 GOYCO ALVAREZ, NILSA I             207 GENERAL MC ARTHUR                                                                              MAYAGUEZ        PR   00680
         2085313 Goyco Morales, Elsa I.             PO Box 339                                                                                         Aguada          PR   00602


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        1951304 Goyco Morales, Evelyn C.             Box 339                                                                                              Aguada         PR    00602
        2101596 Goyco Velazquez, Nancy               3511 S. 93rd Ave                                                                                     Tolleson       AZ    85353
        2014070 Goytia Perales, Daisy                Urb. Paraises de Gurabo                       #60 Calle Paraise Encantado                            Gurabo         PR    00778
        2120463 Goytia Perales, Daisy                Urb. Paraisos de Gurabo                       #60 Calle Paraiso Encantado                            Gurabo         PR    00778
        2115197 Goytia Perales, Daisy                Urb. Paraisos de Gurabo                       #60 Calle Paraiso Encantador                           Gurabo         PR    00778
        2116858 Goytia Perales, Daisy                Urb Paraisos de Gurabo #60                    Calle Paraiso Encantado                                Gurabo         PR    00778
        2087362 Goytia Perales, Daisy                Urb. Paraisos de Gurabo                       #60 Calle paraiso Encantado                            Gurabo         PR    00778
        1687558 GRACIA COLLAZO, IVONNE M.            Calle Damasco #2598                           Urb San Antonio                                        Ponce          PR    00728
        1687558 GRACIA COLLAZO, IVONNE M.            EL MADRIGAL MARGINAL NORTE I 12                                                                      PONCE          PR    00730
        2082489 GRACIANI RAMOS, MYRNA I              1108 MURAT PL                                                                                        KISSIMMEE      FL    34759‐7038
        2089224 Gragoso Rodriguez, Marie             PO Box 390                                                                                           Bajadero       PR    00616‐0390
        1760796 Grajales Abreu, Lissette             403 Sec. Ramal Calle Canada                                                                          Isabela        PR    00662

         1979227 Gratacos Alonso, Blanca N.          Ext. del Carmen Calle 3 C13 Apartado 1566                                                            Juana Diaz     PR   00795
         1597464 Grau Burgos, Sharon                 PO Box 1197                                                                                          Arroyo         PR   00714
         1881131 Green Maldonado, Jaime              HC 01 Box 5174                                                                                       Barranquitas   PR   00794
         1734265 Grullon Rossello, Charmaine A.      PO Box 193548                                                                                        San Juan       PR   00919‐3548
         2144989 Guadalupe Diaz, Dionisio            HC01 Box 4727                                                                                        Salinas        PR   00751‐9711
          208696 GUADALUPE DIAZ, MARIAM L            METROPOLIS                                    2R4 CALLE 42                                           CAROLINA       PR   00987
         1528346 Guadalupe Diaz, Mariam L            2R4 Calle 42                                                                                         Carolina       PR   00987

          208697 Guadalupe Diaz, Rosaura             URB COUNTRY CLUB                              1169 CALLE TRINIDAD PADILLA                            SAN JUAN       PR   00924
         2154880 Guadalupe Rivera, Ada N             Urb Monte Brisas V                            Calle 5‐2 #B‐15                                        Fajardo        PR   00738
         2010031 Guadarrama Reyes, Leonardo R.       P.O. Box 143263                                                                                      Arecibo        PR   00614
          733890 GUERRERO ALTORAN, OSCAR             PO BOX 3207                                                                                          SAN JUAN       PR   00902
         2107658 GUERRERO PEREZ, ADA I               URB SANS SOUCI                                B30 CALLE 13                                           BAYAMON        PR   00957
         2060785 Guerrero Placido, Sandra I          Calle 5 B‐28 Isabel La Catolica                                                                      Aguada         PR   00602
         2023632 Guerrero Placido, Sandra I          Calle 5 B‐28 Isabella Catolica                                                                       Aguada         PR   00602
         1890881 Guerrero Sakedo, Reinaldo           PO Box 2520                                                                                          Isabela        PR   00662
         1720333 Guerrios Esteves, Yarlene           PO BOX 979                                                                                           Camuy          PR   00627
         1720333 Guerrios Esteves, Yarlene           PO BOX 3141                                                                                          Vega Alta      PR   00692
          900700 GUEVARA MARTINEZ, GLENDA L          PO BOX 1722                                                                                          ISABELA        PR   00662
         1739035 Guevarez Fernandez, Yolanda         RR2 Box 6078                                                                                         Manati         PR   00674
         1756462 Guevarez Fernandez, Yolanda         RR2 Box 6078                                                                                         Manati         PR   00674
         1873192 GUEVAREZ GUEVAREZ, MELVIN           14 CALLE BALDORITY                                                                                   MOROVIS        PR   00687
         1076352 Guilbert Rivera, Pablo R            Hc‐01 Box 6684                                                                                       Las Piedras    PR   00771
         1665404 Guiliani Rodríguez, Daryl           Villa Olimpia 3 C 11                                                                                 Yauco          PR   00698
         2055755 Guillbert Rivera, Pablo Ricardo     HC‐01‐Box 6684                                                                                       Las Piedras    PR   00771
          210027 Guilloty Ramos, Luis A              PO Box 870                                                                                           Anasco         PR   00606
         1729285 Gutierrez , Suhail Martinez         P.O. Box 336684                                                                                      Ponce          PR   00733‐6684
         1729951 Gutierrez Cartagena, Nydia          Colinas San Francisco                         Calle Fabiola B‐11                                     Aibonito       PR   00705
         2153835 Gutierrez Colon, Maria de Angeles   Box 399                                                                                              Aguirre        PR   00704
         1757833 Gutierrez Correa, Iris N            Carr.132 Km3.4 Bo Macana                                                                             Guayanilla     PR   00656
         1757833 Gutierrez Correa, Iris N            HC01 box 6681                                                                                        Guayanilla     PR   00656
         1948807 Gutierrez Cruz, Idel A.             Urb. El Rosario Esp. Santo 84                                                                        Yauco          PR   00698
         1860117 Gutierrez Gonzalez, Guillermo A.    Calle 30 Bloq 2T 50                           Urb. Mirador de Bairoa                                 Caguas         PR   00727‐1002


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         919087 Gutierrez Quinones, Mabel             20 Sector Playita Interior                                                                          Adjuntas       PR    00601
         919087 Gutierrez Quinones, Mabel             22 Sector La Playita                                                                                Adjuntas       PR    00601‐2312
        1816829 GUTIERREZ RODRIGUEZ, LYDIA KRIMILDA   P.O. BOX 2317                                                                                       UTUADO         PR    00641
        2101595 Gutierrez Vicente, Luz M.             48 Calle Rubi                                                                                       Caguas         PR    00725
        1993910 Gutierrez‐Collazo, Leticia D.         119 Cond La Giralda                           Colomer St 4‐C                                        San Juan       PR    00907
        1193572 GUZMAN CINTRON, EDUARDO               BO SEMIL                                      CARR 514 BOX 8555                                     VILLALBA       PR    00766
        1526598 Guzman Garcia, Norma Ivette           P.O. Box 752                                                                                        Puerto Real    PR    00740
        1230029 GUZMAN LOPEZ, JORGE L                 HC 1 BOX 13153                                                                                      COMERIO        PR    00782

         1972193 Guzman Moreno, Carmen M.             5504 Paseo Lago Garzas Ext. Lago Horizante                                                          Coto Laurel    PR   00780
         1583665 Guzman Rivera, Richard               HC01 Box 3213                                                                                       Villalba       PR   00766‐9707
         2138700 Guzman Rodriguez, Maritza            482 Sotavento Brisas delsar                                                                         Juana Diaz     PR   00795
         2096410 Guzman Rosa, Jessica                 C‐12 Calle San Francisco                                                                            Caguas         PR   00725
          212117 GUZMAN SANTIAGO, ELIZABETH           URB LAS FLORES                                H47 CALLE 5                                           JUANA DIAZ     PR   00795‐2219
         2154174 Guzman Santiago, Jose Arnaldo        Hc‐02 Box 5892                                                                                      Salinas        PR   00751
         1690061 Guzmán Villegas, Carmen M.           Calle Sierra Morena PMB 384267                                                                      San Juan       PR   00926‐5583
         1787748 Guzman, Haydee E.                    Urb Santa Elena N‐52 Calle A                                                                        Bayamon        PR   00957
         1683754 Guzman, Marisel Montalvo             1610 Carrollton Ave                                                                                 Killeen        TX   76541
         2045596 HADDOCK BELMONTE, EDWIN RAFAEL       URB. LLANOS STA. ISABEL                       CALLE 2 #D‐5                                          SANTA ISABEL   PR   00757
         2045596 HADDOCK BELMONTE, EDWIN RAFAEL       URB. LLANOS STA. ISABEL                       CALLE 2 #D‐5                                          SANTA ISABEL   PR   00757
         2100144 Haddock Vazquez, Geriann             P.O. Box 521                                                                                        Guayama        PR   00785
         2091403 Harrison Diaz, Ana M                 HC 06 Box 61338                                                                                     Camuy          PR   00627
         2035173 Harrison‐Diaz, Ana M                 HC 06 Box 61338                                                                                     Camuy          PR   00627
         2106271 Harrison‐Diaz, Ana M.                HC ‐ 06 Box 61338                                                                                   Camuy          PR   00627
         1511401 Heredia Esteban, María J.            PO Box 371090                                                                                       Cayey          PR   00737‐1090
         1805172 Heredia Rodriguez, Awilda            Salomón 837 Country Club                                                                            San Juan       PR   00924
         1760786 Hernandez Alfonso, Rosa A.           #6 Hacienda Parque                                                                                  San Lorenzo    PR   00754
         1984598 Hernandez Aponte, Lydia E.           Calle‐20 0‐91 Bella Vista                                                                           Bayamon        PR   00957
         1753722 Hernandez Arcay, Carmen              Calle 482 MF‐2                                Country Club                                          Carolina       PR   00982
         2103590 Hernandez Aviles, Sonia              P.O. Box 1006                                                                                       Camuy          PR   00627
         1634137 Hernandez Caraballo, Sara I          URB SANTA MARIA                               B26 CALLE 2                                           CEIBA          PR   00735
         2109800 Hernandez Carrero, Marisol           Calle Paco Rosa 10                                                                                  Moca           PR   00676
         2050104 Hernandez Carrero, Rosa H.           P.O. Box 1737                                                                                       Moca           PR   00676
         2112536 Hernández Chavez, Rafael             Bloq 39‐32                                    35 Sierra Bayamón                                     Bayamón        PR   00961
                                                                                                                               Km. 4.6 Apto
         2094553 Hernandez Clemente, Sonia M.         Caminito Alto II Condo                        Bo. Rincón 800 Carr. 189   2132                       Gurabo         PR   00778‐5347
          217176 HERNANDEZ COLON, NORKA MARIA         SALTOS CABRAS                                 APARTADO 2019                                         OROCOVIS       PR   00720‐9407
          217176 HERNANDEZ COLON, NORKA MARIA         Carr. 155 Ramal 566                           Bo. Saltos Apt. 2019                                  Orocovis       PR   00720
          217177 HERNANDEZ COLON, NORMA               PO BOX 150                                                                                          OROCOVIS       PR   00720‐0150
         1859149 HERNANDEZ COLON, NORMA               PO BOX 150                                                                                          OROCOVIS       PR   00720
         1873262 Hernandez Colon, Norma               PO Box 150                                                                                          Orocovis       PR   00720
         2157093 Hernandez Cosme, Jose A.             HC 2 Box 9056                                                                                       Guayanilla     PR   00656
         2013215 Hernandez Cotto, Ricky M.            589 Calle Baston Urb. Borinquen Valley                                                              Caguas         PR   00725
         2023073 Hernandez Cotto, Ricky M.            589 Calle Baston Urb. Boriqua Valley                                                                Caguas         PR   00725

          796194 HERNANDEZ CRESPO, ALEXANDER          Plazas de Torrimar II Apt.10‐108, Ave. 110,   Los Filtros                                           Bayamon        PR   00959


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         796194 HERNANDEZ CRESPO, ALEXANDER          HC‐07 BOX 32865                                                                                       CAGUAS          PR    00727
        1920653 HERNANDEZ DAVILA, ANA MARIA          HC 02 BOX 14618                                                                                       CAROLINA        PR    00985
        1800619 HERNANDEZ DE JESUS, MARISOL          URBANIZACION VALLE DE ENSUENO               502 VALLE VERDE                                           GURABO          PR    00778
         217741 HERNANDEZ ECHEVARRIA, WALTER         URB VILLA DOS RIOS                          CALLE GUAMANI 2932                                        PONCE           PR    00730
        1555175 HERNANDEZ ENCARNACION, AMARILIS      LOIZA VALLEY                                V 815 CALLE CROTON                                        CANOVANAS       PR    00729
         217755 HERNANDEZ ENCARNACION, AMARILIS      LOIZA VALLEY                                V 815 CALLE CROTON                                        CANOVANAS       PR    00729
        2113765 HERNANDEZ FEIJO, EDWIN               APARTAMENTO 602                                                                                       NARANJITO       PR    00719
        2008729 Hernandez Figueroa, Monserrate       Bo Vequitas Sentor Caricaboa                PO Box 455                                                Jayuya          PR    00664
        2031210 HERNANDEZ FONTANEZ, IVETTE M         3 A‐15 ASTORIAS STREET VILLA DEL REY                                                                  CAGUAS          PR    00726
        1614332 HERNANDEZ GARCIA, CARLOS E.          H,C 03 BOX                                  12200 BO. YEGUADA                                         CAMUY           PR    00627
        1931578 Hernandez Garcia, Milagros           Villas de Caney Mabo J‐5                                                                              Trujillo Alto   PR    00976
         487517 HERNANDEZ GONZALEZ , LUIS A.         URB. DIPLO 707                              CALLE FLAMBOYAN                                           NAGUABO         PR    00718
        1696405 Hernandez Gonzalez, Janielle         PO Box 8691                                                                                           Caguas          PR    00726‐8691
        2153448 Hernandez Gonzalez, Rosa Esther      P.O Box 188                                                                                           Las Marias      PR    00670
        2013117 Hernandez Gordillo, Noelia           HC02 Box 6906                                                                                         Jayuya          PR    00664‐9608
        2205633 Hernandez Guzman, Carlos J.          PO Box 3533                                                                                           Bayamon         PR    00958
        2209696 Hernandez Guzman, Fernando M.        Urb. Santa Monica #C‐31 Calle 4                                                                       Bayamon         PR    00957
        1737427 Hernandez Hernandez, Edwin A         122 Calle Varsovia                                                                                    Isabela         PR    00662
        1830743 Hernandez Hernandez, Israel          Victoria Station PO Box 740                                                                           Aguadilla       PR    00605
        1724318 Hernandez Hernandez, Manuel Rafael   PO Box 2906                                                                                           Arecibo         PR    00613
        2088371 Hernandez Hernandez, Maritza         HC‐3 Box 8102                                                                                         Las Piedras     PR    00771
        2098254 Hernandez Hernandez, Maritza         HC 03 Box 8102                                                                                        Las Piedras     PR    00771
        2081954 Hernandez Hernandez, Minerva         PO Box 392                                                                                            San Lorenzo     PR    00754
        2198900 HERNANDEZ HERRERA, ANTONIA           513 CALLE L NUEVA VIDA EL TUQUE                                                                       PONCE           PR    00728
        1780155 Hernandez Huertas, Mayra I.          Urb. Sierra Verde #6                                                                                  Orocovis        PR    00720
        1650582 Hernandez Lamberty, Jose L           PO Box 753                                                                                            Anasco          PR    00610
        2085933 Hernandez Lamberty, Maricelys        P.O. Box 753                                                                                          Anasco          PR    00610
        2022111 Hernandez Lopez, Nilda               HC 56 Box 4982                                                                                        Aguada          PR    00602

         1808493 Hernandez Malave, Maria L           Urb. Paraiso De Gurabo                      Apt. 70 Calle Paraiso Encantado                           Gurabo          PR   00778

         1963267 Hernandez Malave, Maria L.          Urb. Parasio de Gurabo                      APT 70 Calle Paraiso Encantado                            Gurabo          PR   00778
          219078 HERNANDEZ MALDONADO, MARIA L        PO BOX 4102                                                                                           VEGA BAJA       PR   00694‐4102
         2097631 Hernandez Malero, Evelyn            RR‐36 Box 6082                                                                                        San Juan        PR   00926
         1823368 Hernandez Matos, Orlando R.         Urb. El Bosque 37                                                                                     Coamo           PR   00769
         2025694 Hernandez Medina, Alicia            5040 Calle Aleli                                                                                      Aguadilla       PR   00603
          796444 HERNANDEZ MOJICA, GLORIBEL          LOS PRADOS                                  CALLE TULIPANES G‐23‐241                                  CAGUAS          PR   00727
         2013706 Hernandez Montanez, Carmen L.       34 Hortensia Urb. Ciudad Jardin                                                                       Carolina        PR   00987
         1716845 Hernandez Montero, Lisbeth          Urb. Glenview Gardens                       Calle Escocia #B28                                        Ponce           PR   00730
         1688747 Hernandez Montero, Lisbeth          Urb. Glenview Gardens                       Calle Escocia #B28                                        Ponce           PR   00730
         1673638 Hernández Montero, Lisbeth          Urb. Glenview Gardens                       Calle Escocia # B28                                       Ponce           PR   00730
         1671853 Hernández Morales, Carmen E.        Urb Los Llanos L13 Calle Ortegón                                                                      Ciales          PR   00638
         1711512 Hernandez Morales, Pedro I.         115 Calle Bromelia Urb. 3T                                                                            Isabela         PR   00662‐3211
         1831647 HERNANDEZ MORALES, WALESKA          CALLE A J3                                  URB SANTA CATALINA                                        BAYAMON         PR   00957
         1982872 Hernandez Muniz, Claribel           HC‐03 Box 7540                                                                                        Moca            PR   00676
         2110793 Hernandez Muniz, Elba L.            P.O. Box 1585                                                                                         Moca            PR   00676


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        2064395 Hernandez Muniz, Elba L.          Moca P.O. Box 1585                                                                                   Moca            PR    00676
        2110744 Hernandez Muniz, Librada          HC‐03 Box 7540                                                                                       Moca            PR    00676
         219914 HERNANDEZ NUQEZ, TERESA           CALLE 19 2W10                                URB. ALTO MONTE BAIROA                                  CAGUAS          PR    00727
        1635917 HERNANDEZ OFARILL, DENNIS A.      75 CALLE JUNIN                               COND. PUERTA DEL SOL          APTO. 1809                SAN JUAN        PR    00926
        2030756 Hernandez Olivieri, Rosario       #3472 Josefina Moll                                                                                  Ponce           PR    00728
        2155350 Hernández Olivo, Ruth M.          RR‐1 Box 12407                                                                                       Orocovis        PR    00720
        2155360 Hernández Olivo, Ruth M.          RR‐1 Box 12407                                                                                       Orocovis        PR    00720
        1387904 HERNANDEZ ORTIZ, MARIZAIDA        URB EL VALLE                                 7 CALLE NARDOS                                          LAJAS           PR    00667
        1387904 HERNANDEZ ORTIZ, MARIZAIDA        646 ARIES VILLAS DEL OESTE                                                                           MAYAGUEZ        PR    00682
        1991859 HERNANDEZ ORTIZ, VIRGINIA         21247 CALLE EL PARAISO                                                                               DORADO          PR    00646
        1603050 Hernandez Pellot, Everlidis       HC 02 Box 11239                                                                                      Moca            PR    00676
        1916303 Hernandez Perez, Fernando L       HC 5 Box 92138                                                                                       Arecibo         PR    00612
        2153385 Hernandez Perez, Hector L         HC 6 Box 4025                                                                                        Ponce           PR    00731‐9607
        1806562 Hernandez Perez, Mayra A.         722 Km. 38 Ro. Robles                        Sector La Sierra                                        Aibonito        PR    00705
        1806562 Hernandez Perez, Mayra A.         P.O. Box 912                                                                                         Aibonito        PR    00705
        2064227 Hernandez Quirindongo, Eunice     Calle 4 D‐18                                 Urb La Rivieria                                         Arroyo          PR    00714
        2064227 Hernandez Quirindongo, Eunice     PO Box 311                                                                                           Arroyo          PR    00714
         220588 HERNANDEZ QUIRINDONGO, GRISELLE   JARDINES DE LAFAYETTE BA17                                                                           ARROYO          PR    00714
         220588 HERNANDEZ QUIRINDONGO, GRISELLE   JARDINES DE LAFAYETTE BA17                                                                           ARROYO          PR    00714
        2065074 Hernandez Quirindongo, Norka I.   P.O. BOX 311                                                                                         ARROYO          PR    00714
         220589 HERNANDEZ QUIRINDONGO, NORKA I.   PO BOX 311                                                                                           ARROYO          PR    00714
                                                                                               APT AE 101 COND. TURABO
          796575 HERNANDEZ RAMIREZ, NERLYN        DEPARTAMENTO DE EDUCACION                    CLUSTERS                                                CAGUAS          PR   00727
          796575 HERNANDEZ RAMIREZ, NERLYN        PO BOX 921                                                                                           CAGUAS          PR   00726

         1756751 Hernandez Ramos, Betty           HC 10 Box 8156                                                                                       Sabana Grande   PR   00637
         2061509 Hernandez Ramos, Elsie           3287 Paseo Colina                            Urb Levittown                                           Toa Baja        PR   00949
         1948662 Hernandez Ramos, Nilda           HC 1 Box 8439                                                                                        Aguas Buenas    PR   00703
         1948662 Hernandez Ramos, Nilda           HC‐04 Box 8439                                                                                       Aguas Buenas    PR   00703
         1871027 Hernandez Ramos, Nilda           HC‐04 Box 8439                                                                                       Aguas Buenas    PR   00703
         1812474 Hernandez Ramos, Nilda           HC‐04 Box 8439                                                                                       Aguas Buenas    PR   00703
         1840181 Hernandez Ramos, Nilda           HC‐04 Box 8439                                                                                       Aguas Buenas    PR   00703
         1647756 Hernandez Ramos, Nilda           HC‐04 Box 8439                                                                                       Aquas Buenas    PR   00703
         1984358 Hernandez Reyes, Emily           Calle Palma Real ij9 Royal Palm                                                                      Bayamon         PR   00956
         1632845 Hernandez Rivera, Aidaliz        Urb. Monte Sol                               Calle Armando Collazo # 453                             Juana Diaz      PR   00795
         1935237 Hernandez Rivera, Elida          HC 02                                        BOX 8184                                                Jayuya          PR   00664‐9612
         2053402 Hernandez Rivera, Elida          Carr. 144 K Bo. Int.                         Jayuya Abajo Santa Barbara                              Jayuya          PR   00664‐4612
                                                  CAR. 144 KM30 INT JAYUYA ABAJO SANTA
         2040312 HERNANDEZ RIVERA, ELIDA          BARBARA                                                                                              JAYUYA          PR   00664
         2053402 Hernandez Rivera, Elida          H.C. 02 Box 8184                                                                                     Jayuya          PR   00664‐9612
         1929264 Hernandez Rivera, Elida          HC 02 Box 8184                                                                                       Jayuya          PR   00664‐9612
         2040312 HERNANDEZ RIVERA, ELIDA          HC02 BOX 8184                                                                                        JAYUYA          PR   00664‐9614
         1999944 Hernandez Rivera, Jose Luis      De Diego Chalets 474                         Calle De Diego Apt. 65                                  San Juan        PR   00923

         1966296 Hernandez Rivera, Jose Luis      De Diego Chelets 474 Calle de Diego Apt.65                                                           San Juan        PR   00923




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         1720258 Hernández Rivera, José Miguel                  HZ 18 Calle José Pedreira Levitown 7ma Secc                                                    Toa Baja       PR   00950
         2087887 Hernandez Rivera, Maria E                      451 Juan Rodriguez Bo Mani                                                                     Mayaguez       PR   00680
         1975663 Hernandez Rivera, Maria E.                     451 Juan Rodriguez Bo Mani                                                                     Mayaguez       PR   00680
         1967368 Hernandez Rivera, Marta                        69 #2 Jardires de Gurabo                                                                       Gurabo         PR   00778
         1052520 Hernandez Robles, Maria I.                     Box 754                                                                                        Ceiba          PR   00735
         1917193 Hernandez Roche, Israel                        Sta. Teresita                               6337 Calle San Alfonso                             Ponce          PR   00730
         1010493 HERNANDEZ ROCHE, ISRAEL                        6337 CALLE SAN ALFONSO                      URB SANTA TERESITA                                 PONCE          PR   00730
         1010493 HERNANDEZ ROCHE, ISRAEL                        6337 CALLE SAN ALFONSO                      URB SANTA TERESITA                                 PONCE          PR   00730
         2063386 Hernandez Rodriguez, Carmen Migdalia           2B12 Calle 1 Alturas de Torrimar                                                               Guaynabo       PR   00969
         2181152 Hernandez Rodriguez, Luis A                    RR02 Box 4159                                                                                  Toa Alta       PR   00953
         1994521 Hernandez Rojas, Alberto                       HC‐01 Box 5725                                                                                 Orocovis       PR   00720
         1816633 HERNANDEZ ROJAS, MARIA M                       P.O. BOX 366                                                                                   OROCOVIS       PR   00720
         1874722 Hernandez Rojas, Maria M.                      P.O. Box 366                                                                                   Orocovis       PR   00720
         2076238 HERNANDEZ ROMAN, JORGE A                       URB BRISAS                                  BUZON J‐10 CALLE 8                                 CAMUY          PR   00627
         1959702 HERNANDEZ ROSADO , MARINES                     P.O. BOX 2566                                                                                  ARECIBO        PR   00613
         1945662 Hernandez Sanchez, Ismael                      CW5 12‐A Res Urb. Bairoa                                                                       Caguas         PR   00725
         1963981 Hernandez Santiago, Carmen L                   PO Box 1768                                                                                    Moca           PR   00676
         2120020 Hernandez Santiago, Carmen L.                  P.O. Box 1768                                                                                  Moca           PR   00676
         1639190 Hernandez Santiago, Luz V                      Colinas de Bayamon .                        250 Carr. 831 Apt. 905                             Bayamon        PR   00956‐4828
         1589760 HERNANDEZ SANTIAGO, WILLIAM                    HC 06 BOX 40011                                                                                PONCE          PR   00731
         2155074 Hernandez Santos, David                        Po Box 1108                                                                                    Coamo          PR   00769
         2121300 Hernandez Santos, Providencia                  Calle 46 #2T‐19                             Urb Metropolis                                     Carolina       PR   00987
         1981925 HERNANDEZ SERRANO, CARMEN M                    HC‐02 Box 30042                                                                                Caguas         PR   00725‐9404
         1676189 Hernandez Soto, Adelfina                       226 Calle Opalo Lomas Verdes                                                                   Moca           PR   00676
         1527544 Hernandez Soto, Alicia                         P.O Box 1370                                                                                   Las Piedras    PR   00771
                 Hernandez Soto, Hector M. (Fallecio), Carmen
         2061854 L. Perez                                       Apartado 2126                                                                                  Moca           PR   00676
         2066892 Hernandez Torres, Aida L                       PO Box 141254                                                                                  Arecibo        PR   00614‐1254
         1643098 Hernandez Torres, Aixa                         HC02 Box 43427                                                                                 Vega Baja      PR   00693‐9617
          222296 HERNANDEZ TORRES, ISABEL                       URB. LIRIOS                                    108 CALLE ALELI                                 JUNCOS         PR   00777
                                                                7451 Calle Perpetuo Socorro, Urbi Santa
         1854177 Hernandez Torres, Maria Calixta                Maria                                                                                          Ponce          PR   00717
         2154894 Hernandez Valentez, Luis A.                    Arizona 5, casa # 4                                                                            Arroyo         PR   00714
         1967352 Hernandez Valle, Iris                          P.O. Box 5031                                                                                  Caguas         PR   00725
         2051867 Hernandez Valle, Iris                          P.O. Box 5031                                                                                  Caguas         PR   00725
         2038781 Hernandez Valle, Nilda                         31‐34 Calle 39                                                                                 Bayamon        PR   00957
         1646790 HERNANDEZ VARGAS, KAREN E.                     3030 CALLE BUENOS AIRES                                                                        PONCE          PR   00717
         1945348 Hernandez Vazquez, Edna J.                     HC 07 Box 3536                                                                                 Ponce          PR   00731‐9607
         1896278 Hernandez Vazquez, Edna Jacqueline             HC 07 Box 3536                                                                                 Ponce          PR   00731‐9607
         2072164 Hernandez Vazquez, Lourdes                     HC4 Box 8581                                                                                   Aguas Buenas   PR   00703‐8836

         1981511 HERNANDEZ VAZQUEZ, MIGDALIA                    HC‐03 BOX 14289                                                                                AGUAS BUENAS PR     00703
         2015391 Hernandez Velasco, Mayra                       P.O. Box 8697                                                                                  Caguas       PR     00726‐8697
         1896196 Hernandez Velazquez, Elizabeth                 HC 02 Box 7173                                                                                 Las Piedras  PR     00771
         2121832 Hernandez Velazquez, Elizabeth                 HC‐02 Box 7173                                                                                 Las Piedros  PR     00771


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        MMLID                       NAME                             ADDRESS 1                            ADDRESS 2           ADDRESS 3   ADDRESS 4          CITY    STATE POSTAL CODE
        1727000 Hernandez Velez, Teddy V.         Urb. Valle Verde                               78 Cordova                                           Hatillo        PR    00659
        2009255 Hernandez Villalba, Clemente      P.O. Box 965                                                                                        Naguabo        PR    00718‐0965

         1996550 Hernandez Vives, Ana A           Urb. Villa Flores 1673 Calle Pasco villa Flores                                                     Ponce          PR   00716‐2900
         1601128 Hernández Vives, Ana Alice       Urb. Villa Flores 1673                          Paseo Villa Flores                                  Ponce          PR   00716
         1687903 Hernandez, Eileen                HC 05 Box 6794‐G                                                                                    Aguas Buenas   PR   00703
         1863289 Hernandez, Iris J.               3 Tortola                                                                                           Canovanas      PR   00729
         1753063 Hernandez, Ruben                 P.O BOX 3637                                                                                        Aguadilla      PR   00605‐3854
         1686349 Hernandez, Zurydee               RR‐1 Box 14034                                                                                      Orocovis       PR   00720
         1834815 Hernandez‐Nieves, Solimar        3 Rafael Maymi                                                                                      Caguas         PR   00725
         1963299 Herrera Agosto, Milton L.        PO Box 2062                                                                                         Yabucoa        PR   00767‐2062
         1975680 Hevia Colon, Luz Minerva         Urb. La Hacienda                                C‐14 Calle B                                        Comerio        PR   00782
         1658434 Hiraldo Figueroa, Maria C        232‐21 calle 611 Villa Carolina                                                                     Carolina       PR   00985
         1822139 Horrach, Felipe Alicea           HC 04‐Box 22150                                                                                     Lajas          PR   00667
         1858504 Horton Merenguelli, Wencesla     3073 Cofresi Punto Oro                                                                              Ponce          PR   00728
         1573169 Hoyos Escalera, Arlene           528 Mansiones de Coamo                                                                              Coama          PR   00769

          336659 HUERTAS COLON, MIRIAM            URB. SANTA MARIA                               CALLE 2 F‐13 SANTA BARBARA                           TOA BAJA       PR   00949
          225332 HUERTAS MOJICA, SAMUEL           RR 7 BOX 16667                                                                                      TOA ALTA       PR   00953
         1678592 Huertas Reyes, Auria             La Campina I Box 74                            Calle Roble                                          Las Piedras    PR   00771‐7322
          225407 HUERTAS RIOS, LINDA I            CALLE 21 V‐1125                                ALTURAS DE RIO GRANDE                                RIO GRANDE     PR   00745
          225428 HUERTAS RIVERA, MYRNA N          URB COVANDONGA                                 1D18 CALLE 11                                        TOA BAJA       PR   00949‐5353
         2054256 Humano Nieves, Aixa Ivette       HC‐05 Box 31511                                                                                     Hatillo        PR   00659
         2057987 Iamiceli Campos, Elizabeth       HC 63 Box 3769                                                                                      Patillas       PR   00723
         1509609 Ibarrondo Malave, Maribel        629 Urb. Paseos de Camuy                                                                            Camuy          PR   00627
         2017031 Iglesias Montanez, Evelyn        T‐16 Santa Margarita                           Santa Elvira                                         Caguas         PR   00725
          226457 Iglesias Santana, Nereida        P.O. Box 1705                                                                                       Yabucoa        PR   00767
         1969110 Ilarraza Molina, Jose A.         Calle 27# BB‐10 Urb. Rio                                                                            Rio Grande     PR   00745
         1598499 Infante Rios, Evelyn             8250 E HAVRAD AVE APT 2285                                                                          DENVER         CO   80231‐2202
         2219276 Informacion PDC Centro           P O Box 7125                                                                                        Ponce          PR   00732‐7125
          227714 INOSTROZA ANDINO, MARISOL        HC 3 BOX 9905                                                                                       YABUCOA        PR   00767‐9702
         2039511 IRAIDA RIVERA, RUTH              1802 PORTALES DEL MONTE                                                                             COTO LAUREL    PR   00780
         1950047 Irene Lopez, Carmen Teresa       55‐A 9 Barrio Rio Lajas                                                                             Dorado         PR   00646
         1950047 Irene Lopez, Carmen Teresa       P.O. Box 239                                                                                        Toa Alta       PR   00954
         1943708 Irigoyen Rosado, Jorge Alfredo   4061 Calle Vistas Del Horizonte                                                                     Isabela        PR   00662
         2133799 Irigoyen Rosado, Jose A.         4061 Calle Vistas del Horizonte                                                                     Isabela        PR   00662
         1906927 Iris Lugo, Ada                   523 Calle F. Martinez De Matos                 Urb. Villa Sultanta                                  Mayaguez       PR   00680
         1889093 Iris Lugo, Ada                   523. Calle F. Urb. Martinez de Matos                                                                Mayaguez       PR   00680
         1946331 IRIS MARTINEZ, ANA               HC3 BOX 26851                                                                                       LAJAS          PR   00667
         2087151 Irizarri Irizarri, Silvia M.     PO Box 560062                                                                                       Guayanilla     PR   00656
         1978327 Irizarry Aguayo, Norma           Calle Juan Cabrel Llul 1582 tuque                                                                   Ponce          PR   00728
         2011055 Irizarry Albino, Jose Luis       HC‐01 Box 6654                                                                                      Guayanilla     PR   00656‐9717
         1860238 Irizarry Albino, Maria Luisa     HC‐01 Box 6654                                 Bo: Macana Parcelas                                  Guayanilla     PR   00656‐9717
         1860238 Irizarry Albino, Maria Luisa     Carr. 132 Km. 4.2 Bo: Macana                                                                        Guayanilla     PR   00656‐9717
          925766 IRIZARRY ALBINO, MILAGROS        BO: MACANA SECTOR LOS LUGAROS                                                                       GUAYANILLA     PR   00656
          925766 IRIZARRY ALBINO, MILAGROS        HC 1 BOX 5627                                                                                       GUAYANILLA     PR   00656


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        2108450 Irizarry Aponte, Ana R              1242 Manuel A. Barreto UIrb. San Jose                                                            Mayaguez        PR    00682
        1956218 Irizarry Aponte, Ana R.             1242 Manuel A. Barreto                                                                           Mayaguez        PR    00682
        2079528 IRIZARRY APONTE, SONIA              1236 MANUEL A. BARRETO                                                                           MAYAGUEZ        PR    00682
        1759792 Irizarry Aquino , Joel E            C. Venezuela I. 25 Vista del Morro                                                               Catano          PR    00962
        1718289 Irizarry Aquino, Joel E.            Calle Venezuela i25                           Vista del Morro                                    Catano          PR    00962
        1761124 Irizarry Aquino, Leslie             Portal de Sol 115 Amanecer                                                                       San Lorenzo     PR    00754
                                                    Calle Venezuela I‐25 Urbanización Vista del
         1603481 Irizarry Aquino, Liza J            Morro                                                                                            Catano          PR   00962
         1891451 Irizarry Blasini, Rafael Antonio   P.O. Box 561199                                                                                  Guayanilla      PR   00656‐3199
         1852722 Irizarry Blasini, Rafael Antonio   P.O.Box 561199                                                                                   Guayanilla      PR   00656‐3199
          755253 IRIZARRY CACERES, SONIA N          EXT MONTE SOL                                 3025 CALLE YAUREL                                  CABO ROJO       PR   00623
         2119052 Irizarry Cruz, Maria E             PO Box 1017                                                                                      Castaner        PR   00631
         2098524 Irizarry Dominicci , Aida          P.O. Box 560411                                                                                  Guayanilla      PR   00656‐0411
         1999709 Irizarry Dominicci, Aida           P.O. Box 560411                                                                                  Guayanilla      PR   00656‐0411
         2045560 Irizarry Figueroa, Velma A.        1 G‐11 Calle 6                                Urb. La Providencia                                Toa Alta        PR   00956
         1899924 IRIZARRY IRIZARRY, JOSE R          BOX 198                                                                                          LAS MARIAS      PR   00670
         1928351 Irizarry Lebron, Brunilda          Urb. La Fabrica A‐11                                                                             Aguirre         PR   00704
         1976230 IRIZARRY LOPEZ, CARMEN             HC 61 BOX 5158                                                                                   AGUADA          PR   00602
         1134414 IRIZARRY MATOS, RAFAEL             BOX 505                                                                                          VILLALBA        PR   00766
         2157377 Irizarry Melendez, Luis J          Urb Buena Vista Calle Calma 1273                                                                 Ponce           PR   00717‐2606
         1900503 Irizarry Mori, Ana N               HC 3 Box 14801                                                                                   Yauco           PR   00698
         2031583 Irizarry Munoz, Damari             P.O. Box 560398                                                                                  Guayanilla      PR   00656
          230098 Irizarry Nieves, Elliott           P.O. Box 560205                                                                                  Guayanilla      PR   00656
         1980963 Irizarry Olivero, Miriam           Apartado 602                                                                                     Naranjito       PR   00719
         1980963 Irizarry Olivero, Miriam           PO Box 602                                                                                       Naranjito       PR   00719
         1740321 Irizarry Ortiz, Judith             Urb. Miraflores                               Calle 32 26 ‐ 6                                    Bayamon         PR   00957
         2086506 Irizarry Rivera, Vilma Y.          D‐30 Crisalida Torremolinos                                                                      Guaynabo        PR   00969
         2155857 Irizarry Rodriguez, Carlos Juan    PO Box 561775                                                                                    Guayanilla      PR   00656‐4215

         1950144 IRIZARRY ROSADO, ANA ELISA         283 MONSENOR BERRIOS LA INMACULADA                                                               VEGA ALTA       PR   00692
         1776728 IRIZARRY SANTIAGO, ETTIENE         URB SANTA MARIA                               E11 HACIENDA ANITA                                 GUAYANILLA      PR   00656‐1522

          230628 Irizarry Sierra, Hiram             Calle Orquidea 162                            Bo. Maginas                                        Sabana Grande   PR   00637
         1589053 IRIZARRY SINIGAGLIA, MIGDALIA      CALLE SANTONI G‐8                             URB. SAN AUGUSTO                                   GUAYANILLA      PR   00656
         1616707 Irizarry Sinigaglia, Migdalia      Calle Santoni G‐8                             Urb. San Augusto                                   Guayanilla      PR   00656
         1970203 Irizarry Sosa, Noemi               P.O. Box 921                                                                                     Rincon          PR   00677
         1816574 Irizarry Torres, Maria Luisa       2171 Calle Trigo Estancias del Carmen                                                            Ponce           PR   00716
         1993477 Irizarry‐Mercado, Luz Eneida       114 Miguel Rivera Texidor                     Est. Del Golf Club                                 Ponce           PR   00730
                                                                                                                                                     SABANA
         1929527 Irizay Casiano, Edgar              Caneteu #121 K.M. 9.1                                                                            GRANDE          PR   00637
                                                                                                                                                     SABANA
         1929527 Irizay Casiano, Edgar              HC‐09 Box 5190                                                                                   GRANDE          PR   00637
         2185399 Irrizary Milan, Betsy              PO Box 361838                                                                                    San Juan        PR   00936
         1583368 Isaac Cruz, Suheil                 Villas de Loiza AA 29 C/46 A                                                                     Canovanas       PR   00729
         2021531 Isabel Tirado, Ana                 PM6 047 PO Box 43003                                                                             Rio Grande      PR   00745
         2111618 Ithier Ramirez, Jose L             HC 04 Box 45161                                                                                  Mayaguez        PR   00680‐9714


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        1962999 Ithier Ramirez, Jose L             HC 04 Box 45161                                                                                    Mayaguez       PR    00680‐9714
        2032346 ITHIER RAMIREZ, JOSE L.            HC 04 BOX 45161                                                                                    MAYAGUEZ       PR    00680‐9714
        1732829 Ivelisse, Ruiz                     St. Lopez Sicardo # 1168                       Urb. San Agustin                                    San Juan       PR    00923
         764041 IZQUIERDO RODRIGUEZ, WALTER        HC 4 BOX 45562                                                                                     MAYAGUEZ       PR    00680 9728
        1767503 Jacobs López, York E.              Estancias de las Brumas                        Camino Las Brumas S‐11                              Cayey          PR    00736‐4448
        1881601 Jaime Ortiz, Lillyberth            PMB 202 HC‐01 Box 29030                                                                            Caguas         PR    00725
        2121099 Jaime Ortiz, Lillyberth            PMB 202 HC‐01 Box 29030                                                                            Caguas         PR    00725
        1943340 JAIME RIVERA, ORESTE               HC 2 BOX 14058                                                                                     CAROLINA       PR    00987‐9703
         629897 JAMES SOTO, CECILIA                A 2 CALLE 7                                    BAYAMON GARDENS                                     BAYAMON        PR    00957
         629897 JAMES SOTO, CECILIA                437 AVENIDA PNCE DE LEON                                                                           SAN JUAN       PR    00917‐3711
        1752780 Jannet Morales Cortés, Lourdes     HC03 Box 27453                                                                                     Lajas          PR    00667
        1750788 JAUREGUI CASTRO, NORA              Y1‐15 CALLE VERSALLES                                                                              SAN JUAN       PR    00926
        2070939 JESUS REYES, NOEMI                 PO BOX 7543                                                                                        CAGUAS         PR    00726‐7543
        2088368 Jimenez Alancastro, Wilstrudis     HC‐1 Box 4049                                                                                      ADJUNTAS       PR    00601
        1674980 Jimenez Alvarez, Luis A.           HC‐06 Box 61341                                                                                    Camuy          PR    00627
        2046779 Jimenez Alvarez, Luz E             Urb La Planicie                                Calle 5 f‐19                                        Cayey          PR    00736
        2232257 Jimenez Cabrera, Luis A.           74 Calle Jovita Rodriguez                      Bo. Franquez Sector Pabon                           Morovis        PR    00687

         1998544 JIMENEZ COLON, PABLO              P.O BOX 306                                                                                        BARRANQUITAS PR     00794
         1998544 JIMENEZ COLON, PABLO              PO Box 306                                                                                         Barranquitas PR     00794
         1767979 JIMENEZ CUEVAS, JUANITA           HC 01 BOX 3519                                                                                     CAMUY        PR     00627
         1767979 JIMENEZ CUEVAS, JUANITA           HC 01 BOX 4627                                                                                     CAMUY        PR     00627
                                                   Bo. Sumidero Call. 173 Km 6.5 Int Aguas
         1969161 Jimenez de Leon, Edith L.         Bucnes                                                                                             Aguas Buenas   PR   00703
         1969161 Jimenez de Leon, Edith L.         P.O. Box 1376                                                                                      Aguas Buenas   PR   00703
         2183217 Jimenez De Leon, Virginio         HC03 Box 6102                                                                                      Humacao        PR   00791
         1094688 JIMENEZ ECHEVARRIA, SONIA N       SANTA ELENA 3                                  67 CALLE SANTA CLARA                                GUAYANILLA     PR   00656
         1094688 JIMENEZ ECHEVARRIA, SONIA N       SANTA ELENA 3                                  67 CALLE SANTA CLARA                                GUAYANILLA     PR   00656
          797386 JIMENEZ ECHEVARRIA, SONIA N       SANTA ELENA III                                67 SANTA CLARA                                      GUAYANILLA     PR   00656
          797386 JIMENEZ ECHEVARRIA, SONIA N       SANTA ELENA III                                67 SANTA CLARA                                      GUAYANILLA     PR   00656
         1619934 Jimenez Echevarria, Sonia N       3ra Ext. Sta Elena Sta Clara 67                                                                    Guayanilla     PR   00656
         1818173 JIMENEZ ECHEVARRIA, SONIA N       3rd Ext. Sta. Elena Sta. Clara 67                                                                  Guayanilla     PR   00656
         1887171 JIMENEZ ECHEVARRIA, SONIA N.      67 CALLE SANTA CLARA                           3ra EXT. SANTA ELENA 3                              GUAYANILLA     PR   00656
         1824179 Jimenez Echevarria, Sonia N.      3ra Extension Santa Elena                      67 Calle Santa Clara                                Guayanilla     PR   00656
         2097544 Jimenez Flores, Jillia V          #3 Calle Turquesa                              Urb Villa Blanca                                    Caguas         PR   00725
         1970069 Jimenez Garcia, Ruth A            El Vivero                                      Calle 4 B‐19                                        Gurabo         PR   00778
         2040752 Jimenez Garcia, Ruth A            El Vivero Calle 4 B‐19                                                                             Gurebo         PR   00778
         1839327 Jimenez Garcia, Ruth A.           El Vivero                                      Calle 4 B‐19                                        Gurabo         PR   00778
         1965489 Jimenez Garcia, Ruth A.           El Vivero Calle 4 B‐19                                                                             Gurabo         PR   00778
         1898945 Jimenez Gonzalez, Carmen Leonor   PO Box 8553                                                                                        Ponce          PR   00732‐8553
         1619003 Jimenez Gonzalez, Rey Daniel      40448 Carr 481                                                                                     Quebradillas   PR   00678
         1744536 Jimenez Gonzalez, Vanessa         HC‐01 Box 3519                                                                                     Camuy          PR   00627
         1939448 Jimenez Hernandez, Betsaida I     A‐26 Eneas Urb Venus Gardens                                                                       San Juan       PR   00926
         1704300 JIMENEZ IRIZARRY, MELANIE         HC‐02 BOX 12911                                ROCHA                                               MOCA           PR   00676
         1861356 Jimenez Lopez, Wanda I            Urb Glenview Gardens                           A 14 Calle W 24 B                                   Ponce          PR   00731
         1808192 Jimenez Lopez, Wanda I.           A‐14 Calle Escocia                             Urb. Glenview Gardens                               Ponce          PR   00730‐1617


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        1871967 Jimenez Lopez, Wanda I.           A‐14 Calle Escocia                              Urb. Glenview Gardens                                        Ponce           PR    00730‐1617
         239888 Jimenez Lopez, Wanda I.           A14 Calle W24B                                  Urb. Glenview Gdns                                           Ponce           PR    00731

          239888 Jimenez Lopez, Wanda I.          A‐14 Calle Escocia Urb. Glenview Gardens                                                                     Ponce           PR   00730‐1617
         2119232 Jimenez Maldonado, Carmen R.     Las Delicias                                    1612 Stgo. Appenheimer                                       Ponce           PR   00728
          240072 Jimenez Mendez, Juan C.          HC2 Box 13331                                                                                                Moca            PR   00676

         1917181 Jimenez Mendez, Zenaida M.       Urb. Colinas Villa Rosa B 32                                                                                 Sabana Grande PR     00637

         1954700 Jimenez Mendez, Zenaida M.       Urb. Colinas Villa Rosa B‐32                                                                                 Sabana Grande PR     00637

         1664801 Jimenez Mendez, Zenaida M.       Urb. Colinas Villa Rosa B‐32                                                                                 Sabana Grande   PR   00637
         1630134 Jimenez Monroig, Carmen M        Apartado 383                                                                                                 Adjuntas        PR   00601
         1932486 Jimenez Perez, Sol M.            Urb. Est. de la Ceiba 232 Calle Guayacan                                                                     Hatillo         PR   00659
         2083594 Jimenez Ramos, Jannice E.        X‐464 Tegucigalpa                                                                                            Carolina        PR   00987
         1940107 Jimenez Ramos, Jannice E.        X‐464 Tegucigalpa                                                                                            Carolina        PR   00987
         2161263 Jimenez Ramos, Jose              Com. Miramar Calle Camelia                      Buzon #52‐743                                                Guayama         PR   00784
         1915794 JIMENEZ RIOS, CORALI             URB. VEGA SERENA                                C/MARGARITA #438                                             VEGA BAJA       PR   00693
         1635626 JIMENEZ RIVERA, JESSICA L        LAS MERCEDES 20                                                                                              AIBONITO        PR   00705
         1669797 Jiménez Sánchez, Olga M.         Hc 02 box23203                                                                                               San Sebastián   PR   00685
         2076577 Jimenez Santiago, Lydia E.       Ext. Villa Rita                                 Calle 27 EE 9                                                San Sebastian   PR   00685
         1920471 Jimenez Santiago, Lydia E.       Ext. Villa Ritu Calla 27 EE9                                                                                 San Sebastian   PR   00685
         2096483 Jimenez Santiago, Lydia E.       Ext Villa Rita                                  Calle 27 EE9                                                 San Sebastian   PR   00685
         1748617 Jimenez Vazquez, Dinorah         Urb.alta vista calle 11 i 18                                                                                 Ponce           PR   00716
                                                                                                  Teniente sesar Gonzalez calle
         1748617 Jimenez Vazquez, Dinorah         Urb. Las monijitas avenida                      Juan calaf                                                   San Juan        PR   00917
         2055288 Jimenez, Felicita Soto           Apartado 1481 Bo. Calabazas                                                                                  Yabucoa         PR   00767
         1934510 JIMENEZ, NILDA                   URB. PARQUE LAS AMERICAS                        B‐4 CALLE B                                                  GURABO          PR   00778
         2042413 Jimenz Buroos, Maria De L.       Calle Margarita F‐4 urb. bella Vista                                                                         Aibonito        PR   00705
         2071629 JIRAU JIRAU, ALBA IRIS           PO BOX 134                                                                                                   LARES           PR   00669
          567738 JOHANNY, VARGAS LEYRO            268 CALLE B SABANA ENEAS                                                                                     SAN GERMAN      PR   00683
                                                                                                  Bo. Quebrada Ceiba Sector LA
         1946109 Jordan Torres, Norma I.          ELA de P.R. / Departmento de Salud              Gelpa Carr                      391 Km 2.6 Int               Penuelas        PR   00624
         1946109 Jordan Torres, Norma I.          HC‐01 Box 8393                                                                                               Penuelas        PR   00624
         1960044 JORGE HIRAM, VALENTIN SOTO       HC 3 BOX 8384                                                                                                Moca            PR   00676
         1960044 JORGE HIRAM, VALENTIN SOTO       HC 3 BOX 8384                                                                                                MOCA            PR   00676

          244451 JORGE MORALES, CLARIBEL          PO BOX 712                                      BO. GUANAJIBO                                                HORMIGUEROS PR       00660

         1896519 JORGE MORALES, CLARIBEL          PO BOX 712                                                                                                   HORMIGUEROS PR       00660
         2032237 Jorge Ortiz , Carmen A.          4966 Calle Peltada                              Urb. Jardines del Caribe                                     Ponce       PR       00728‐3523
                                                  5140 CALLE RENIFORME URB. JARDINES DEL
         1906497 JORGE ORTIZ , ROSA E             CARIBE                                                                                                       PONCE           PR   00728‐3521
         1866181 Jorge Ortiz, Carmen A.           4966 Calle Peltada                              Urb Jardines del Caribe                                      Ponce           PR   00728‐3523
         1792069 JORGE ORTIZ, CARMEN A.           4966 CALLE PELTADA                              URB. JARDINES DEL CARIBE                                     PONCE           PR   00728‐3523
         1860437 Jorge Ortiz, Carmen A.           4966 Calle Peltada                              Urb. Jardines Del Caribe                                     Ponce           PR   00728‐3523


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         2049791 Jorge Ortiz, Carmen A.            4966 Calle Peltada Urb. Jardines Del Caribe                                                         Ponce           PR   00728‐3523
                                                   Urb estancias del gulf Club Calle Luis A.,
         1691508 Jorge Ortiz, Justo E              Morales 622                                                                                         Ponce           PR   00730
         2033702 Jorge Ortiz, Justo E.             Urb. Estancia del Golf Club                   Calle Lewis A. Morales #622                           Ponce           PR   00730‐0536
         1995920 Jorge Ortiz, Justo E.             Urb. Estancia Del Golf Club                   Calle Luis A. Morales #622                            Ponce           PR   00730‐0536
         1892357 Jorge Ortiz, Rosa E               5140 Calle Reinforme                          Urb. Jardines del Caribe                              Ponce           PR   00728‐3521
                                                   5140 Calle Reniforma Urb. Jardines del
         1926386 Jorge Ortiz, Rosa E               Caribe                                                                                              Ponce           PR   00728‐3523
                                                   5140 CALLE RENIFORME URB JARDINES DEL
         1856461 JORGE ORTIZ, ROSA E               CARIBE                                                                                              PONCE           PR   00728‐3523
          244517 JORGE PAGAN, GLENDA I             COND LAGOS DEL NORTE                          APTO. 1603                                            LEVITTOWN       PR   00950
          244517 JORGE PAGAN, GLENDA I             COND LAGOS DEL NORTE                          APTO. 1603                                            LEVITTOWN       PR   00950
         1210494 JORGE PAGAN, GLENDA I             COND LAGOS DEL NORTE                          APTO. 1603                                            LEVITTOWN       PR   00950
         1210494 JORGE PAGAN, GLENDA I             COND LAGOS DEL NORTE                          APTO. 1603                                            LEVITTOWN       PR   00950
         1695101 JORGE RIVERA , RICHARD N.         1215 CALLE                                    BAMBU LOS CAOBOS                                      PONCE           PR   00716‐2624
         2064975 JORGE RIVERA, ADA                 P.O. BOX 241                                                                                        MERCEDITA       PR   00715
         2064975 JORGE RIVERA, ADA                 817 ANON URB. LOS CAOBOS                                                                            PONCE           PR   00716‐2624
         2043433 Joubert Martinez, Myrta           PO Box 265                                                                                          Arroyo          PR   00714
         1474764 Joubert Vazquez, Ana del Carmen   Bo Mosquito C/A Bzn 1108                                                                            Aguirre         PR   00704

         1883756 JOURNET MALAVE, INES L            111 SIERRA MORENA URB. MIRADERO HILLS                                                               MAYAGUEZ        PR   00682
         1752799 Juana del . Rivera Santiago       317 Calle Calandria Urb. Los Tulipanes                                                              Morovis         PR   00687
         2085760 Jubal, Lebron                     Los Prados Armonia Edif. 37 Apt 202      Grand Boulevar 400                                         Caguas          PR   00727
                                                   Los prados Armonia Edf. 37 Apt 202 Grand
         2093522 JUBAL, LEBRON                     Boulevar 400                                                                                        Caguas          PR   00727
          437987 JULIO RIVERA, RIGOBERTO           Y 4 CALLE SAN IGNACIO                                                                               FAJARDO         PR   00738
         1975783 Juma Pineda, Mahmud               c/Canario H‐275                          Loiza Valley                                               Canovanas       PR   00729
          256609 JUSINO CASTRO, LUIS               URB. PORTA COELI                         CALLE 4 D‐18                                               SAN GERMAN      PR   00683
                                                                                                                                                       SABANA
          256627 JUSINO FIGUEROA, MIGUEL           URB. VILLA ALBA                               CALLE 10 H‐6                                          GRANDE          PR   00637

         2043846 Jusino Figueroa, Miguel           Urb. Villa Alba                               Calle 10 H‐6                                          Sabana Grande PR     00637

         2011330 Jusino Figueroa, Miguel           Urb. Villa Alba                               Calle 10 H‐6                                          Sabana Grande   PR   00637
         1736314 Jusino Hernandez, Jorge L         Urb el bosque 46 calle El Yunque                                                                    Coamo           PR   00769‐4906
         1741918 JUSINO LUGO, PEDRO A              HC‐02 BOX 14232                                                                                     LAJAS           PR   00667
         1519433 Jusino Mercado, Angel             20 B Calle Algarrabo Susua Baja                                                                     Sabana Gde      PR   00637
          256714 Jusino Ramirez, Lillian           HC 4 BOX 25796                                                                                      LAJAS           PR   00667

         2100303 Jusino Rivera, Mari Olga          Urb. Estancies del Rio Girasol                                                                      Sabona Grande PR     00673‐7164
         2100303 Jusino Rivera, Mari Olga          PO Box 554                                                                                          San German    PR     00683

         1767742 Jusino Silva, Edilyn              HC 10 Box 8083                                                                                      Sabana Grande PR     00637
         1587888 JUSINO TORRES, NEKSY              HC 8 BOX 881                                                                                        PONCE         PR     00731‐9474
         1712458 Justiniano Valentin, Heriberto    HC‐01 Box 3814                                                                                      Las Marias    PR     00670


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        1758201 Justiniano Valentín, Heriberto    HC‐01 Box 3814                                                                                             Las Marias   PR    00670
        1986128 KUILAN PEREZ, MINERVA             URB JARDINES DE BARCELONA                 CALLE #6 B‐11                                                    JUNCOS       PR    00777
        1878081 Kuilan Perez, Minerva             Urb. Jardines de Barcelona                Calle #6 B‐11                                                    Juncos       PR    00777
        1666597 Kuilan Perez, Minerva             Urb. Jardines De Barcelona                Calle #6 B‐11                                                    Juncos       PR    00777
         259413 KUILAN PEREZ, NILSA               URB. JARDINES DE CEIBA NORTE              CALLE 3 CASA C‐2                                                 JUNCOS       PR    00777
         259413 KUILAN PEREZ, NILSA               PO BOX 1191                                                                                                JUNCOS       PR    00777‐1191
        1906708 La Tome Santiago, Daisy           Ext. Las Marias B#17                                                                                       Juana Diaz   PR    00795
        1859587 LA TOME SANTIAGO, DAISY           EXT. LAS MARIAS B#17                                                                                       JUANA DIAZ   PR    00795
        1894680 LA TORRE RAMIREZ , MIGDALIA       URB LAS FLORES                            CALLE 3‐C‐7                                                      JUANA DIAZ   PR    00795
        1900383 LA TORRE RAMIREZ, MIGDALIA        CALLE 3 C‐7 URB. LAS FLORES                                                                                JUANA DIAZ   PR    00795
        1660808 La Torre Ramirez, Migdalia        Urb Las Flores Calle 3 C‐7                                                                                 Juana Diaz   PR    00795
        1920014 La Torre Ramirez, Paula           Bo Guayabal                               Las Margaritas 2                      HC 1          Buzon 4329   Juana Diaz   PR    00795
        1906748 La Torre Ramirez, Paula           Bo Guayabal Las Magaritas #2              HC‐01‐ Buzon 4329                                                Juana Diaz   PR    00795
        1914375 La Torre Ramirez, Paula           Bo. Guayabal, Las Margaritas #2           HC‐01‐Buzon 4329                                                 Juana Diaz   PR    00795
                                                  Bo Guayabal Las Margaritas #2 HC‐01 Buzon
         1897049 La Torre Ramirez, Paula          4329                                                                                                       Juana Diaz   PR   00795
                                                  BO. GUAYABAL, LAS MARGARITAS #2 HC‐01‐
         1894904 LA TORRE RAMIREZ, PAULA          BUZON 4329                                                                                                 JUANA DIAZ   PR   00795
         1724583 La Torre Santiago , Daily        Qtas de Atlamira                          1138 Cerro Las Pinas                                             Juana Diaz   PR   00795
         1862157 La Torre Santiago, Daily         Qtas De Altamira                          1138 Cerro Las Pinas                                             Juana Diaz   PR   00795
         1939880 La Torre Santiago, Daily         Qtas de Altamira                          1138 Cerro Las Piñas                                             Juana Diaz   PR   00795
         1939738 La Torre Santiago, Daily         Qtas de Altamira                          1138 Cerro Las Piñas                                             Juana Diaz   PR   00795
         1920763 La Torre Santiago, Daily         Qtas de Altamira                          1138 Cerro Las Piñas                                             Juana Diaz   PR   00795

         1939961 LA TORRE SANTIAGO, DAILY         1138 Cerro Las Pinas, Quintas de Attamiral                                                                 Juana Diaz   PR   00795
         1911274 La Torre Santiago, Daily         Qtas de Attamira 1138 Cono Las Pinas                                                                       Juana Diaz   PR   00795
         1954143 La Torre Santiago, Daisy         Ext. Las Marias B#17                                                                                       Juana        PR   00795
         1917197 La Torre Santiago, Daisy         Ext Las Marias B#17                                                                                        Juana Diaz   PR   00795
         1934492 La Torre Santiago, Daisy         Ext. Las Marias B #17                                                                                      Juana Diaz   PR   00795
         1952788 LA TORRE SANTIAGO, DAISY         EXT. LAS MARIAS B #17                                                                                      JUANA DIAZ   PR   00795
         2223800 La Torres Ramirez, Migdalia      Urb. Las Flores                              Calle 3‐C‐7                                                   Juana Diaz   PR   00795
         1843919 LABOY BERRIOS, ANA L.            URB SANTA ELENA                              85 CALLE 9                                                    YABUCOA      PR   00767
         2084602 Laboy Colon, Luis Doel           Calle Luna H‐12                              Urb Alturas del Alba                                          Villabla     PR   00766
         2084602 Laboy Colon, Luis Doel           PO Box 394                                                                                                 Villalaba    PR   00766
                                                  Estado Libre Asociado‐Depto de Salud         Calle Luna H‐12 Urb. Alturas del
          260240 LABOY COLON, LUIS DOEL           (ASSMCA)                                     Alba                                                          Villalba     PR   00766

         1997372 LABOY COLON, LUIS DOEL           CALLE LUNA H‐12 URB. ALTURAS DEL ALBA                                                                      VILLALBA     PR   00766
          260240 LABOY COLON, LUIS DOEL           P.O. BOX 394                                                                                               VILLALBA     PR   00766
         1997372 LABOY COLON, LUIS DOEL           P.O. BOX 394                                                                                               VILLALBA     PR   00766
         1018406 LABOY GALARZA, JOSE              URB ANAIDA                                   E12 CALLE NAVARRA                                             PONCE        PR   00716‐2558
          687010 LABOY GALARZA, JOSE R            REPTO ANAIDA                                 E 12 CALLE MARGINAL                                           PONCE        PR   00716‐2558
         1772501 LABOY GALARZA, JOSE R.           REPTO ANAIDA                                 E 12 CALLE MARGINAL                                           PONCE        PR   00716‐2558
         1847588 Laboy Galarza, Jose Ramon        E‐12 Calle Navorra                           Urb Anaida                                                    Ponce        PR   00716‐2558
         1907766 Laboy Galarza, Jose Ramon        E‐12 Calle Naucrra Urb Anceida                                                                             Ponce        PR   00716‐2558
         1726681 Laboy Galarza, Jose Ramon        E‐12 Calle Navorra, Urb. Anaida                                                                            Ponce        PR   00716‐2558


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        1902818 Laboy Galarza, Jose Ramon         E‐12, Calle Navarra, Urb. Anaida                                                               Ponce          PR    00716‐2558
        1817041 Laboy Galarza, Jose Ramon         E‐12, Calle Navarra, Urb. Anaida                                                               Ponce          PR    00716‐2558
        1690638 Laboy Galarza, Jose Ramon         E‐12, Calle Navorra, Urb. Anaida                                                               Ponce          PR    00716‐2558
        1733354 LABOY LUGO, LUCILA                1661 GUAYACAN                              URB. LOS CAOBOS                                     PONCE          PR    00716
         713929 LABOY MALDONADO, MARIA T          PO BOX 564                                                                                     VILLALBA       PR    00766
        2124376 Laboy Maldonado, Maria T.         PO Box 564                                                                                     Villalba       PR    00766
        2125147 Laboy Maldonado, Maria T.         PO Box 564                                                                                     Villalba       PR    00766
        2125151 LaBoy Maldonado, Maria T.         PO Box 564                                                                                     Villalba       PR    00766
        1570979 Laboy Nazario, Myrna              PO Box 8556                                                                                    Ponce          PR    00732
         915525 LABOY OCINALDI, LIZANDRA          HC 5 BOX 13059                                                                                 JUANA DIAZ     PR    00795
        1672784 Laboy Ramos, Einesto R.           Urb. Villa del Carmen                      Calle Sacra 1114                                    Ponce          PR    00716‐2133
        1698091 LABOY RIVERA, ALFONSO             670 COND CARIBBEAN TOWERS                  APT 815 AVE PONCE DE LEON                           SAN JUAN       PR    00907
        2221668 Laboy Rivera, Isaac               Urb. La Riviera A‐5                                                                            Arroyo         PR    00714
        2143867 Laboy Rivera, Nereyda             Calle 2 A‐12                               PO Box 256                                          Juana Diaz     PR    00795
        1571872 Laboy Rivera, Nereyda             P.O Box 256                                                                                    Juana Diaz     PR    00795
        1971735 Laboy Rivera, Nereyda             P.O. Box 256                                                                                   Juana Diaz     PR    00795
        1920633 Laboy Rivera, Nereyda             P.O. Box 256                                                                                   Juana Diaz     PR    00795
        1890994 LABOY RIVERA, NEREYDA             PO Box 256                                                                                     JUANA DIAZ     PR    00795
        2036241 Laboy Sanchez, Paulina            PO Box 589                                                                                     Arroyo         PR    00714
        1905422 LABOY TORRES, MARIA C             PO BOX 776                                                                                     VILLALBA       PR    00766
        1964996 Laboy Torres, Maria C.            P.O.Box 776                                                                                    Villalba       PR    00766
        1854352 Laboy Torres, Maria C.            PO Box 776                                                                                     Villalba       PR    00766
        2012282 Laboy Torres, Maria C.            PO Box 776                                                                                     Villalba       PR    00766
        1955998 LABOY VARGAS, WALTER              643 TAINO VILLA TABAIBA                                                                        PONCE          PR    00716
        1951996 LABOY VARGAS, WALTER              643 TAINO, VILLA TABAIBA                                                                       PONCE          PR    00716‐1317
        2002025 Laboy Velazquez, Ivette           Urb. Tomas Carrion Maduro C‐5 #83                                                              Juana Diaz     PR    00795
        1900453 LABOY VELAZQUEZ, JANNETTE         URB TOMAS C MADURO                         83 CALLE 5                                          JUANA DIAZ     PR    00795
        2080909 Laboy Velazquez, Jannette         Urb. Tomas C. Maduro                       C‐5 #83                                             Juana Diaz     PR    00795
        1818900 LABOY, WALTER                     643 TAINO VILLA TABAIABA                                                                       PONCE          PR    00716‐1317
        1549081 LAFONTAINE VELEZ, EVELYN          URB. TANAMA                                167 CALLE CUBA                                      ARECIBO        PR    00612
        1533055 Lafontaine Velez, Sonia           Urb Tanama                                 167 Calle Cuba                                      Arecibo        PR    00612
        1546134 LAFONTAINE VELEZ, SONIA           URB TANAMA 167 CALLE CUBA                                                                      ARECIBO        PR    00612
        1620959 LAGARES ROSSY, VIVIANA ENID       CALLE PARQUE DEL CONDADO 5M9               VILLA FONTANA PARK                                  CAROLINA       PR    00983
        1895918 LAGO SABATER, MARIA I             PRADERAS DEL SUR                           CALLE CEDRO 704                                     SANTA ISABEL   PR    00757
         261050 Laguer Concepcion, Evelyn         122 Calle Varsovia                                                                             Isabela        PR    00662
        2063514 LAGUNA GARCIA, IRMA IRIS          P.O. BOX 1346                                                                                  GUAYNABO       PR    00970‐1346
        1782066 Laguna‐Garcia, Paulino            1437 San Alfonso Ave.                                                                          San Juan       PR    00921
        1776228 Lai Zayas, Yanira E               B‐10 3 Jardines de San Lorenzo                                                                 San Lorenzo    PR    00754
        2022504 Lajara Castillo, Ana J.           D‐10 Calle 5 Urb. Salimar                                                                      Salinas        PR    00751
        1817087 Lajara Castillo, Ana Judith       D‐10 Calle 5 Urb. Salimar                                                                      Salinas        PR    00751
        1768586 Lajara Sanabria, Miriam           PB Box 436                                                                                     Utuado         PR    00641
        2157154 Lambert Marcacai, Oscar           HC‐3 Box 5383                                                                                  Adjuntas       PR    00601
         886668 Lamberty Ithier, Brenda J         Urb Estancias Del Rio                      430 Calle Guamani                                   Hormigueros    PR    00660
        1939080 Lamberty Rivera, Gloria M.        HC 01 Box 3084                                                                                 Adjuntas       PR    00601
        2016309 LAMBOY FELICIANO, ERMELINDO       URB. JARDINES DEL CARIBE                   2A44 CALLE 53                                       PONCE          PR    00728
        1985887 Lamboy Frizarry, Eufemia          P.O. Box 1024                                                                                  Castaner       PR    00631


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        1665061 Lamboy Lamboy, Jose W               PO Box 9198                                                                                         San Juan        PR    00908‐0198
        2058930 LAMBOY MERCADO, MORAIMA             APARTADO 127 ‐ AVENIDA COSTO PEREZ                                                                  SAN GERMAN      PR    00683
        2058930 LAMBOY MERCADO, MORAIMA             URB LUCHETTI                                 CALLE CAOBA F‐6                                        YAUCO           PR    00698
        1018413 LAMBOY MONTALVO, JOSE               URB BELLA VISTA                              A19 CALLE NINFA                                        PONCE           PR    00716‐2525
        2018460 LAMBOY MONTALVO, JOSE DIEGO         A‐19 CALLE NINFA. URB. BELLA VISTA                                                                  PONCE           PR    00716‐2525
        1758354 Lamourt Baez, Orlando V.            HC 3 Box 33415                                                                                      San Sebastian   PR    00685
        1770396 Lamourt Rodriguez, Wilmarie         PO BOX 355                                                                                          Florida         PR    00650
        1982471 Lanausse Torres , Ramonita          PO Box 949                                                                                          Salinas         PR    00751
        1982471 Lanausse Torres , Ramonita          178 J. Amadeo                                                                                       Salinas         PR    00751
        1627897 Landrau Correa, Luis R.             Calle 16 v 13 Alturas de Interamericana                                                             Trujillo Alto   PR    00976
        2077769 Landro Gonzalez, Julio E            PO Box 958                                                                                          Salinas         PR    00751
        1902329 Landron Rivera, Diana               N‐16 ‐ 9 Urb. Santa Ana                                                                             Vega Alta       PR    00692
         723130 LANGE VEGA, MILDRED                 URB LA MARGARITA                             C 20 CALLE C                                           SALINAS         PR    00751
        2008174 LANGE VEGA, MILDRED                 URB LA MARGARITA CALLE C #C‐20                                                                      SALINAS         PR    00751
        2181095 Lao Garcia, Maria De Lourdes        HC‐03 Box 5787                                                                                      Humacao         PR    00791
        1732985 LaPorte Colon, Marta I dey          PO Box 651                                                                                          Guayama         PR    00785
        2096675 LARA BURGOS, OLGA IRIS              HC 04 BOX 44957                                                                                     CAGUAS          PR    00725
        1714959 Lara Feliciano, Nancy               Urb. La Providencia                          1H3 Calle 7a                                           Toa Alta        PR    00953
        1939158 LARACUENTE DIAZ, RITA               BORIQUEN 31                                                                                         VILLALBA        PR    00766‐1924
        1932221 Laracuente Gonzalez, Jose Arnoris   Urb. Paseo Costa del Sur                     187 Calle 3                                            Aguirre         PR    00704‐2855
        2015953 Laracuente Medina, Wilfredo         C/San Andres Urb. Sta Teresita 6201                                                                 Ponce           PR    00731
        2098906 Laracuente Rivera, Aida R.          4027 Calle Aurora Apto. 811                  Edife. El Retiro                                       Ponce           PR    00717
        1180271 LARACUENTE RIVERA, CARMEN E         ESTANCIAS DEL MAYORAL                        12016 CGUAJANA                                         VILLALBA        PR    00766‐2430
                                                                                                                                                        SABANA
          262058 LARACUENTE RIVERA, MILAGROS        URB. VILLA ALBA CALLE 10 H6                                                                         GRANDE          PR   00637
                                                                                                                                                        SABANA
         2039773 LARACUENTE RIVERA, MILAGROS        URS. VILLA A18A CALLE 10 A‐6                                                                        GRANDE          PR   00637

         1964388 Laracuerte Rivera , Milagros       Urb. Villa Alda Calle 10 H‐6                                                                        Sabana Grande   PR   00637
          262155 LARRAGOITY MURIENTE, LAURA         C/LISA AM‐19 URB. LEVITTOW 4TA SECC.                                                                TOA BAJA        PR   00949
         2005074 Lars Olmeda, Carmen Maria          1419 C/Guarabaxo Urb Los Caobos                                                                     Ponce           PR   00716
         2081930 Lasalle Concepcion, Rosa M.        P.O. Box 214                                                                                        Quebradillas    PR   00678
         1823739 Lasanta Pintado, Nelly             PO Box 676                                                                                          Bayamon         PR   00960
          262402 LASANTA RIVERA, SHEILA             HC 73 BOX 5621                                                                                      CAYEY           PR   00736
         1726145 LASEN CIRINO, NILDA                HC 1 BOX 2603                                URBANIZACION EL CABO                                   LOIZA           PR   00772‐9707
         1848122 LASPINA RIVERA, ELBA               URB RIO CANAS                                CALLE AMAZONAS 2808                                    PONCE           PR   00728‐1722
         1855139 LASPINA RIVERA, ELBA               URB RIO CANAS                                CALLE AMAZONAS 2808                                    PONCE           PR   00728‐1722
         1950573 Laspina Rivera, Elba               Urb. Rio Canos                               Calle Amazonas 2808                                    Ponce           PR   00728‐1722

                                                                                                                           Calle Amazonas
         1837362 Laspina Rivera, Rivera             Elba Laspina Rivera                          Urb. Rio Canas            2808                         Ponce           PR   00728‐1722
         1837362 Laspina Rivera, Rivera             Urb. Rio Canas                               Calle Amazonas 2808                                    Ponce           PR   00728‐1722
         1984631 Lassalle Bosques, Rosa D.          PO Box 1163                                                                                         Rincon          PR   00677
          262463 LASSALLE MAESTRE, DAGMAR J.        CALLE 29 #893                                URB. MONTE CARLO                                       SAN JUAN        PR   00924
         2116349 Lassalle Mendez, Eduardo           HC‐05 Box 10985                                                                                     Moca            PR   00676
         1327925 Lassalle Mendez, Eduardo           HC‐05 Box 10985                                                                                     Moca            PR   00676


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        1327925 Lassalle Mendez, Eduardo          HC‐05 Box 10985                                                                                        Moca            PR    00676
         769005 LASSALLE VELAZQUEZ, YOLANDA       HC 02 BOX 12451                               BA. CAPA                                                 MOCA            PR    00676
        2109142 LATIMER RIVERA, CLARA             CARRT 848 kM 3 H 6                                                                                     Carolina        PR    00957
        2109142 LATIMER RIVERA, CLARA             CLARA LATIMER RIVERA                          P.O. Box 86 Sait Just                                    St.             PR    00978‐0086
        1959510 Latoni Gonzalez, Marilsa          Urb Reparto Metropolitano                     871 Calle 57 SE                                          San Juan        PR    00921
        1966143 Latoni Gonzalez, Marilsa          Urb. Reparto Metropolitano                    871 57 SE                                                San Juan        PR    00921
         627231 LATORRE CABAN, CARMEN             COND INTERAMERICANA GARDENS                   EDF. A11 CALLE 20             APT 366                    TRUJILLO ALTO   PR    00976
        1596181 Latorre Ortiz, Doris              Calle 18 O‐29                                 Urb. Magnolia Gardens                                    Bayamon         PR    00956
         123701 LAUREANO CINTRON, DANIEL          URB COUNTRY CLUB                              CALLE 232 BLOQUE HH‐9                                    CAROLINA        PR    00982
                                                                                                                              Urb. Tres
          797997 LAUREANO GARCIA, JOSE            Ave. Tnte Cesar Gonzalex                      Calle Calaf                   Monjitas      Hato Rey     San Juan        PR   00919‐0759

          797997 LAUREANO GARCIA, JOSE            AVE. INTE CESAR GONZALEZ, CALLE CALAF,        URB. TRES MONJITAS HATO REY                              San Juan        PR   00919‐0759
                                                  Ave. Tnte Cesar Gonzalez, Calle Calaf, Urb.
          797997 LAUREANO GARCIA, JOSE            Tres M                                                                                                 San Juan        PR   00919‐0759
          797997 LAUREANO GARCIA, JOSE            RR‐5                                          BOX 18693                                                TOA ALTA        PR   00953‐9218
                                                  AVE. TNTE CESAR GONZALEZ, CALLE CALAF,
          797997 LAUREANO GARCIA, JOSE            URB TRES MO                                                                                            SAN JUAN        PR   00919‐0759
         1870145 LAUREANO MARTINEZ, CARMEN I      BRISAS DEL NORTE                              505 CALLE ARGENTINA                                      MOROVIS         PR   00687‐9765
         1819240 Laureano Montalvo, Pedro Juan    P.O. Box ‐ 27                                                                                          Comerio         PR   00782
         2101978 Laureano Sifonte , Juana M.      HC ‐ 03 Box 16209                                                                                      Corozal         PR   00783‐9813
         2111805 Laureano Sifonte, Juana M.       HC 03 Box 16209                                                                                        Corozal         PR   00783‐9813
         1467232 LAUREANO, YASIRA                 PMB 677 PO BOX 1283                                                                                    SAN LORENZO     PR   00754
         1424248 LAYA JIMENEZ, LEOMAX M           URB BARALT CALLE 1 B‐27                                                                                FAJARDO         PR   00738
         1739316 Lazaney Medina, Lourdes M.       Urb Marbello C/Tarragona 237                                                                           Aguadilla       PR   00603
         1712466 LAZU‐COLON, ALBERTO              URB TOA ALTA HEIGHTS AN29 CALLE 33                                                                     TOA ALTA        PR   00953
         2120003 LEBRA CABA, WILSON               HC 01 Box 8199                                                                                         Lajas           PR   00667
         1740906 Lebron Allende , Rey Francisco   Urb. Country Club/ St. Isaura Arnau #905                                                               San Juan        PR   00924
         1946050 Lebron Claudio, Iris E           PO Box 1423                                                                                            Yabucoa         PR   00767
         2012360 LEBRON CLAUDIO, IRIS E.          PO BOX 1423                                                                                            YABUCOA         PR   00767‐1423
         1700916 Lebron Colon, Victor A.          Condominio Torres de Cervantes                Apartamento 1414 ‐ B                                     San Juan        PR   00924
         1979969 Lebron Cortes, Celia             HC‐01 Box 6283                                                                                         Moca            PR   00676
         1988920 Lebron Escalera , Maria I.       200 Calle 535 Condominio Vizcaya              Apt. 221                                                 Carolina        PR   00985
         1861433 Lebron Escalera, Maria I.        Cond. Vizcaya                                 200 Calle 535 Apt 221                                    Carolina        PR   00985
         1815649 Lebron Escalera, Maria I.        200 Calle 535 Cond. Vizcaye Apt 221                                                                    Carolina        PR   00985

         1754351 Lebron Escalera, Maria I.        200 calle 535 Condominio Vizcaya Apt 221                                                               Carolina        PR   00985
         2207469 Lebron Flores, Elsie M.          HC 64 Buzon 7115                                                                                       Patillas        PR   00723
         1941051 Lebron Flores, Elsie Maria       HC 64 Buzon 7115                                                                                       Patillas        PR   00723
          917261 LEBRON LABOY, LUIS               HC 3 BOX 12059                                                                                         YABUCOA         PR   00767‐9761
         2201479 Lebron Lebron, Luz Milagros      Buzon 105 Barrio Calzada                                                                               Maunabo         PR   00707
         1861111 Lebron Lopez, Carmen I.          An‐4 calle 53 Urb. La Hacienda                                                                         Guayama         PR   00784
         2036958 Lebron Martinez, Cesar Augusto   Bo. Calzada Buzon 310                                                                                  Maunabo         PR   00707
         2068510 Lebron Martinez, Cesar Augusto   Bo. Calzada Buzon 310                                                                                  Maunabo         PR   00707
         1901805 Lebron Martinez, Cesar Augusto   Bo. Calzada Buzon 310                                                                                  Maunabo         PR   00707
         1988444 Lebron Matias, Tania M.          128 Calle Velero                                                                                       Guayama         PR   00784


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        1726411 Lebrón Matías, Tania M.           Urb. Chalets de Brisas del Mar               128 Calle Velero                                            Guayama         PR    00784
        1862935 LEBRON MORALES, ELBA              URB ALTURAS DE YAUCO                         CALLE 11 N2                                                 YAUCO           PR    00698
        2063317 LEBRON NAZARIO, ELSA I            44 JOSE S QUINONEZ                           BO VENEZUELA                                                SAN JUAN        PR    00926
        1104752 LEBRON RIVERA, XIOMARA            HC 1 BOX 4726                                                                                            ARROYO          PR    00714
        2134528 Lebron Rosado, Yrca T             K‐12 Calle 11 Urb. Loma Alte                                                                             Carolina        PR    00987
        1971139 Lebron Ruiz, Maria Del R.         404 C Soldado Libran                         Urb. San Agustin Rio Piedras                                San Juan        PR    00923
        2206285 Lebron Torres, Pablo R.           PO Box 1732                                                                                              San Sebastian   PR    00685
                                                                                                                              Grand Boulevar
         1989942 Lebron, Jubal                    Los Prados Armonia                           Edif 37 Apt 202 Ave.           400                          Caguas          PR   00727
         2028543 Leclerc Valentin, Carlos         Calle William Irizarry #36                                                                               Mayaguez        PR   00680
         2109306 LECLERE VALENTIN, CARLOS         CALLE WILLIAM IRIZARRY #36                                                                               MAYAGUEZ        PR   00680
         2117773 Lecleuc Valentin, Carlos         Calle William Irizarry #36                                                                               Mayaguez        PR   00680
         1845853 Ledee Melendez, Mercedes         3269 c/Caoba Urb. Los Caobos                                                                             Ponce           PR   00716
         1843849 Legrand Garcia, Rosario          2312 Reina de las Flores                     Urb. Villa Flores                                           Ponce           PR   00716‐2905
         1790347 Leon Amaro, Glenda E             BOX 586                                                                                                  MAUNABO         PR   00707‐0000
         2075854 Leon Cansobre, Carmen M.         Urb. Las Aguilas Calle 2‐D‐2                                                                             Coamo           PR   00769
         2068908 Leon Cansobre, Carmen M.         Urb. Las Aguilas Calle 2‐D‐2                                                                             Coamo           PR   00769
         1975019 Leon Cansobre, Carmen M.         Urb. Las Agulas Calle 2‐D‐2                                                                              Coamo           PR   00709
         1842812 Leon Casillas, Moraima           28 Ramos Elvira                                                                                          Rio Piedras     PR   00923
         1953474 Leon Cintron, Nelida             Apt. 507                                                                                                 Cidra           PR   00739
         2081195 Leon Cintron, Nelida             Apt. 507                                                                                                 Cidra           PR   00739‐0507
         1933462 LEON CITRON, NELIDA              PO BOX 507                                                                                               CIDRA           PR   00739
         2075830 Leon Cortes, Teriangel           18 Colinas de Verde Azul                                                                                 Juana Díaz      PR   00795
         2121219 Leon Cortes, Teriangeli          18 Colinas de Verde Azul                                                                                 Juana Diaz      PR   00795
         1834204 Leon Cotty, Maria M.             Alta Vista Calle 19‐R9                                                                                   Ponce           PR   00716
         1616454 Leon Cotty, Maria M.             Alta Vista Calle 19‐R‐9                                                                                  Ponce           PR   00716
         1849305 Leon Cotty, Maria M.             Alta Vista Calle 19‐R‐9                                                                                  Ponce           PR   00716
         1849368 Leon Cotty, Maria M.             Alta Vista Calle 19‐R‐9                                                                                  Ponce           PR   00716
         1616543 Leon Cotty, Maria M.             Alta Vista Calle 19‐R‐9                                                                                  Ponce           PR   00716
         2081232 Leon Cruz , Nydia E.             3 #15 Villa Esperanza                                                                                    Ponce           PR   00716‐4012
         1716666 Leon Dominguez, Minerva          HC‐02 Box 8475                                                                                           Juana Diaz      PR   00795
         2015148 LEON DOMINGUEZ, SANTA            HC‐02 BOX 8475                                                                                           JUANA DIAZ      PR   00795
         1821411 Leon Dominguez, Santa            HC‐02 Box 8475                                                                                           Juana Diaz      PR   00795
         1903801 Leon Febue, Aurea E              PO Box 35                                                                                                Toa Alto        PR   00954
         1727603 Leon Garcia, Giselle             Urb. Jardines de Santo Domingo               Calle 4 E‐13                                                Juana Diaz      PR   00795
         2023277 Leon Garcia, Giselle             Urb. Jardines del Santo Domingo              Calle 4 E‐13                                                Juana Diaz      PR   00795
         1741829 LEON GARCIA, GISELLE             URB JARDS DE SANTO DOMINGO                   E13 CALLE 4                                                 JUANA DIAZ      PR   00795

         1691659 Leon Garcia, Giselle             Urb. Jardines de Santo Domingo Calle 4‐E‐13                                                              Juana Diaz      PR   00795
         2027632 Leon Gonell, Angela R.           Urb. Lagos de Plata                         S‐18 Calle 23                                                Toa Baja        PR   00949
         2079677 Leon Gonell, Maria R.            Urb. Levittown Lakes                        CI‐14 Dr. Leno Gandia                                        Toa Baja        PR   00949
         2205688 Leon Hernandez, Fredisminda      P.O. Box 258                                                                                             Juana Diaz      PR   00795
         1631602 Leon Hernandez, Milta R.         Haciendas Del Rio                           57 Calle El Jibarito                                         Coamo           PR   00769
         2230447 Leon Hernandez, Mirta R.         Haciendas Del Rio                           57 Calle El Jibarito                                         Coamo           PR   00769
         2086062 LEON LUGO, ANA E                 GLENVIEW GARDEN CALLE EDNA                  DD37                                                         PONCE           PR   00730‐1640
         1806114 LEON LUGO, ANA EVA               GLENVIEW GARDENS                            CALLE EDNA DD 37                                             PONCE           PR   00730‐1640


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        1675767 Leon Lugo, Ana Eva                Calle Edna DD 37                           Glenview Gardens                                   Ponce          PR    00730‐1640
        1901212 LEON MARTINEZ, IRMA N.            6714 AVE.INTERIOR EXT.PUNTO ORO                                                               Ponce          PR    00728‐2423
        1758916 León Rivera, Elsa M.              2035 Chatham Place Dr.                                                                        Orlando        FL    32824
        2005673 Leon Rodriguez, Milagros          HC 06 Box 8991                                                                                Juana Diaz     PR    00795
        1870194 LEON RODRIGUEZ, MILAGROS          HC‐06 BOX 8991                                                                                JUANA DIAZ     PR    00795
        2058227 Leon Rodriguez, Milagros          HC‐06 Box 8991                                                                                Juana Diaz     PR    00795
        1916028 Leon Rodriguez, Milagros          HC‐06 Box 8991                                                                                Juana Diaz     PR    00795
        2081281 Leon Rodriguez, Milagros          HC‐06 JBox 8991                                                                               Juana Diaz     PR    00795
        1871811 Leon Rodriguez, Nilsa Judith      P.O. Box 1621                                                                                 Santa Isabel   PR    00757
        2078137 Leon Santiago, Francisco          Carr. 151 Km 8 HC 4                                                                           Villalba       PR    00766
        2078137 Leon Santiago, Francisco          HC‐01 Box 3563 Bamo Lemon                                                                     Villalba       PR    00766
        2106809 Leon Torres, Raquel               HC‐01 Box 3941                                                                                Villalba       PR    00766
        2130995 LEON VAZQUEZ, HIPOLITA            3‐C 56 DALMACIA                            URB. VILLA DEL REY                                 CAGUAS         PR    00727
        1972760 Leon Vega, Adalinda               HC 01 Box 5098                                                                                Santa Isabel   PR    00757
        2081970 LEWIS MATIAS, CECIL               Jardines de Santa Isabel                   Calle 8 A 33                                       Santa Isabel   PR    00757

         1606478 LIBRAN EFRE, ISABEL              SU‐20 BUCARE VALLE HERMOSO                                                                    HORMIGUEROS PR      00660
         2136761 Linares Martir, Carmen del R.    7030 Agustin Ramos Calero Ave.                                                                Isabela     PR      00662
         2136761 Linares Martir, Carmen del R.    P.O. Box 1751                                                                                 Isabela     PR      00662
         2078796 Linares Torres, Lourdes Nidia    Urb. El Real, Palacio #80                                                                     San German  PR      00683
         1956082 Lind Garcia, Nadia D             PO Box 1948                                                                                   Canovanas   PR      00729
         1897407 Lind Garcia, Nadia D.            PO Box 1948                                                                                   Canovanas   PR      00729
         1958591 Lind Garcia, Nadia D.            PO Box 1948                                                                                   Canovanas   PR      00729

         1744309 LISBOA TORRES, IRMA M            HC 8 BOX 80863                                                                                SAN SEBASTIAN PR    00685‐0755
         1998178 LIZASOAIN RIVERA, LUCY I.        #1439 CALLE ALOA URB. BUENA VISTA                                                             PONCE         PR    00717/2502
         1548816 Llanes Montes, Aracelys          PO Box 792                                                                                    Utuado        PR    00641
         1980580 LLANES SANTOS, JUAN              37 ENTRADA ARENAS                                                                             JAYUYA        PR    00664
         1901653 Llanes Santos, Juan              37 Entrada Arenas                                                                             Jayuya        PR    00664
         1024254 LLANES SANTOS, JUAN              37 ENTRADA ARENAS                                                                             JAYUYA        PR    00664
         1024254 LLANES SANTOS, JUAN              37 ENTRADA ARENAS                                                                             JAYUYA        PR    00664
          269235 LLANOS BENITEZ, MAYRA            CALLE E #227 APT. 166                                                                         TRUJILLO ALTO PR    00976
          976306 Llanos Calderon, Celia           Parc La Dolores                            194 Calle Argentina                                Rio Grande    PR    00745‐2324
         2047618 LLANOS LLANOS, IRIS              CALLE 601 Blg 222 CASA 1                   URB‐VILLA CAROLINA                                 CAROLINA      PR    00985
         2047413 Lliteras Batista , Maribel       Urb. Villa Barcelona F3                                                                       Barceloneta   PR    00617
         2028537 LLITERAS BATISTA, MARIBEL        URB. VILLA BARCELONA F‐3                                                                      BARCELONETA PR      00617
         1987040 Lliteras Batista, Maribel        Urb. Villa Borcelona F‐3                                                                      Borceloneta   PR    00617
         1949713 Lliteras Batista, Olga Iris      P.O. Box 183                                                                                  Manati        PR    00674‐0183
         1859820 Lliteras Batista, Olga Iris      PO Box 183                                                                                    Manati        PR    00674‐0183
          878961 LOPES MURIENTE, YAMILLE          URB MOUNTAIN VIEW                          FF9 CALLE 4A                                       CAROLINA      PR    00987
         1681680 Lopez Aviles, Beatriz            HC 56 BOX 4637                                                                                Aguada        PR    00602
         1791252 LOPEZ AVILES, ERNESTO            HC 44 BOX 12611                                                                               CAYEY         PR    00736‐9706
          270532 Lopez Benitez, Michael A         Hc 1 Box 4970‐5                                                                               Naguabo       PR    00718
         2218907 Lopez Castillo, Candy I          PO Box 781                                                                                    Canovanas     PR    00729
         2149744 Lopez Colon, Eduardo             Urb Villa del Carmen                       550 Calle Salamanca                                Ponce         PR    00716
         2109906 Lopez Colon, Julia               H2 C9 Urb: Villa Universitaria                                                                Humacao       PR    00791


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        1757310 Lopez Correa, Tanniea             PO Box 2243                                                                                     Bayamon         PR    00960
        2073430 Lopez Cortes, Angel L.            HC 56 Box 4770                                                                                  Aguada          PR    00607
        1903309 Lopez de Haro Jimenez, Irma       #2618‐Calle Trinitaria‐Urb Villa Flores                                                         Ponce           PR    00716‐2924
        2157012 Lopez de Jesus, Francisco         Box Mosquito Pad 007                           Buzon 1695                                       Aguirre         PR    00704
        1898325 Lopez de la Cruz, Nora I.         P.O. BOX 621                                                                                    SALINAS         PR    00751
        1898325 Lopez de la Cruz, Nora I.         PO Box 621                                                                                      Salinas         PR    00751
        1947554 Lopez Duprey, Ana M.              15 Urb. Ext. San Jose                                                                           Aguada          PR    00602
        1753116 Lopez Feliciano, Maribel          325 calle 1 Apt.23                                                                              Trujillo Alto   PR    00976
        2075392 Lopez Ferrer, Dolores E           Apartado 785                                                                                    Luquillo        PR    00773
        1728724 LOPEZ FUENTES, SYLVIA I           HC 02 BOX 16277                                                                                 ARECIBO         PR    00612
        1782948 LOPEZ GARCIA, JOSE A.             #35 EXT SANTA ELENA 3                          CALLE SANTA CLARA                                GUAYANILLA      PR    00656
        2196725 Lopez Garcia, Migdalia            Q9 Calle 15 Urb. El Madrigal                                                                    Ponce           PR    00730
        1960714 Lopez Ginel, Jose L.              54 Com. Caracoles 1                                                                             Penuelas        PR    00624
        2121678 Lopez Gonzalez, Oriali            43 Dario Villafane                                                                              Jayuya          PR    00664
        1937994 LOPEZ GOYCO, EVELYN               303 ESTANCIAS DEL JAVILLO                                                                       ISABELA         PR    00662
        1824408 Lopez Hernandez, Antonio          Bo. Saltos Coli                                PO Box 1253                                      Orocovis        PR    00720‐1253
        2105442 Lopez Lebron, Carmen I.           Calle 9‐I8 Ext. San Antonio                                                                     Humacao         PR    00791
        1060061 LOPEZ LEBRON, MAYRA               PO BOX 434                                                                                      ARROYO          PR    00714
        1897133 Lopez Lopez, Sandra               C‐47 Las Marias Vistamar                                                                        Carolina        PR    00983
        2076439 LOPEZ MAISONET, CARMEN M.         CALLE TERVEL 789 VISTA MAR                                                                      CAROLINA        PR    00983
        1733597 López Márquez, Nelly R.           PO Box 9977                                                                                     Carolina        PR    00988
        1441296 LOPEZ MARRERO, WILFREDO           HC‐59 BOX 5739 BO MARIAS                                                                        AGUADA          PR    00602
        1896928 Lopez Martinez, Felicita          Valle Real                                     Calle Intanta 1807                               Ponce           PR    00716‐0507
        1896928 Lopez Martinez, Felicita          P.O. Box 191879                                                                                 San Juan        PR    00919‐1879
        2061108 LOPEZ MARTINEZ, IRIS              URB SAN ANTONIO                                C 16 CALLE B                                     ARROYO          PR    00714
        1894698 LOPEZ MARTINEZ, LOURDES           BOX 7745                                                                                        PONCE           PR    00732‐7745
        1952133 Lopez Medina, Esther              PO BOX 10725                                                                                    SAN JUAN        PR    00922‐0735
        1783247 Lopez Medina, Esther              PO Box 10725                                                                                    San Juan        PR    00922‐0725
        1952133 Lopez Medina, Esther              Paseo Delfin 1436 Ira Seccion Levittown                                                         Toa Baja        PR    00949
        1129718 LOPEZ MEDINA, OTHONIEL            PO BOX 114                                                                                      ISABELA         PR    00662
        1578793 Lopez Morales, Gerardo E.         PO Box 311 Carr 884 KM 0.7 Bo Achiote                                                           Naranjito       PR    00719
        1636869 LOPEZ MORALES, HECTOR I           HC 3 BOX 9387                                                                                   DORADO          PR    00646‐9506
        1851009 LOPEZ MUNOZ, IRMA                 HC 06 BOX 6344                                                                                  JUANA DIAZ      PR    00795
        1008480 LOPEZ MUNOZ, IRMA                 HC‐0 6 BOX 6344                                                                                 JUANA DIAZ      PR    00795‐9898
        1904320 Lopez Negron, Carmen L            Urb Las Flores Calle 2 F‐16                                                                     Juana Diaz      PR    00795
        1890538 LOPEZ NEGRON, CARMEN L.           URB. LAS FLORES                                CALLE 2 F‐16                                     JUANA DIAZ      PR    00795
        1960982 Lopez Negron, Carmen L.           Urb. Las Flores                                Calle 2 F‐16                                     Juana Diaz      PR    00795
        1913642 Lopez Negron, Carmen L.           Urb. Las Flores, Calle 2‐F‐16                                                                   Juana Diaz      PR    00795
        2118853 Lopez Negron, Luis J.             C/ K I#1 Alamar                                                                                 Luquillo        PR    00773
        2124909 Lopez Ocasio, Ismael              HC 2 Box 4549                                                                                   Villalba        PR    00766
        2124905 Lopez Ocasio, Ismael              HC 2 Box 4549                                                                                   Villalba        PR    00766
        1519049 Lopez Ocasio, Ismael              HC2 Box 4549                                                                                    Villalba        PR    00766
        2125172 Lopez Ocasio, Ismael              HC2 Box 4549                                                                                    Villalba        PR    00766
        2222841 Lopez Olivo, Luz S.               1342 Sandalio Alonso                           Urb. Santiago Iglesias                           San Juan        PR    00921
        1656724 Lopez Orence, Melvin I.           Calle San Juan 63                                                                               Camuy           PR    00627
        2030016 Lopez Orence, Melvin Ivan         #63 San Juan                                                                                    Camuy           PR    00627


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        2099626 Lopez Orengo, Madeline            HC 02 Box 844                                                                                Yauco          PR    00698
         946433 LOPEZ ORTIZ, AGUSTIN              URB SIERRA LINDA                          GG5 CALLE 9                                        BAYAMON        PR    00957‐2131
        1652596 Lopez Ortiz, Raquel E.            Caribbean Towers 621 Ave.                 Ponce de Leon 670                                  Miramar        PR    00907
        1672619 LOPEZ OSTOLAZA, ELVIN             URB. STARLIGHT                            3046 CALLE NOVAS                                   PONCE          PR    00716
        1728741 Lopez Pabon, Jorge L              41125 Paseo Turey                         Villase del Turey                                  Coto Laurwel   PR    00780
        1677690 LOPEZ PADILLA, CARLOS             HC 71 BOX 3350                                                                               NARANJITO      PR    00719
        2106624 LOPEZ PADILLA, CARLOS L           HC 71 BOX 3350                                                                               NARANJITO      PR    00719
        2141951 Lopez Pagan, Carmen L.            PO Box 1153                                                                                  Adjuntas       PR    00601
        2058440 Lopez Pagan, Maria Luisa          Km H5 carr 417 (Hc‐59 Box 5745)                                                              Aguada         PR    00602
        1064740 Lopez Pagan, Mildred              Urb. Santa Clara                          61 Calle D                                         Ponce          PR    00716‐2593
        2036571 Lopez Pagan, Mildred              Urb. Santa Clara                          61 Calle D                                         Ponce          PR    00716‐2593
         333814 LOPEZ PAGAN, MILDRED              URB SANTA CLARA 61 CALLE D                                                                   PONCE          PR    00716‐2593
        2073713 Lopez Pagan, Mildred              Urb. Santa Clara, 61 Calle D                                                                 Ponce          PR    00716‐2593
        2020875 Lopez Pagan, Vilma R.             L‐7 Calle B Urb. Alamar                                                                      Luquillo       PR    00773
        1966946 Lopez Pamias, Sol M.              HC 05 Box 29842                                                                              Camuy          PR    00627
        2002147 Lopez Pantoja, Altagracia         Ceiba Sabana 550 Carr 688                                                                    Vega Baja      PR    00693
        2013882 Lopez Perez, Efrain               HC 06 Box 66405                                                                              Aguadilla      PR    00603
        2012525 Lopez Perez, Eny S.               Urbanizacion Islazul                      Calle Jamaila 3011                                 Isabela        PR    00662
        1837570 LOPEZ PEREZ, MARIA                PO BOX 8784                               SABANA BRANCH                                      VEGA BAJA      PR    00693
        1839916 Lopez Plaza, Rose Mary            PO Box 8596                                                                                  Humacao        PR    00792
        1998225 Lopez Poventud, Ramon             Lomas De Carolina                         J‐32 La Torrecilla                                 Carolina       PR    00987
        2064633 Lopez Ramo, Roberto               PO Box 723                                                                                   Camuy          PR    00627
        2051353 Lopez Ramos, Efrain               H5 Calle Lorena Villa del Rey 1                                                              Caguas         PR    00725
         904428 LOPEZ RAMOS, ISABEL               PO BOX 1253                                                                                  OROCOVIS       PR    00720
        2054928 Lopez Ramos, Isabel               PO Box 1253                                                                                  Orocovis       PR    00720
         275130 Lopez Ramos, Roberto              PO Box 723                                                                                   Camuy          PR    00627
        1368730 LOPEZ RAMOS, ROBERTO              PO BOX 723                                                                                   CAMUY          PR    00627
        2080354 Lopez Rios, Sandra                24040 Carr. 113                                                                              Quebradillas   PR    00678
        1789596 Lopez Rivera, Ingrid              Bo. Duque‐Bzn 1853                        84 C/aleli                                         Naguabo        PR    00718
        1049716 LOPEZ RIVERA, MARGARITA           HC 03 BOX 5964                                                                               HUMACAO        PR    00791
         709234 LOPEZ RIVERA, MARGARITA           HC 3 BOX 5964                                                                                HUMACAO        PR    00791
        1632784 Lopez Rivera, Maria del C.        HC 4 Box 8078 Sumidero                                                                       Aquas Buenas   PR    00703
        1934124 Lopez Rivera, Maria del C.        Apartado 957                                                                                 Villalba       PR    00766
        1940932 LOPEZ RODRIGUEZ, ADA NELLY        PO BOX 560156                                                                                GUAYANILLA     PR    00656
        1922140 LOPEZ RODRIGUEZ, ADA NELLY        PO BOX 560156                                                                                GUAYANILLA     PR    00656
        1850993 Lopez Rodriguez, Ada Nelly        PO Box 560156                                                                                Guayanilla     PR    00656
        1808571 Lopez Rodriguez, Guillermo        95 Calle A Barrio Plaza                                                                      Salinas        PR    00751
        1808571 Lopez Rodriguez, Guillermo        PO Box 479                                                                                   Salinas        PR    00751
        1055865 LOPEZ RODRIGUEZ, MARICELY         174 CALLE CISNE                           URB QUINTAS DE CABO RO                             CABO ROJO      PR    00623
        1620927 LOPEZ RODRIGUEZ, OLGA             D‐72 CALLE AMATISTA                       URB. MIRABELLA VILLAGE                             BAYAMON        PR    00961
        2040996 LOPEZ ROLON, ABNYRIS S.           URB. BELINDA                              CALLE 2 F‐4                                        ARROYO         PR    00714
        1925387 Lopez Rondon, Marta Iris          Delbrey # 264 Pda 25 Santurce                                                                San Juan       PR    00912
        2028304 Lopez Rosa, Carines               HC‐71 Box 3173                                                                               Naranjito      PR    00719‐9713
                                                  CALLE MARGINAL A‐5 URB. JARDINES DE
         1794497 LOPEZ RUIZ, MARILYN              ARECIBO                                                                                      ARECIBO        PR   00612
         1883354 LOPEZ SANCHEZ, ANA L             CALLE E 53, BO LA CUARTA                                                                     MERCEDITA      PR   00715


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        1775026 Lopez Sanchez, Jenny              1610 Raena Dr. Unit 312                                                                              Odessa         FL    33556
        1730592 Lopez Sanchez, Lisa               1610 Raena Dr Unit 312                                                                               Odessa         Fl    33556
        1596452 Lopez Santiago, Gregorio          5302 Condominio Veredas del Mar,                                                                     Vega Baja      PR    00693
        2011627 Lopez Santiago, Jose Luis         Attn: Irma Cedena Orengo                      HC 03 14878                                            Yauco          PR    00698
        1975104 Lopez Santiago, Lymari            PO Box 393                                                                                           Villalba       PR    00766
        1987600 Lopez Santiago, Maria E.          Bo. Pugnado Afuera Secto El Palmar                                                                   Vega Baja      PR    00693‐2044
        1987600 Lopez Santiago, Maria E.          PO Box 2044                                                                                          Vega Baja      PR    00693‐2044
        2233544 Lopez Soriano, Javier T.          Calle Reina 43‐A                              Parcelas Carmen                                        Vega Alta      PR    00692
        2023372 LOPEZ URBINA, CARMEN D.           HC‐06 BOX 10132                                                                                      GUAYNABO       PR    00971
        2137241 Lopez Valentin, Susana            1503 Zuber Dr.                                                                                       Galena Park    TX    77547
        2194459 Lopez Velez, Isabel               RR 5 Box 9035                                                                                        Toa Alta       PR    00953‐9244
        1728155 López Vélez, Samara A.            178 Urb. Valles de Añasco                                                                            Añasco         PR    00610
        1683089 LOPEZ VIVES, OSVALDO              URB PRADERA REAL                              1226 CALLE HIEDRA                                      ISABELA        PR    00662‐7058
        1750366 Lopez, Janet Osoria               P.O. Box 2213                                                                                        Isabela        PR    00662
        2076848 Lopez, Jorge Rodriguez            3425 Santa Anastacion Street                                                                         PONCE          PR    00730‐9606
        1936891 LOPEZ, ROSA L.                    135 COLIBRI                                   PASEO PALMA REAL                                       JUNCOS         PR    00777
        1936996 Lopez, Samir Espada               HC 02 Box 9762                                                                                       Juana Diaz     PR    00795
        1941129 Lopez, Zoraida Alvarez            571 Eliott Urb Litheda Hight                                                                         San Juan       PR    00926
        1914379 Lopez‐Ramos, Roberto              P.O. Box 723                                                                                         Camuy          PR    00627
        2088528 Lorazo Lorazo, Evelyn             HC 57 Box 11405                                                                                      Aguada         PR    00602
                                                                                                DEPARTAMENTO RECREACION    PO BOX
         1231845 LORENZANA OQUENDO, JOSE A        COORDINADOR ACTIVIDADES II                    & DEPORTES                 9023207                     SAN JUAN       PR   00902‐3207
         1231845 LORENZANA OQUENDO, JOSE A        HC 01 BOX 7180                                                                                       TOA BAJA       PR   00949
         1761290 Lorenzo Carrero, Minerva         HC 60 Box 12457                                                                                      Aguada         PR   00602
         1729816 Lorenzo Carrero, Minerva         HC 60 Box 12457                                                                                      Aguada         PR   00602
         2220837 Lorenzo Guiteras, Celso          PO Box 9020014                                                                                       San Juan       PR   00902‐0014
         2132089 Lorenzo Hernandez, Edgar         HC 05 Box 105017                                                                                     Moca           PR   00676
         1654327 LORENZO LORENZO, EVELYN          HC 57 BOX 11405                                                                                      AGUADA         PR   00602
         2160214 Lozada Alvarez, Juan             H‐C‐63 Bz 5281                                                                                       Patillas       PR   00723
         1675218 Lozada Lopez, Marielba           Urb Jardines De Loiza                         A29 Calle 2                                            Loiza          PR   00772
         1899221 LUCIANO ANDUJAR, MIROSLAVA       SAN ANTONIO                                   CALLE DAMASCO 1445                                     PONCE          PR   00728
         1899221 LUCIANO ANDUJAR, MIROSLAVA       PO BOX 336075                                                                                        PONCE          PR   00733‐6075
         1751180 LUCIANO TORRES, JOSE             1366 CALLE VERDUN BO 4 CALLES                                                                        PONCE          PR   00717‐2260
         1546307 Lugo Crespo, Luis F              Urbanizacion Buena Vista                      Calle 4 A‐11                                           Lares          PR   00669
                                                                                                                                          1375 Ave
                                                                                                Dept Recusos Naturales Y   Urb San Jose   Ponce de
         1546307 Lugo Crespo, Luis F              Raymi Ruiz                                    Ambiental                  Ind            Leon         San Juan       PR   00926‐2604

         2013961 LUGO DE JESUS, MIRIAM            CALLE LOS PINOS #2                                                                                   QUEBRADILLAS   PR   00678
         2056471 Lugo de Jesus, Miriam            Calle Los Pinos #2                                                                                   Quebradillas   PR   00678
         1729298 Lugo Garcia, Laura S.            Urb. Haciendas de Carraízo calle 3 J22                                                               San Juan       PR   00926
         1574807 Lugo Lugo, Santos                Bzn 40621                                                                                            Quebradillas   PR   00678‐9448

         1187048 LUGO MARTINEZ, DAMARIS           166 CALLE SOCORRO                                                                                    QUEBRADILLAS PR     00678
         2038372 Lugo Morales, Noemi              RR3 Box 9412                                                                                         Anasco       PR     00610
         1879321 LUGO OLIVERA, MARIA L            URB VILLA CONTESSA                            PP8 CALLE VENECIA                                      BAYAMON      PR     00956


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        1753326 Lugo Olivera, Miriam              Hc 02 Box 5059                                                                                         Guayanilla    PR    00656‐9705
        1947912 Lugo Olivera, Miriam              HC 02 Box 5059                                                                                         Guayanilla    PR    00656‐9705
        1983497 Lugo Olivera, Miriam              HC 02 Box 5059                                                                                         Guayanilla    PR    00656‐9705
        1933342 LUGO RAMIREZ, WILFREDO            480 EDDIE GRACIA                                                                                       SAN JUAN      PR    00918
        1970562 Lugo Rodriquez, Emely             1412 Rodolfo Del Valle                        Urb. Las Delicias                                        Ponce         PR    00728
        1738521 Lugo Ruiz, Fredita                Urb. Villa Carolina                           Calle 74 Bloque 116‐15                                   Carolina      PR    00985
        1512654 Lugo Santos, Emilio               G‐3 Calle Coagaco                                                                                      Guayanilla    PR    00656
                                                                                                                                                         SABANA
         1809731 LUGO SANTOS, WANDA I.            CALLE CEIBA 116 BO SUSUA                                                                               GRANDE        PR   00637

         1694699 Lugo Santos, Wanda I.            Calle Ceiba 116 Susua                                                                                  Sahana Grande PR   00637

         1977425 Lugo, Ada Iris                   Urb.Villa Sultanta                            523 Calle F. Martinez de Matos                           Mayaguez      PR   00680
         2127720 Lugo, Iris D.                    Urb. Los Caobos                               Calle Guama #1871                                        Ponce         PR   00716
          769021 LUYANDO BURGOS, YOLANDA          PO BOX 8916                                                                                            HUMACAO       PR   00792
          769021 LUYANDO BURGOS, YOLANDA          P.O. BOX 8916                                                                                          HUMACAO       PR   00792
         1940767 Luz Delgado, Aida                HC 4 Box 6639                                                                                          YABUCOA       PR   00767
         2222364 Luzunaris Hernandez, Elias       HC 04 Box 4671                                                                                         Humacao       PR   00791
         1975677 Lydia Rios, Carmen               E‐206 3 Alt. Rio Grande                                                                                Rio Grande    PR   00745
          288299 MACHADO LOPEZ, ALISYADHIRA       HC‐01 BOX 12034                                                                                        HATILLO       PR   00659
          288299 MACHADO LOPEZ, ALISYADHIRA       HC‐01 BOX 12034                                                                                        HATILLO       PR   00659
          288299 MACHADO LOPEZ, ALISYADHIRA       HC‐01 BOX 12034                                                                                        HATILLO       PR   00659
         2116944 MACHIN HUERTAS, ADA E.           BOX 1898                                                                                               SAN LORENZO   PR   00754
         2116944 MACHIN HUERTAS, ADA E.           PO BOX 206                                                                                             SAN LORENZO   PR   00754
         1462535 Machin Sanchez, Andres           P.O. Box 367                                                                                           San Lorenzo   PR   00754
          289141 MAESTRE, LUIS A                  133 LA GRANJA                                 LA GRANJA                                                UTUADO        PR   00641‐2772
         2005726 Maisonet Reyes, Luz M.           409 Suiza Urb. Floral Park                                                                             San Juan      PR   00917‐3628
         1606025 Malave Adames, Israel            PO Box 236                                                                                             Ensenada      PR   00647
         1200925 MALAVE LEDESMA, ERIKA            CALABURA U 13                                 URB. SANTA CLARA                                         GUAYNABO      PR   00969
         2149227 Malave Mendoza, Wilfredo         Calle #43 Casa AW‐2                                                                                    Guayama       PR   00784
         2149979 Malave Rodriguez, Esther         Montesona II Calle Capitan #71                                                                         Aguirre       PR   00704
         1689543 Maldonado Blanco, Carmen M.      HC 01 Box 7204                                                                                         Villalba      PR   00766
         1997990 MALDONADO CARRION, LOURDES R.    URB. METROPOLIS CALLE 18 M‐8                                                                           CAROLINA      PR   00987
                                                  LUIS A. MALDONADO COLON URB. TOMAS
         1753284 MALDONADO COLON, LUIS A.         CARRION MADURO CALLE 4 # 87                                                                            JUANA DIAZ    PR   00795

         1753284 MALDONADO COLON, LUIS A.         URB. TOMAS CARRION MADURO CALLE4 #87                                                                   JUANA DIAZ    PR   00795
                                                                                                BO CAMARONES 9970
          658695 MALDONADO CUBI, GERALDO          PO BOX 1065                                   CARRETERA 560                                            VILLALBA      PR   00766
         1581056 Maldonado Espinosa, Modesto      HC‐02 Box 119111                                                                                       Humacao       PR   00791
         1751449 Maldonado Fernandez, Rayda T.    Urb. La Rumbla                                1688 Calle Navarra                                       Ponce         PR   00730‐4003
         1871863 Maldonado Figueroa, Felicita     HC 01 Box 6898                                                                                         Guayanilla    PR   00656‐9727
         1898642 MALDONADO GALLEGO, IRENE         FINE SPRINGS ROAD 2916                                                                                 DALTON        GA   30721
         1886582 MALDONADO GARCIA, HECTOR         HC 01 BOX 7501                                                                                         VILLALBA      PR   00766
         2056776 MALDONADO GARCIA, Luis A.        Urb. Valle Alto                               2114 C Carolina                                          Ponce         PR   00730
         1679997 MALDONADO GONZALEZ, SANDRA       URB SAN FELIPE                                H 19 CALLE 8                                             ARECIBO       PR   00612


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        1537701 MALDONADO GONZALEZ, SANDRA            URB. SAN FELIPE                            H 19 CALLE 8                                       ARECIBO        PR    00612
        1824356 MALDONADO IRIZARRY, MINERVA           URB ALT. PENUELAS 2 CALLE 3 D‐7                                                               PENUELAS       PR    00624
        1880413 MALDONADO LABOY, JEANETTE             P.O. BOX 254                                                                                  VILLALBA       PR    00766
        2156239 Maldonado Maldonado, Jose R.          Calle 4AL 38 Nueva Vida El Tuque                                                              Ponce          PR    00728

         2069451 MALDONADO MALDONADO, JUAN VIRGILIO   URB PENUELAS VALLEY #22                    CALLE 2                                            PENUELAS       PR   00624

         2075581 MALDONADO MALDONADO, JUAN VIRGILIO   CALLE 2 #22 URB. PENUELAS VALLEY                                                              PENUELAS       PR   00624
         1816298 Maldonado Nazario, Celsa             10079 Bo Camarones                                                                            Villalba       PR   00766
         1800762 Maldonado Nazario, Celsa             10079 Bo. Camarones                                                                           Villalba       PR   00766
         1819435 Maldonado Nazario, Celsa             10079 Bo. Camarones                                                                           Villalba       PR   00766
         2023129 Maldonado Perez, Lizette             HC‐02 Box 4468                                                                                Villalba       PR   00766
         2060482 Maldonado Perez, Lizette             HC‐02 Box 4468                                                                                Villalba       PR   00766
         1967373 Maldonado Plaza, Jose M              Carretera 521                              HC 02 Box 6476                                     Adjuntas       PR   00601
         2041121 Maldonado Plaza, Jose M              Carretera 521                              Hc 02 Box 6476                                     Adjuntas       PR   00601
         2094131 Maldonado Plaza, Jose M.             Carretera 521 HC 02 Box 6476                                                                  Adjuntas       PR   00601
         2222539 Maldonado Rodriguez, Hector E.       HC 2 Box 8404                                                                                 Camuy          PR   00627
         1956313 Maldonado Rodriguez, Maria J         Nueva Vida                                 El Tuque Calle 4A‐I78                              Ponce          PR   00728‐6623
         1963260 MALDONADO RODRIGUEZ, NILDA           URB JARD DE PONCE                          27 CALLE 1                                         PONCE          PR   00731
         1982738 Maldonado Rodriguez, Ruth            Ave Tito Castio 609                        Suite 102                                          Ponce          PR   00716
         1915643 MALDONADO RODRIGUEZ, RUTH            609 AVE TITO CASTRO SUITE 102                                                                 PONCE          PR   00716‐2232
         1164157 Maldonado Rolon, Ana S               PO Box 152                                                                                    Sabana Hoyos   PR   00688‐0152
         2203818 Maldonado Russe, Carmen M.           1484 Roosevelt Apt 912                                                                        San Juan       PR   00920
          293200 MALDONADO SANTIAGO, EDWARD           PARCELAS CABAZA 307                        BO. COQUI                                          AGUIRRE        PR   00704
         1538267 MALDONADO SANTIAGO, EDWARD           PARCELAS CABAZA 307                        BO. COQUI                                          AGUIRRE        PR   00704
         1627683 Maldonado Santiago, Wanda Y          4 Calle Begonia                                                                               Cidra          PR   00739
         1763509 Maldonado Santiago, Wanda Y.         4 Calle Begonia                                                                               Cidra          PR   00739
          293458 Maldonado Torres, Kristian           HC 01 BOX 8378                                                                                PENUELAS       PR   00624
         1246680 MALDONADO TORRES, KRISTIAN           HC1 BOX 8378                                                                                  PENUELAS       PR   00624
         1881751 Maldonado Torres, Maria              P.O. Box 10136                                                                                Ponce          PR   00732‐0136

         1820303 MALDONADO TORRES, ZENAIDA            URB. VALLE ESCONDIDO #5 BUZON 11071                                                           VILLALBA       PR   00766
         1941313 Maldonado Trinidad, Elizabeth        P.O. Box 1319                                                                                 Manati         PR   00674
         1709640 Maldonado Vazquez, Esperanza         HC 91 Buzon 90343, Barrio Maricao                                                             Vega Alta      PR   00692
         2245503 Maldonado, Alma I Fred               HC4 Box 4054                                                                                  Villalba       PR   00766
         1693753 Maldonado, Ivelisse Castillo         HC 01 Box 6842                                                                                Guayanilla     PR   00656
         1594793 Maldonado, Ivelisse Castillo         HC 01 Buzón 6842                                                                              Guayanilla     PR   00656
         2208704 Maldonaldo Laboy, Alfredo            PO Box 800360                                                                                 Coto Laurel    PR   00780‐0360
         1889315 Maldonando Caraballo, Gerardo        PO Box 56164a                                                                                 Guayanilla     PR   00656
         1907439 Manfredy Figueroa, Minerva           Urb. Hnos. Santiago                        13 Hostas                                          Juana Diaz     PR   00795
         1600527 Manfredy Figueroa, Minerva           Urb. Hnos Santiago 13 Hostos                                                                  Juana Diaz     PR   00795
         1537296 Mangoma Senati, Victor M.            Calle C #143 Ramey                                                                            Aguadilla      PR   00603
         1098450 MANGOME SENATI, VICTOR M             CALLE C 143                                RAMEY                                              AGUADILLA      PR   00603
                                                      URB. VILLA GRILLASCA CALLE COSMETIZOL
         1933764 MANGUAL BOYET, MILAGROS              1867                                                                                          PONCE          PR   00717
         1106825 MANGUAL FUENTES, YOLANDA             PO BOX 234                                                                                    ANASCO         PR   00610


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        2004196 Mangual Lacut, Felicidad                       HC 2 Box 9530                                                                                    Juana Diaz      PR    00795
        1948890 Mangual Ortiz , Nestor E.                      Bo. Singapor Calle 3 #71                                                                         Juana Diaz      PR    00795
        1948890 Mangual Ortiz , Nestor E.                      HC‐07 Box 10039                                                                                  Juana Diaz      PR    00795
        1760852 MANGUAL RIVERA, HILDA                          MIRA PALMERAS                                 D8A CALLE FAJARDO                                  SAN JUAN        PR    00915‐2645
        1753506 Mangual Rosario, Maria Ines                    PO Box 1981 PMB 122                                                                              Loiza           PR    00772
                                                               Interameuncana Gardenis B2 Calle 21 Apt.
         1941478 Mangual Vazquez, Gloria E                     134                                                                                              Trujillo Alto   PR   00976‐3306
         2035703 MANGUAL VAZQUEZ, GRISEL                       P.O. BOX 946                                                                                     JUANA DIAZ      PR   00795
          858330 MANGUAL VAZQUEZ, MARIBEL                      BOX 946                                                                                          JUANA DIAZ      PR   00795
         1522603 Mangual Vazquez, Maribel                      Box 946                                                                                          Juana Diaz      PR   00795
         1860614 MANGUAL VAZQUEZ, MARIBEL                      BOX 946                                                                                          JUANA DIAZ      PR   00795
         1860577 Mangual Vazquez, Sandra Ivette                P.O. Box 946                                                                                     Juana Diaz      PR   00795
         1671206 Mangual, Nirma Ortiz                          HC‐06 BOX 6388                                                                                   Juana Diaz      PR   00795
         2081541 Manjarrez Carrion, Elena J.                   Calle 13 #38 Jds. San Fdo.                                                                       Toa Alta        PR   00953
         1665086 Manso Pizarro, Rosa Aurora                    Calle Agustin Cabrera #107                                                                       Carolina        PR   00985
         1748078 Manso Rivera, Ramon Antonio                   P.O. Box 250                                                                                     Loiza           PR   00772
         1781140 Manuel Rodriguez, Carlos                      Apartamento 2004                              Paseo Degetau                                      Caguas          PR   00725
         1793889 Manuel Rodriguez, Carlos                      Apartamento 2004                              Paseo Degetau                                      Caguas          PR   00725
         1750490 Marcano Melendez, Maribel                     Paseo Dorcas N1411                            Urb Levittown                                      Toa Baja        PR   00949
         2104693 MARCANO SPENCER, JORGE L.                     Calle #31 #50 769                                                                                San Juan        PR   00921
         1967423 Marcano Spencer, Jorge Luis                   #769 Calle 31 Las Lomas                                                                          San Juan        PR   00921
          296333 Marcucci Alvarado, Marilyn N                  PO Box 1219                                                                                      Penuelas        PR   00624
         1771381 Marcucci Velazquez, Irma                      HC‐2 Box 6095                                                                                    Adjuntas        PR   00601‐9208
         1978993 MARI BONILLA, LOURDES M.                      CALLE CANTERA #345 INT.                       BO SALUD                                           MAGAGUEZ        PR   00680
         1948828 Mari Gonzalez, Herohilda                      P.O. Box 5000‐446                                                                                San German      PR   00683
         1916111 Mari Gonzalez, Herohilda                      PO Box 5000‐446                                                                                  San German      PR   00683
         1917634 Mari Gonzalez, Iraida O                       D‐10 4 Valle Verde                                                                               San German      PR   00683
         1868933 Mari Gonzalez, Iraida O                       D‐10 4 Valle Verde                                                                               San German      PR   00683
         1849645 MARI MERCADO, VIRGINIA                        PO BOX 560‐959                                                                                   GUAYANILLA      PR   00656
         1731565 Mariani Rivera, Josefina                      2730 Las Carreras Perladel Sar                                                                   Ponce           PR   00717
         1889225 Marietti Dominicci, Ana H.                    Urb. Glenview Garden                          Q1 Calle Estancia                                  Ponce           PR   00730‐1652

         1931643 Marietti Dominicci, Armanda                   Urb. San Anonio 3017 Ave. Eduaudo Ruberto                                                        Ponce           PR   00728‐1807

         2111711 Marilyn Baez Esquilin / Elias Gomez Candelario HC 23 6544                                                                                      Juncos          PR   00777
         1963080 Marin Gonzalez, Elba I                         Box 615                                                                                         Jayuya          PR   00664
         1782335 Marin Santiago, Jessica L.                     Urb Valle Real                               RR‐05 Box 25021                                    Anasco          PR   00610
          302200 MARINELDA TORRES MEDINA                        52 CARR. 467 URB. VILLA MARBELLA                                                                AGUADILLA       PR   00603
         2097624 Marini Dominica, Miguel Antonio                HC‐1 Box 6091                                                                                   Guayanilla      PR   00656
         2070726 Marini Dominicci, Miguel A.                    HC‐1 Box 6091                                                                                   Guayanilla      PR   00656
         1102556 MARQUEZ BIRRIEL, WILFREDO                      PO BOX 40362                                                                                    SAN JUAN        PR   00940‐0362
         1792534 MARQUEZ CORTES, DARCY R                        URB CONSTANCIA 3032 CALLE SOLLER                                                                PONCE           PR   00717‐2213
         1864187 Marquez Cuadrado, Mireyza                      PMB 288 #390 Suite 1 Carr 853                                                                   Carolina        PR   00987‐8799
         1063616 MARQUEZ ESPINET, MIGUEL                        3 ESTANCIAS DEL SUR                          APTO 218                                           PONCE           PR   00728
         1063616 MARQUEZ ESPINET, MIGUEL                        Calle Marina 9140 #005 Cond. Ponciana                                                           Ponce           PR   00717
         2031738 Marquez Forty, Manuel                          #935 Calle Ulises Ortiz                      Urb Jose Severo Quinonez                           Carolina        PR   00985


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        2156081 Marquez Rivera, Jose Juan         H‐C 63 Bzn 3458                                                                                       Patillas      PR    00723
        2153679 Marquez Santiago, Anibal          Cristino Figueroa #25                                                                                 Aguirre       PR    00704

          601349 MARQUEZ VELAZQUEZ, ADABEL        PO BOX 418                                                                                            SAN SEBASTIAN PR   00685
         1958069 Marrero Berrios, Evelyn          Bello Monte J3 Calle 8                                                                                Guaynabo      PR   00969
          304457 MARRERO CARO, JOSE A.            P.O. BOX 1653                                                                                         AGUADA        PR   00602
         1655472 Marrero Caro, José A.            P.O. Box 1653                                                                                         Aguada        PR   00602
         2103906 MARRERO CINTRON, JOYCE M         URB ALTURAS DE COAMO                        121 CALLE CALIZA                                          COAMO         PR   00769
         1936169 MARRERO DAVILA, NIVIA            PO BOX 543                                                                                            AIBONITO      PR   00705
         1541984 Marrero Gonzalez , Ismael M.     Jardinez II                                 Calle Orquidea B‐33                                       Cayey         PR   00736
         1523090 Marrero Gonzalez, Ismael M.      Jardinez II Calle Orquidea B‐33                                                                       Cayey         PR   00736
         2068515 Marrero Marrero , Mariano        Urb. Maria Del Carmen c/2 E‐24                                                                        Corozal       PR   00783
         2109898 Marrero Marrero, Grisel          #84 calle Jardin de Orquideas               Jardines de Vega Baja                                     Vega Baja     PR   00693

         2084998 Marrero Marrero, Grisel          Jardines De Vega Baja                       #84 Calle Jardin De Orquideas                             Vega Baja     PR   00693
         2069461 Marrero Marrero, Jenny           2016 Carr. 348                                                                                        Mayaguez      PR   00680‐2101
         1870265 Marrero Marrero, Jose Antonio    PO Box 5103 PMB 138                                                                                   Cabo Rojo     PR   00623
         1716754 Marrero Marrero, Jose Antonio    PO Box 5103 Pmb 138                                                                                   Cabo Rojo     PR   00623
         1645437 Marrero Marrero, Leticia         P.O. Box 605                                                                                          Camuy         PR   00627
                                                  Urb. reparto Jardines de Camuy Calle
         1645437 Marrero Marrero, Leticia         Azucena casa                                                                                          Camuy         PR   00627
         1894421 Marrero Marrero, Lydia E.        HC‐01 Box 7101                                                                                        Villalba      PR   00766
         2061059 MARRERO MARRERO, LYDIA E.        HC‐01 BOX 7101                                                                                        VILLALBA      PR   00766
          287281 MARRERO ORTIZ, LUZ NEREIDA       BO DULCES LABIOS                            131 SIMON CARLO                                           MAYAGUEZ      PR   00682
         1947943 Marrero Ortiz, Odalis            #25 Calle 3 Urb. Cerromonte                                                                           Corozal       PR   00783
         1459391 MARRERO OTERO, ALEXIS            HC 7 BOX 21142                                                                                        MAYAGUEZ      PR   00680
         2070993 Marrero Oyola, Mariela           Po Box 942                                                                                            Toa Alta      PR   00954
         1751814 MARRERO PABON, BRENDA L          16 CALLE BARBOSA                                                                                      MANATI        PR   00674
          741757 Marrero Perez, Ramon D           PO BOX 970                                                                                            Corozal       PR   00783‐0970
          896996 Marrero Reyes, Esteban           A‐17 Calle 1                                Villa El Salvador                                         San Juan      PR   00921
                                                                                                                              Tnte Cesar
         1807914 Marrero Rivera, Ana              Urb. Tres Monjitas                          Calef Ave.                      Gonzalez                  San Juan      PR   00918
         1807914 Marrero Rivera, Ana              Calle Alejandria 1030                       Puerto Nuevo                                              San Juan      PR   00920
         1823249 Marrero Rivera, Luz V            RR 05 Box 824525                                                                                      Toa Alta      PR   00953
         1746320 Marrero Rodríguez, Maritza       HC ‐ 1 Box 6422                                                                                       Guaynabo      PR   00971
         1753262 Marrero Sánchez, Karla Marie     Hc 02 Box 6960                                                                                        Salinas       PR   00751
                                                  Karla Marie Marrero Sánchez Acreedor
         1753262 Marrero Sánchez, Karla Marie     Ninguna Hc 02 Box 6960                                                                                Salinas       PR   00751
         1753262 Marrero Sánchez, Karla Marie     Hc 02 Box 6960                                                                                        Salinas       PR   00751
          925445 MARRERO SANTIAGO, MIGUEL ANGEL   VILLA NEVAREZ                               1114 CALLE 17                                             SAN JUAN      PR   00927‐5337
         1610767 Marrero Soto, Lisa Annette       PO Box 492                                                                                            Angeles       PR   00611
         2009501 MARRERO TORRES, JORGE L.         APARTADO 43                                                                                           VILLALBA      PR   00766

         2009501 MARRERO TORRES, JORGE L.         Urbanizacion Vista Alegre Calle Isabel #Final                                                         Villalba      PR   00766
         1645647 MARRERO TORRES, LUIS A           HACIENDA LAS VEGAS                            104 CALLE RUISENOR                                      JUANA DIAZ    PR   00795‐7000
         1582363 Marrero Torres, Luis A           Hacienda Las Vegas                            104 Calle Ruisenor                                      Juana Diaz    PR   00795‐7000


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        1582340 MARRERO TORRES, LUIS A.           104 CALLE RUISENOR                             HACIENDA LAS VEGAS                                     JUANA DIAZ      PR    00795
        1795056 Marrero Vanterpool, Lucy I.       Cond Alborada 18200 Carretera Apt. 133                                                                Canovanas       PR    00729
        1181112 Marrero Vazquez, Carmen J.        Cond. Altos Del Rio                            B9 Calle 6                   Apt 3C                    Bayamon         PR    00959
        2051031 Marrero Velez, Annette            B‐21 Calle Del Vivi Repto.Flamingo                                                                    Bayamon         PR    00959
        1754256 Marrero Viera, Carlos G.          Urbanizacion April Gardens                     Calle 3 D‐13                                           Las Piedras     PR    00771
        2157466 Marrero, Delfin Martinez          HC01 Box 4700                                  Carr. 119 K 59.6                                       Las Marias      PR    00670
        1729389 Marrero, Jezebel                  Sierra Bayamon                                 93‐31 Calle 76                                         Bayamon         PR    00961
        1084084 MARTE CASTRO, REY                 HC #2 BOX 8777                                                                                        YABUCOA         PR    00767
         306669 MARTE CASTRO, REY F               HC‐02 BOX 8777                                                                                        YABUCOA         PR    00767
        1481042 Martell Rivera, David A           Hacienda Real                                  479 Reina de las Flores                                Carolina        PR    00987
        1777353 Martell Santiago, Arlene          Box 577                                                                                               Utuado          PR    00641
        1662092 MARTI LOPEZ, CARLOS R.            124 CALLE ESPIRITU SANTO                                                                              LOIZA           PR    00772
        1675616 Marti López, Héctor Luis          HC02 Box 5515                                                                                         Lares           PR    00669
        1867303 Martinez Acevedo, Maria E         P.O. Box 137                                                                                          Morovis         PR    00687
        2084108 Martinez Acevedo, Myrna           Urb.Mirador de Bairoa                          Calle 17 2x7                                           Caguas          PR    00725

         2019370 Martinez Acosta, Myrna M.        67 Parcelas Rayo Guaras                                                                               Sabana Grande   PR   00637
                                                                                                                                                        SABANA
         1989892 MARTINEZ ACOSTA, SOLEIDA         67 PARCELAS RAYO GUAROS                                                                               GRANDE          PR   00637
         1745524 Martinez Almodovar, Aileen       HC Box 4113                                                                                           Coto Laurel     PR   00730
         2208003 Martinez Alvarado, Nydia J.      Bo. Toita Buzon 3259                                                                                  Cidra           PR   00739
         1825283 Martinez Amaro, Maria T.         PO Box 1186                                                                                           Cidra           PR   00739
         1744086 Martinez Arroyo, Elba Iris       2k 27 Calle 64 Urb. Metropolis                                                                        Carolina        PR   00987
         1744086 Martinez Arroyo, Elba Iris       Box 335                                                                                               Saint Just      PR   00978
         1861303 Martinez Arroyo, Emma            Santa Lucia Q‐11                               Urbanizacion Santa Elvira                              Caguas          PR   00725
         1567744 Martinez Barbosa, Maria M        Calle 3 Parc.69 Bo Palmas                                                                             Catano          PR   00962
         1841266 Martinez Bastian, Vivian N.      PO Box 1573                                                                                           Guayama         PR   00785
         1951128 Martinez Bracero, Jaime          Urb. Mariani                                   7667 Calle manuel Z Gandia                             Ponce           PR   00717‐0219
         1982331 Martinez Colon, Carmen J.        HC‐01 Box 5249                                                                                        Santa Isabel    PR   00757
         1468016 Martinez Colon, Edwin R          PO BOX 1604                                                                                           Yauco           PR   00698
         1582585 Martinez Colon, Juan A           Las Piedras #8136                                                                                     Quebradillas    PR   00678
         1582598 Martinez Colon, Juan A           Las Piedras #8136                                                                                     Quebradillas    PR   00678
         1864061 Martinez Correa, William         Calle C‐10 Playa                                                                                      Salinas         PR   00751
         2085732 Martinez Crespo, Hector I        7 Ramal 111                                                                                           Lares           PR   00669
         1422918 MARTINEZ CRESPO, JUAN CARLOS     PO BOX 1076                                                                                           ANASCO          PR   00610
                                                                                                 PONCE BY PASS M‐NARANJA‐
         1422918 MARTINEZ CRESPO, JUAN CARLOS     INSTITUCIÓN FASE III 3793                      224                                                    PONCE           PR   00728
         2049407 MARTINEZ CRUZ, JEANETTE          HC 30 BOX 32501                                                                                       SAN LORENZO     PR   00754
         1736704 MARTINEZ CRUZ, RIGOBERTO         PO BOX 283                                     SAINT JUST                                             TRUJILLO ALTO   PR   00978
         1735571 MARTINEZ DAVILA, CAROL J.        PO BOX 216                                                                                            DORADO          PR   00646
         1124408 MARTINEZ ESPADA, NEREIDA         HC 2 BOX 3712                                                                                         SANTA ISABEL    PR   00757‐9730
         1742497 Martinez Esparra , Sonia         P.O. box 933                                                                                          Coamo           PR   00769
         1508185 MARTINEZ FELICIANO, MARISEL      URB. LAS FLORES                                CALLE ORQUIDEA #27                                     FLORIDA         PR   00650
         1596540 MARTINEZ FLORES, NANCY           HC‐02 BOX 11713                                                                                       SAN GERMAN      PR   00683
         2207181 Martinez Garcia, Aida L.         1 Calle Coral Urb. Villas de Patillas                                                                 Patillas        PR   00723
         1617549 Martinez Garcia, Sol A.          7457 Ave. Agustin Ramos Calero                                                                        Isabela         PR   00662


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        2081037 Martinez Gonzalez, Mildred              HC‐02 BOX 8478                                                                                         Juana Diaz      PR    00795
        1911206 Martinez Gutierrez, Juanita             Calle 5‐G7                                   Urb. El Torito                                            Cayey           PR    00736
        2060127 Martinez Gutierrez, Juanita             Calle 5‐ G7 Urb El Torito                                                                              Cayey           PR    00736
                                                        Urb. Quintas de Coamo Calle Capricornio
         1655365 Martinez Guzman, Diana                 #111                                                                                                   Coamo           PR   00769
         1610021 MARTINEZ GUZMAN, EVELYN J.             P.O. BOX 1070                                                                                          COAMO           PR   00769
         1610021 MARTINEZ GUZMAN, EVELYN J.             BO. LOS LLANOS SECTOR                        LAS COLINAS #270                                          COAMO           PR   00769

         2118066 MARTINEZ HERNANDEZ, MARIA DE LOURDES   COND GOLDEN TOWER APT 210                    URB VISTA MOR                                             CAROLINA        PR   00983‐1858
         2063971 Martinez Hernandez, Maria de Lourdes   Cord. Golden Tower Apt. 210                  Urb. Vista Mor                                            Carolina        PR   00983‐1858
         2012504 Martinez Hernandez, Maria De Lourdes   Cond. Golden Tower Apt. 210                  Urb. Vistamar                                             Carolina        PR   00983‐1858
         1910029 Martinez Izquierdo, Mayra Grizelle     Urb. Jardines Fagot                          2705 Altamisa                                             Ponce           PR   00716
         2012866 MARTINEZ LABOY, MIGDALIA A.            URB VILLA DELICIAS                           4358 CALLE GIMNASIO                                       PONCE           PR   00728‐3700
         1933948 Martinez Lanausse, Esther              #153 calle: Victoria Mateo                                                                             Salinas         PR   00751
         2031375 MARTINEZ LANAUSSE, YOLANDA             LA ARBOLEDA                                  C/18 #204                                                 SALINAS         PR   00751
          309743 MARTINEZ LEBRON, RITA                  MIRAFLORES                                   13 21CALLE25                                              BAYAMON         PR   00957
         1815514 MARTINEZ LOPEZ, JAVIER                 CARR 743 BOX 26503                                                                                     CAYEY           PR   00736
         2008195 Martinez Lopez, Javier                 Carr 743 Box 26503                                                                                     Cayey           PR   00736
         1634111 Martinez Lopez, Javier                 Carr 743 Box 26503                                                                                     Cayey           PR   00736
         1658853 Martinez Marrero, Carmen M             PMB 453                                      PO Box 2400                                               Toa Baja        PR   00951‐2400
         1772351 Martinez Melendez, Adelis              Calle Saturno Febo Torrecillas #21                                                                     Morovis         PR   00687
                                                                                                                                   Urb Brisas De
         2028406 Martinez Mendoza, Miriam               PO Box 1630                                  B40 Calle 10                  Anasco                      Anasco          PR   00610
         1654755 Martinez Mirabal, Bexaida              Urb Hacienda La Matilde                      5315 Calle Bagazo                                         Ponce           PR   00728‐2437
          801426 Martinez Mirabal, Bexaida              Hacienda La Matilde                          Calle Bagazo 5315                                         Ponce           PR   00728
         1656370 Martinez Mirabal, Bexaida              Urb. Hacienda La Matilde                     5315 Calle Bagazo                                         Ponce           PR   00728
          619025 MARTINEZ MIRALBAL, BEXAIDA             URB HACIENDA LA MATILDE                      5315 CALLE BAGAZO                                         PONCE           PR   00728‐2437
         1950563 MARTINEZ MORALES, BEATRICE             HC‐ 04 BOX 45219                                                                                       CAGUAS          PR   00727
         1960817 Martinez Morales, Carmen L.            HC 04 Box 17969                                                                                        Camuy           PR   00627
         2065226 Martinez Morales, Carmen L.            HC 04 Box 17969                                                                                        Camuy           PR   00627
         2026615 MARTINEZ MORALES, ELBA I               HC‐04 BOX 17970                                                                                        CAMUY           PR   00627
         1961162 MARTINEZ‐ MORALES, ELBA I.             HC‐04 BOX 17970                                                                                        CAMUY           PR   00627
         2119122 MARTINEZ MORALES, HECTOR L.            URBANIZACION JESUS M. LAGO G‐2                                                                         UTUADO          PR   00641
         1967454 Martinez Morales, Rene                 Villa Sultanita                              775 Calle J Aponte De Silva                               Mayaguez        PR   00680
         2042708 MARTINEZ NATAL, CARMEN G               HC 03 BOX 55012                                                                                        ARECIBO         PR   00612
         2218599 Martinez Nazario, Rosa M.              Jardines de Dorado                           Calle Crisantemo C‐3                                      Dorado          PR   00646
         2149509 Martinez Nieves, Luis Alfonso          HC 01 Box 6482                                                                                         Santa Isabel    PR   00757
         2134829 Martinez Nunez, Jacqueline             PO Box 1481                                                                                            Cayey           PR   00737

         2163237 Martinez Ocasio, Jacqueline            112 North Drive                                                                                        Copperas Cove   TX   76522
         1553301 MARTINEZ ORTA, JULIO                   URB LA MONSERRATE                            56 CALLE SANTA ROSA                                       SAN GERMAN      PR   00683
         2117482 MARTINEZ ORTIZ, DAISY I.               PO BOX 461                                                                                             MOROVIS         PR   00687
          858453 MARTINEZ ORTIZ, NOMAR                  URBLEVITTOWN                                 BS25 CDRTOMAS PRIETO                                      TOA BAJA        PR   00949

         1832719 Martinez Ortiz, Olga Ivette            #94 Calle Mirto ‐ Rayo Guaras                                                                          Sabana Grande PR     00637




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         1831218 Martinez Ortiz, Olga Ivette             94 Calle Mirto‐Rayo Guaras                                                                               Sabana Grande   PR   00637
         1229113 MARTINEZ PACHECO, JONATHAN              URB. SOBRINO                                   CALLE B# 43                                               COROZAL         PR   00783
         1229113 MARTINEZ PACHECO, JONATHAN              AUTORIDAD DE EDIFICIOS PUBLICOS                URB. SOBRINO CALLE B #43                                  COROZAL         PR   00783
         1904578 MARTINEZ PADILLA , WILMARIS             EXT JARDINES DE COAMO                          CALLE 10 HH‐4                                             COAMO           PR   00269
         2146885 Martinez Padilla, Thelma                Calle Luis Munoz Rivera                        38 Coco Viejo                                             Salinas         PR   00751
                                                                                                        Departamento de la Familia‐
          961229 MARTINEZ PEREZ, AUREA E                 Secretaria                                     Rehabilitacion Vocional       PO Box 174                  Santa Isabel    PR   00757
          961229 MARTINEZ PEREZ, AUREA E                 Villa Del Mar                                  Calle 4 #45                                               Santa Isabel    PR   00757
          961229 MARTINEZ PEREZ, AUREA E                 PO BOX 174                                                                                               SANTA ISABEL    PR   00757
                                                                                                                                      260 Sunny Day
         1729267 Martinez Perez, Eneida                  Willow Bend                                    Box 76                        Way                         Davenport       FL   33897
         1821205 Martinez Perez, Issac                   PO Box 506                                                                                               Hormigueros     PR   00660
         1988875 Martinez Plaza, Zenaida                 1903 Calle Lilly Urb. Flamboyanes                                                                        Ponce           PR   00716‐9114
         1694890 Martinez Ramirez, Ruth E.               Urb. Santa Elena                               P3 Calle Flamboyan                                        Guayanilla      PR   00656
         1851059 MARTINEZ RAMIREZ, RUTH E.               URB. SANTA ELENA                               P3 CALLE FLAMBOYAN                                        GUAYANILLA      PR   00656
         1734306 Martinez Ramirez, Ruth E.               Urb. Santa Elena                               P‐3 Calle Flamboyan                                       Guayanilla      PR   00656
          801598 MARTINEZ RAPPA, ALICE                   SEXTA AVENIDA #18                              LOS ROSALES                                               MANATI          PR   00674
         1950201 Martinez ‐Reyes, Luz Maria              30 Gardenia Conodado Viejo                                                                               Caguas          PR   00725
         2014183 MARTINEZ REYES, YAJAIRA                 HC‐43 BOX 12091                                                                                          CAYEY           PR   00736
         2006456 MARTINEZ REYES, YAJAIRA                 HC‐43 BOX 12091                                                                                          CAYEY           PR   00736
         1972991 Martinez Rivera, Hilda M                523 Calle Madrid                                                                                         Yauco           PR   00698‐2567
         1851079 Martinez Rivera, Idalmie                101 6 Urb. Villa Esperanza                                                                               Ponce           PR   00716
         1715347 Martinez Rivera, Jessica                299 Morton Street                                                                                        Springfield     MA   01119
         1731297 Martinez Rivera, Jessica                299 Morton Street                                                                                        Springfield     MA   01119
         1759033 Martinez Rivera, Jessica                299 Morton Street                                                                                        Springfield     MA   01119
         2196487 Martinez Rivera, Maria de los Angeles   C‐23 Calle 3 Hacienda El Zorzal                                                                          Bayamon         PR   00956‐6843
         1826363 MARTINEZ RIVERA, MARISOL                HC 1 BOX 8537                                                                                            TOA BAJA        PR   00949
         1935325 Martinez Rivera, Nicolas                Urb. San Miquel A‐18                                                                                     Santa Isabel    PR   00757
         1658096 Martinez Rivera, Rosemarie              452 Ave. Ponce De Leon                         Suite 515                                                 San Juan        PR   00918
         1658096 Martinez Rivera, Rosemarie              Ciudad Universitaria                           W‐22 Calle 24                                             Trujillo Alto   PR   00976
         1650523 MARTINEZ ROBLES, LOURDES M              HC 07 BOX 2443                                                                                           PONCE           PR   00731‐9605
         1996444 MARTINEZ RODRIGUEZ, IVY                 CALLE 1 C‐13                                   URB. VILLAMAR                                             GUAYAMA         PR   00784
         2176955 Martinez Rodriguez, Joyce Lynn          PO Box 1255                                                                                              Guayama         PR   00785
         1954798 MARTINEZ RODRIGUEZ, JUAN                PO BOX 1256                                                                                              GUAYAMA         PR   00784
         1594139 Martinez Rodriguez, Luis Edgardo        Urb Las Campinas 3, Calle Cipres #17 V‐1                                                                 Las Piedras     PR   00771
         1896632 Martinez Rodriguez, Lydia M.            19 Calle 2 Parcelas Perez                                                                                Arecibo         PR   00612
         1858791 Martinez Rodriguez, Maria del C.        HC. 44 Box 13002                                                                                         Cayey           PR   00736
         1874378 Martinez Rodriguez, Nivia A.            Urb. Jardines del Caribe 4971 c ‐ Reltada                                                                Ponce           PR   00728‐3524
         2095528 Martinez Rosa, Maria de L.              HC 04 Box 5846                                                                                           Coamo           PR   00769
         1126409 MARTINEZ ROSARIO, NOEMI                 URB MADELAINE                                  P 28 CALLE CORAL                                          TOA ALTA        PR   00953
         2126754 Martinez Ruiz, Gloria M                 HC 7 Box 27037                                                                                           Mayaguez        PR   00680
         1845458 MARTINEZ RUIZ, GLORIA M.                HC 7 BOX 27037                                                                                           MAYAGUEZ        PR   00680
         1018198 MARTINEZ RUIZ, JOSE L                   666 17                                                                                                   VILLABA PR      PR   00766
         1018198 MARTINEZ RUIZ, JOSE L                   PO BOX 219                                                                                               VILLALBA        PR   00766‐0219
         1874301 MARTINEZ RUIZ, JOSE L.                  666 17                                                                                                   Villalba        PR   00766


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        1874301 MARTINEZ RUIZ, JOSE L.            APARTADO 219                                                                                   VILLALBA        PR    00766
         801725 MARTINEZ SABATER, MARIA           URB. CAOBOS                                  CALLE ACEROLA # 933                               PONCE           PR    00716
        2021929 MARTINEZ SANCHEZ, MILAGROS        134 CONCEPCION GRACIA                                                                          MAYAGUEZ        PR    00680
        1593133 Martinez Santana, Aida L.         RR 1 Box 15101                                                                                 Orocovis        PR    00720
        1641899 Martinez Santana, Aida L.         RR 1 Box 15101                                                                                 Orocovis        PR    00720
        1947078 Martinez Santiago , Sonia E.      2911 Ave F. D. Roosevelt                                                                       Ponce           PR    00717‐1226
        1816232 Martinez Santiago, Mercedes       H.C. 07 Box 2391                                                                               Ponce           PR    00731
        1540145 Martinez Santiago, Nivea E        RO‐68 Urb. Riochuelo c/ Plaza Sur                                                              Trujillo Alto   PR    00976
        1983270 Martinez Santiago, Sonia E.       2911 Ave F. D. Roosevelt                     Urb. Mariani                                      Ponce           PR    00717‐1226
        1887292 MARTINEZ SANTIAGO, SONIA ENID     2911 AVE F.D. ROOSEVELT MARIANI                                                                PONCE           PR    00717‐1226
        1709651 Martinez Santiago, Sonia Enid     2911 Ave. F.D. Roosevelt Urb. Mariani                                                          Ponce           PR    00717‐1226
        1456284 MARTINEZ SIERRA, EVELYN           PO BOX 1196                                                                                    MANATI          PR    00674
        1593666 Martinez Sierra, Migdalia R       i‐3 Calle B                                  Urb. El Rosario                                   Vega Baja       PR    00693
        1587637 Martinez Sierra, Migdalia R,      I‐3 Calle B                                  Urb. el Rosario                                   Vega Baja       PR    00693
        1587687 Martinez Sierra, Migdalia R.      I‐3 Calle B Urb. El Rosario                                                                    Vega Baja       PR    00693
        2074719 MARTINEZ, AIDA MIRANDA            CALLE 7 D‐20 URB. SYLVIA                                                                       CAROZAL         PR    00783
        1216761 MARTINEZ, HIRAM RIVERA            HC 02 BOX 3712                                                                                 SANTA ISABEL    PR    00757
        2008107 Martinez‐Morales, Carmen L        HC 04 Box 17969                                                                                Camuy           PR    00627
        1964522 Martinez‐Morales, Carmen L.       HC 04 Box 17969                                                                                Camuy           PR    00627
        1983562 Martinez‐Morales, Elba I.         HC‐04 Box 17970                                                                                Camuy           PR    00627
        1841759 Martinez‐Morales, Elba I.         Hc‐04 Box 17970                                                                                Camuy           PR    00627
        1918751 Martinez‐Natal, Luz I.            HC 07 Box 12406                                                                                Arecibo         PR    00612
        1918797 Martinez‐Natal, Nydia E           HC 07 Box 12406                                                                                Arecibo         PR    00612
        1991782 Martinez‐Reyes, Delia             Condado Moderno                              L‐42 17th St                                      Caguas          PR    00725
        1215800 RIOS CRUZ, HERIBERTO              PO BOX 752                                                                                     JUANA DIAZ      PR    00795
        1215800 RIOS CRUZ, HERIBERTO              HC‐04                                        BOX 7711                                          JUANA DIAZ      PR    00795
         711913 TORRES PEREZ, MARIA H             RR 4 Box 2944                                                                                  Bayamon         PR    00956




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                                    Exhibit E
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          GOBIERNO DE PUERTO RICO
          Departamento de Hacienda




  March 30, 2022




  Re:    Claim NO.                  ‐ REQUIRES RESPONSE

  Dear

  Greetings on behalf of the Puerto Rico Department of Treasury (“Treasury”). You are
  receiving this communication because you filed the referenced Proof of Claim (“Claim”)
  in the Title III Court of the Puerto Rico Oversight, Management, and Economic Stability
  Act (“PROMESA”).

  As you know, the Debtors under Title III of PROMESA, through the Financial Oversight
  and Management Board for Puerto Rico (“FOMB”), transferred your Claim to the
  Administrative Claims Reconciliation Process (“ACR”) in order toresolve your Claim using
  the Government’s existing administrative procedures. The purpose of this letter is to
  notify you again that the information provided by you to date is not sufficient for
  Treasury to adequately evaluate and resolve your Claim.

  This is the third and final request to provide sufficient information to adequately
  evaluate and resolve your claim. We request that you submit the attached form along
  with any supporting documentation within a term of thirty (30) days, in which you
  describe in detail the nature of your Claim. In your response form, you should include:
  (1) your full name; (2) a telephone number and email address, if available, where you
  can be contacted; (3) tax year for which you claimed a tax refund or tax credit in the
  Claim; (4) if a tax refund or tax credit is claimed for more than one tax year, please
  specify each applicable tax year as well as the amount claimed per tax year; (5) your
  social security number or EIN number, as applicable; (6) if your Claim is or has been
  subject to an administrative or judicial process (not related to the Title III case), provide
  the case number; and (7) provide a duly stamped copy of the tax returns directly related
  to the tax refund or tax credit claimed in the Proof of Claim.

  Failure to respond to this third information request will result in your claim being
  removed from ACR for failure to respond and objected to, which may result in your
  claim being expunged. If your claim is expunged you will no longer have a claim in the
  ACR process or the Title III Cases.
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          GOBIERNO DE PUERTO RICO
          Departamento de Hacienda



  Please send the completed response form and any supporting documents within thirty
  (30) days from the date of the notice of this letter, via email to
  PRACRprocess@primeclerk.com, or by mail, hand delivery, or overnight mail to the
  following address:


                            Commonwealth of Puerto Rico ACR
                           Processing Center c/o Prime Clerk, LLC
                                 850 3rd Avenue, Suite 412
                                    Brooklyn, NY 11232

  It is of the utmost importance you reply to this letter within the thirty (30) days specified
  herein, for the adequate evaluation and resolution of your Claim. Failure to respond to
  this letter will prevent Treasury from resolving your Claim.

  Respectfully,

  Puerto Rico Department of Treasury
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           GOBIERNO DE PUERTO RICO
           Departamento de Hacienda




  30 de marzo de 2022




  Re:   Reclamación Núm.                ‐ REQUIERE RESPUESTA

  Estimado           ,

  Reciba un cordial saludo de parte del Departamento de Hacienda de Puerto Rico
  (“Hacienda”). Usted está recibiendo esta comunicación porque presentó la Evidencia de
  Reclamación (Proof of Claim) de referencia (“Reclamación”) ante el Tribunal del Título III
  de Puerto Rico Oversight, Management, and Economic Stability Act (“PROMESA”).

  Como conoce, los Deudores bajo el Título III de PROMESA, por conducto de la Junta de
  Supervisión y Administración Financiera de Puerto Rico (“JSAF”) transfirieron su
  Reclamación al Procedimiento de Reconciliación Administrativa de Reclamaciones
  con el fin de resolver su Reclamación utilizando los procesos administrativos existentes
  del Gobierno de Puerto Rico. El propósito de esta misiva es notificarle que la
  información suministrada por usted hasta el momento, no es suficiente para que
  Hacienda pueda atender adecuadamente su Reclamación.

  Esta es la tercera y última solicitud para que provea la información suficiente para
  evaluar y resolver adecuadamente su reclamo. En consecuencia, se le solicita que
  someta el Formulario de Respuesta que se acompaña dentro del término de treinta
  (30) días, en el cual describa detalladamente la naturaleza de su Reclamación. En el
  Formulario de Respuesta, debe incluir: (1) nombre completo; (2) número de teléfono y
  correo electrónico donde se le pueda contactar directamente; (3) año contributivo para
  el cual reclamó un reintegro y/o crédito contributivo en la Evidencia de Reclamación
  (proof of claim); (4) si reclama un reintegro y/o crédito para más de un año contributivo,
  desglose la cuantía por cada año contributivo reclamado en la Evidencia de
  Reclamación (proof of claim) (5) número de seguro social de individuo o número de
  seguro social patronal; (6) en caso de haber sometido su reclamo ante un proceso
  administrativo y/o judicial (no relacionado al Título III), provea el número de caso
  administrativo, judicial o ambos; y (7) acompañe copia debidamente ponchada de las
  planillas de contribución sobre ingresos que están relacionadas directamente con el
  reintegro o crédito contributivo reclamado en la Evidencia de Reclamación (proof of
  claim), así como cualquier otra documentación que apoye su reclamo.
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           GOBIERNO DE PUERTO RICO
           Departamento de Hacienda


  De no responder a esta tercera solicitud de información, su Reclamación será removida
  del Procedimiento de ACR y objetada, lo que puede conllevar la eliminación de su
  Reclamación. Si su Reclamación es eliminada, usted ya no tendrá una reclamación
  dentro del Procedimiento de ACR o ante el Tribunal de Título III.

  Favor de remitir el Formulario de Respuesta que se acompaña, junto con los
  documentos aquí solicitados, dentro de los próximos treinta (30) días desde la fecha de
  notificación de esta carta, a la siguiente dirección de correo electrónico
  PRACRprocess@primeclerk.com; o, por correo, a la siguiente dirección:

                           Commonwealth of Puerto Rico ACR
                          Processing Center c/o Prime Clerk, LLC
                                850 3rd Avenue, Suite 412
                                   Brooklyn, NY 11232

  Es de suma importancia que responda a esta comunicación en el periodo de treinta
  (30) días aquí dispuesto, para el trámite adecuado de su Reclamación. De no responder
  en el término aquí dispuesto, Hacienda no estará en posición de resolverla.

  Respetuosamente,


  Departamento de Hacienda de Puerto Rico
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           GOBIERNO DE PUERTO RICO
           Departamento de Hacienda



                                   CLAIMANT’S RESPONSE FORM
   Claim No.
   Claimant
   Name:

    (1)   Full Name

    (2)   Telephone Number and email

    (3)   Tax year for which you
          claimed a tax refund or a
          tax credit in the Proof of
          Claim.
    (4)   If a tax refund or tax credit is
          claimed for more than one
          tax year, please specify the
          amount claimed per tax year
          in the Proof of Claim.
    (5)   Social security
          number for
          individuals/ EIN
          number, as applicable
    (6)  If your Claim has been
         subject to an administrative
         or judicial process (not
         related to Title III), provide
         the case number.
    (7) Provide a duly stamped copy of the tax returns directly related to the tax refund
    and/or
          tax credit claimed in the Proof of Claim and any other documentation that supports
          your claim.
     (8) Provide a detailed description of the nature of your claim and the reason you are
          entitled to the tax return and/or tax credit claimed. Include additional pages if
          necessary.
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                              FORMULARIO DE RESPUESTA DEL RECLAMANTE
Reclamación
No.
Reclamante:

 (1)   Nombre completo

 (2)   Número de teléfono y correo
 electrónico
 (3)   Año contributivo para el cual
 reclamó un reintegro y/o créditos
 contributivos en la Evidencia de
 Reclamación (Proof of Claim)
 (4) Si en la Evidencia de
 Reclamación (Proof of Claim) reclamó
 un reintegro y/o crédito para más de
 un año contributivo, desglose la
 cuantía por cada año contributivo
 reclamado en la Evidencia de
 Reclamación (Proof of Claim).
 (5)   Número de seguro social de
 individuo/ número de seguro social
 patronal
 (6)   En caso de haber sometido su
 reclamo ante un proceso
 administrativo y/o judicial (no
 relacionado a Título III), provea el
 número de caso administrativo,
 judicial o ambos.
 (7)   Acompañe copia debidamente ponchada de las planillas de contribución sobre ingresos
 que están directamente relacionadas con el reintegro o crédito contributivo reclamado en la
 Evidencia de Reclamación (Proof of Claim), así como cualquier otra documentación que apoye su
 reclamo.
 (8) Describa en detalle la naturaleza de su reclamación y los fundamentos por los cuales usted
 cree que tiene derecho al reintegro o crédito contributivo reclamado. Incluya páginas adicionales si
 es necesario.
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                                    Exhibit F
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                                                                                                                    Exhibit F
                                                                                                          ACR Tax Final Notice Service List
                                                                                                            Served via First Class Mail
         MMLID                      NAME                                            ADDRESS 1                                      ADDRESS 2                   ADDRESS 3             ADDRESS 4           CITY        STATE POSTAL CODE
         1257675 3F AIR CONDITIONING & CONTRACTOR LLC                HC 75 BOX 1119                                                                                                                  NARANJITO       PR    00719
         1558578 A.L. SUAREZ MANAGEMENT COMPANY INC.                 PO BOX 801060                                                                                                                   COTO LAUREL     PR    00780
                                                                     PELLOT‐GONZALEZ, TAX ATTORNEYS &                 268 PONCE DE LEON, THE HATO
          1558578 A.L. SUAREZ MANAGEMENT COMPANY INC.                COUNSELORS AT LAW                                REY CENTER, STE. 903                                                           SAN JUAN        PR   00918
             6659 Advanced MRI Group of PR PSC                       PO BOX 34187                                     FORT BUCHANAN                                                                  SAN JUAN        PR   00934
             6685 ADVANCED SURGICAL SERVICES PSC                     PO BOX 11943                                                                                                                    SAN JUAN        PR   00922‐1943
                  Alberto Gallardo Villar & Maria Elena de la Cruz
          1610478 Echeandia                                          2900 Carr 834 Aptdo. 4022                                                                                                       Guaynabo        PR   00971
          1474311 Amauris Trust                                      201 S. Phillips Ave. Suite 201                                                                                                  Sioux Falls     SD   57104
          1477937 Anchor Health Management Corp.                     Urb Santa Cruz                                   B‐6 Santa Cruz                                                                 Bayamon         PR   00961
          1477937 Anchor Health Management Corp.                     Attn: Cooper Rodriguez                           PO Box 368043                                                                  San Juan        PR   00936
          1251178 ANDUJAR SANTIAGO, LUIS A                           HC 1 BOX 9373                                    BARRIO MACUN                                                                   TOA BAJA        PR   00949

                                                                                                                                                                                 The Coliseum
                                                                                                                                                                                 Tower Residences
          2119266 Angel L. Medero Vidal & Felicita Morales           Jose Ramon Cestero, Attorney                     Cestero‐Calzada Law Office LLC      576 Ave. Arterial B.   Apt. 2102        San Juan           PR   00918
          2119266 Angel L. Medero Vidal & Felicita Morales           1277 Ave Jesus T Pinero                                                                                                      San Juan           PR   00927
          1509705 Aponte Bermudez, Luis D                            1528 Calle Epifanio Vidal                        Paseo Los Robles                                                            Mayaguez           PR   00682
                                                                                                                                                          One AT&T Way,
          1505017 AT&T Mobility Puerto Rico Inc.                     James W. Grudus, Esq                             AT&T Services, Inc.                 Room 3A115                                 Bedminster      NJ   07921
                                                                                                                                                                                                     North Palm
          1505017 AT&T Mobility Puerto Rico Inc.                     11760 U.S. Highway 1                             West Tower, Suite 600                                                          Beach           FL   33408
                                                                                                                                                          1301 Avenue of the
          1505017 AT&T Mobility Puerto Rico Inc.                     David A. Rosenzweig                              Norton Rose Fulbright US LLP        Americas                                   New York        NY   10019‐6022
            39647 AXMAR GENERATOR SOLUTIONS INC                      HC 72 BOX 3659                                                                                                                  NARANJITO       PR   00719
          2204517 Baez Vasquez, Alicia Joan                          Brisas del Caribe #24                                                                                                           Ponce           PR   00728
            46827 BEBE STORES INC                                    400 VALLEY DRIVE                                                                                                                BRISBANE        CA   94005
            46827 BEBE STORES INC                                    400 VALLEY DRIVE                                                                                                                BRISBANE        CA   94005
            46910 Bedard, Madelyn                                    RR1 Box 6676                                                                                                                    Guayama         PR   00784
          1479662 BERATUNG GROUP LLC                                 URB EL VALLE                                     225 CALLE TULIPAN G7                                                           CAGUAS          PR   00727
          2207477 Berrios Crespo, Victoria                           Box 2234                                                                                                                        Cidra           PR   00739
            53841 BLUESTEM FILMS INC                                 11601 WILSHIRE BLVD STE 2180                                                                                                    LOS ANGELES     CA   90025‐1757
            54188 BONER ELECTRONICS                                  PO BOX 6153                                                                                                                     CAGUAS          PR   00726‐6153
            56912 BRAIN BIOLOGY LAB INC                              PO BOX 79875                                                                                                                    CAROLINA        PR   00984
          1590684 Buena Vibra Group Inc                              B5 Calle Tabonuco                                Ste 216                             Pmb 261                Ricardo E. Ferrer   Guaynabo        PR   00968‐3022
            58826 BUFETE JUAN RAUL MARI PESQUERA CSP                 PO BOX 326                                                                                                                      RINCON          PR   00677
          2089545 Cabrera Hermanos, LLC                              PO Box 140400                                                                                                                   Arecibo         PR   00614
          2089545 Cabrera Hermanos, LLC                              Road 2                                           KM 82.2 San Daniel                                                             Hatillo         PR   00659
          1592676 CALDERON MARTINEZ, RAFAEL                          PARQUE DEL RIO 54 PLAZA CAOBOS                                                                                                  TRUJILLO ALTO   PR   00976
            71081 CARIBBEAN CRITICAL CARE SERVICES INC               PO BOX 6794                                      MARINA ST.                                                                     MAYAGUEZ        PR   00681‐6794
          1660176 CARLOS MONTOTO & MAGDALENA BLANCO                  220 PAJUL                                        MIRADOR MILAVILLE                                                              SAN JUAN        PR   00924‐3836
          1660176 CARLOS MONTOTO & MAGDALENA BLANCO                  RE: CARLOS E. GONZALEZ                           P.O. BOX 266                                                                   CAGUAS          PR   00726‐0266
          1590941 Casas Arsuaga, Jose L                              GPO Box 10903                                                                                                                   San Juan        PR   00922
            85233 CDT G M S P INC                                    URB SANTA CRUZ                                   B7 CALLE SANTA CRUZ                                                            BAYAMON         PR   00961‐6902
            85233 CDT G M S P INC                                    Cooper Rodriguez                                 PO Box 368043                                                                  San Juan        PR   00936
          1588040 Centro Clinico de Vega Alta Corp.                  c/o Ivonnette M. Ruiz                            Calle Muñoz Rivera 5A                                                          Vega Alta       PR   00692
                                                                     Isabel Maria Santiago, Directora Ejecutiva
          1456095 Centro De Salud De Lares Inc                       Interin                                          Ave Los Patriotas Carr 111 KM 1.9                                              Lares           PR   00669
          1456095 Centro De Salud De Lares Inc                       Po Box 379                                                                                                                      Lares           PR   00669
                  Ciales Primary Health Care Services, Inc. / Prymed,
          1494720 Inc                                                 Prymed Medical Care                             PO Box 1427                                                                    Ciales          PR   00638



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                                                                                                                 Exhibit F
                                                                                                       ACR Tax Final Notice Service List
                                                                                                         Served via First Class Mail
         MMLID                          NAME                                           ADDRESS 1                                ADDRESS 2                 ADDRESS 3            ADDRESS 4              CITY   STATE POSTAL CODE
                  Ciales Primary Health Care Services, Inc. / Prymed,
          1494720 Inc                                                 Carr 149 PO Box 1427                                                                                                   Ciales          PR   00638

            93339 CLINICA DE MEDICINA DE FAMILIA DE CAYEY CSP      110 CALLE NUNEZ ROMEU E                                                                                                   CAYEY           PR   00736
                                                                                                                   PLAZA 2 # 87 AVEN DE DIEGO
            93708 COCINAS DISENO INC                               VILLAS DE SAN FRANCISCO                         SUITE 3                                                                   SAN JUAN        PR   00927
            93708 COCINAS DISENO INC                               C/O YANINA FUERTES                              1717 AVE PONCE DE LEON             #2207                                  SAN JUAN        PR   00909
            93851 COLECTIVO 84 CORP                                B5 CALLE TABONUCO STE 216 PMB 261                                                                                         GUAYNABO        PR   00968‐3022
          2042561 Colon Santana Y Asociados CSP                    Kevin Miguel Rivera Medina                      315 Coll & Toste                                                          San Juan        PR   00918
          2102163 COLORCON INC                                     275 Ruth Road                                                                                                             Harleysville    PA   19438
                                                                                                                   Alvarado Tax & Business Advisors
          2102163 COLORCON INC                                     Felipe Mariani                                  LLC                                PO Box 195598                          San Juan        PR   00919‐5598
                  CONNECTICUT GENERAL LIFE INSURANCE
          1496698 COMPANY                                          900 COTTAGE GROVE ROAD C6TAX                                                                                              HARTFORD        CT   06152
                                                                                                                   OLIMPO PLAZA SUITE 203 1002
          1804776 CORDERO & FRONTERA ARQUITECTOS PSC               MARGARITA MILAGROS FRONTERA MUNOZ               AVE                                MUNOZ RIVERA                           SAN JUAN        PR   00927
           108284 CORREA RODRIGUEZ, JOSE                           CALLE JULIAN COLLAZO 5                                                                                                    COAMO           PR   00769
                                                                                                                                                      405 Ave. Esmeralda.
          1590603 Correa‐Rodriguez, Julio F                        Miguel Angel Figoeros‐Iglesias                  PMB 375                            Ste. 2                                 Guaynabo        PR   00969‐4457
          1590603 Correa‐Rodriguez, Julio F                        1725 Yangtze                                    Urb. Rio Piedra Heights                                                   San Juan        PR   00926
          1424113 Costas Elena, Luis P.                            Urb Santa Maria 34 Calle Orquidia                                                                                         San Juan        PR   00927
           110845 COTTO COLON, JOSE                                PO BOX 1513                                                                                                               UTUADO          PR   00641
          1583270 CPA RAFAEL EMMANUELLI COLON                      COND EL SENORIAL                                1326 CALLE SALUD STE 513                                                  PONCE           PR   00717‐1687
           111727 CPALUISROD LLC                                   PO BOX 610                                                                                                                YABUCOA         PR   00767‐0610
           111751 CR QUALITY ROOFING OF PR, INC.                   PO BOX 334458                                                                                                             PONCE           PR   00733
           122471 CYCLE SPORTS CENTER INC                          PDA 26                                          1917 AVE PONCE DE LEON                                                    SAN JUAN        PR   00915‐3947
          2093262 DEL CASTILLO MARTORELL, NELSON                   PO BOX 9023025                                                                                                            SAN JUAN        PR   00902‐3025
           637079 DEL TORO & SANTANA                               PLAZA SCOTIABANK OFIC 610                       273 PONCE DE LEON                                                         SAN JUAN        PR   00917‐1838
                                                                                                                                                      273 Ponce de Leon
           637079 DEL TORO & SANTANA                               Plaza 273                                       Suite 900                          Avenue                                 San Juan        PR   00917‐1934
                                                                                                                                                                            273 PONCE DE
          1581641 DEL TORO SOSA, RUSSELL A                         ELA                                             PLAZA SCOTIABANK                   SUITE 900             LEÓN AVE..       SAN JUAN        PR   00917‐1902
          1542141 Delgado Padilla, Lilliam                         Club Mandor Village                             B‐4 Tomas Agrait Street                                                   San Juan        PR   00924
                                                                                                                   99 CALLE CAMINO DE LAS
           134054 DELGADO TORRES, EDWIN                            SABANERA DEL RIO                                AMAPOLAS                                                                  GURABO          PR   00778

          1407830 Development and Construction Law Group, LLC      PMB 443 Suite 112                               100 Grand Paseos Blvd                                                     San Juan        PR   00926‐5902
           136926 DIAZ COLON, LUIS JAVIER                          EXTENCION SANTA TERESITA                        4455 CALLE SANTA LUISA                                                    PONCE           PR   00730
          1954686 Diaz Falcon, Carlos J.                           PO Box 258                                                                                                                Aguirre         PR   00704
          1954686 Diaz Falcon, Carlos J.                           Attn: Albieli Carrasquillo, ESQ                 PO Box 10528                                                              San Juan        PR   00922‐0528
           142284 DIBOU MEDIA INC                                  PO BOX 11943                                                                                                              SAN JUAN        PR   00922
          1494345 DIRECT SOLUTION, LLC                             FUENTES LAW OFFICES, LLC                        P.O. BOX 9022726                                                          SAN JUAN        PR   00902‐2726
          1494345 DIRECT SOLUTION, LLC                             1101 RED VENTURES DRIVE                                                                                                   FORT MILL       SC   29707
          1518106 DISTRIBUIDORA DE ALIMENTOS, INC.                 P.O. BOX 365                                                                                                              CAGUAS          PR   00726‐0365
          1595114 EDEN E & E INC                                   Carr 164 KM TT Aumote                                                                                                     Nananjto        PR   00719
          1595114 EDEN E & E INC                                   PO BOX 1345 PMB 293                                                                                                       TOA ALTA        PR   00954
                                                                                                                                                                            PARQUE LAS
                                                                                                                   ELI LILLY EXPORT, S.A. (PUERTO     CALLE FEDERICO        AMERICAS 1, SUITE
          1815059 ELI LILLY EXPORT, S.A. (PUERTO RICO BRANCH)      Madelyn G. Perez, CPA                           BRANCH)                            COSTA 2235            900               SAN JUAN       PR   OO918

          1815059 ELI LILLY EXPORT, S.A. (PUERTO RICO BRANCH)      Fernando Van Derdys, Esq.                       REICHARD & ESCALERA LLC            PO BOX 364148                          SAN JUAN        PR   00936‐4148



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                                                                                                               Exhibit F
                                                                                                     ACR Tax Final Notice Service List
                                                                                                       Served via First Class Mail
         MMLID                      NAME                                           ADDRESS 1                                 ADDRESS 2                  ADDRESS 3             ADDRESS 4           CITY       STATE POSTAL CODE
         1604072 EMG Networks Alternatives Inc                    Urb. Lomas Del Sol                             118 Calle Sagitario                                                         Gurabo          PR    00778‐8926
         1503540 EMPRESAS COLON AYALA INC.                        PO BOX 3843                                                                                                                MAYAGUEZ        PR    00681‐3843
          154557 ENR SERVICE INC                                  HC 1 BOX 6024                                                                                                              AIBONITO        PR    00705‐9756

                                                                                                                                                                          The Coliseum
                                                                                                                                                                          Tower Residences
          2032531 Enrique Figueroa Fernandez & Nancy Pola Carrillo Jose Ramon Cestero                            Cestero‐Calzada Law Office LLC    576 Ave. Arterial B.   Apt. 2102        San Juan          PR   00918

          2032531 Enrique Figueroa Fernandez & Nancy Pola Carrillo 1277 Ave. Jesus T. Pinero                                                                                                 San Juan        PR   00927
          1757973 ESOLUTIONS INC                                   MANS DE CALDAS                                6 CALLE SAN CARLOS                                                          SAN JUAN        PR   00926‐5330
           843491 ESTANCIAS DE AIBONITO, INC.                      654 AVE MU‐‐‐OZ RIVERA STE 1024                                                                                           SAN JUAN        PR   00918‐4128
          2106557 EVO Consortium LLC                               1353 Ave. Luis Vigoreaux                      PMB 604                                                                     Guaynabo        PR   00966
                                                                                                                 Alvarado Tax & Business Advisors,
          2106557 EVO Consortium LLC                              Felipe Mariana                                 LLC                               P.O. Box 195589                           San Juan        PR   00919‐5598
           834326 Evyanmick, Inc.                                 HC01 Box 4837‐2                                                                                                            Camuy           PR   00627
                                                                                                                                                   American Airlines,     1 Skyview Drive,
          1464912 Executive Airlines, Inc.                        Robert Crawford                                Sr. Manager‐International Tax     Inc.                   MD 8B401           Fort Worth      TX   76155
          1518149 FAT, Inc.                                       P O Box 365                                                                                                                Caguas          PR   00726‐0365
                                                                                                                                                   200 W. Madison,
          1560825 Fidelity & Deposit Co. of Maryland              Fox Swibel Levin & Carroll LLP                 Margaret M. Anderson              Suite 3000                                Chicago         IL   60606
          1560825 Fidelity & Deposit Co. of Maryland              Zurich American Insurance Company              Annette Peat                      1299 Zurich Way                           Schamburg       IL   60196
           172106 FIGUEROA RODRIGUEZ, ANA                         PO BOX 376                                                                                                                 ANASCO          PR   00610
          1467704 FILISHA INC                                     326 BO BAJURAS                                                                                                             ISABELA         PR   00662‐2182
          2206445 Flores Bermudez, Hector Luis                    Box 1030                                                                                                                   Cidra           PR   00739
          2233579 Freire Nieves, Edna J.                          9 Gautier Benitez                                                                                                          Cidra           PR   00739
                                                                  Buzon 191 Calle Invierno FF‐I Urb Hacienda
          2204990 Freire Rodriguez, Adria A.                      Primavera                                                                                                                  Cidra           PR   00739
          2120335 G2T Ingenieria, CSP                             Urb. Los Caminos 91 Ucar                                                                                                   San Lorenzo     PR   00754
           185478 GARCIA GONZALEZ, GLORIA                         HC 70 BOX 48813                                                                                                            SAN LORENZO     PR   00754
           192077 GINARA, INC                                     URB ROUND HLS                                  322 CALLE CRUZ DE MALTA                                                     TRUJILLO ALTO   PR   00976‐2709
          1539468 GRAMIRA, LLC                                    PO BOX 358                                                                                                                 MAYAGUEZ        PR   00681‐0358
           396296 GROSSEN FRAUCHIGUER, PAUL A                     17 CALLE FONT MARTELO                                                                                                      HUMACAO         PR   00791
           396296 GROSSEN FRAUCHIGUER, PAUL A                     PO BOX 9160                                                                                                                HUMACAO         PR   00792
           214357 HECTOR LOPEZ Y ASOCIADOS INC                    PO BOX 192469                                                                                                              SAN JUAN        PR   00919‐2469
          1656403 IGUINA DE LA ROSA CSP                           URB LA RAMBLA                                  1392 CALLE CASTELLANA                                                       PONCE           PR   00730
                                                                                                                 200 AVE RAFAEL CORDERO STE
           227783 INST FLEBOLOGIA Y MED DE FAMILIA                THE UPS STORE                                  140 PMB 261                                                                 CAGUAS          PR   00725‐4303
                                                                  Urb Villa Blanca PMB 261, Ave Luis Munoz
           227783 INST FLEBOLOGIA Y MED DE FAMILIA                Marin #20                                                                                                                  Caguas          PR   00725
          1504875 Instituto de Ojos & Cirugia Plastica CSP        PO Box 3241                                                                                                                Mayaguez        PR   00682
           227974 INSTITUTO ENDOSCOPIA DIGESTIVA DEL SUR          SANTA MARIA MEDICAL BLDG                       450 CALLE FERROCARRIL STE 216                                               PONCE           PR   00717‐4105
           228409 INVERSIONES & CONSTRUCTORA R B GROUP            RAFAEL G. MARTINEZ‐GEIGEL, ESQ.                GPO BOX 366252                                                              SAN JUAN        PR   00936‐7682
           228409 INVERSIONES & CONSTRUCTORA R B GROUP            URB EL PLANTIO                                 H24A CALLE NOGAL                                                            TOA BAJA        PR   00949‐4439
           231908 ISLA REPOSSESSION AND COLLECTIONS INC           PO BOX 9166                                                                                                                CAGUAS          PR   00726
           673738 J J C INDUSTRIAL SERVICE                        3‐C CALLE LAS VIOLETAS                                                                                                     VEGA ALTA       PR   00692‐6763
                                                                                                                 Luis Munos Marin Ave. 15 Rd. Km
          2027501 JABIL NYPRO International B.V.                  Carlos Miro                                    25.4                                                                        Cayey           PR   00737‐8000
          1553828 Jackson National Ins. Co.                       Attn: William T. Devanney, Jr.                 1 Corporate Way                                                             Lansing         MI   48951
          1553828 Jackson National Ins. Co.                       c/o Swiss Re                                   Attn: William Garofalo            175 King St                               Amonk           NY   10504
          1572151 Jacobs P.S.C                                    2 Crowne Point Ct Ste 100                                                                                                  Sharonville     OH   45241‐5428




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          1572151 Jacobs P.S.C                                     Three Tower Bridge, Two Ash Street               Attn: Mr. Gary Walter                                        Conshohocken   PA    19428
           835051 Jeannette Arias Law Office, PSC                  300 Blvd. de la Montaa                           Apt. 652                                                     San Juan       PR    00926‐7029
           239092 JG DISH & CELLULAR INC                           PO BOX 1748                                                                                                   SAN LORENZO    PR    00754
                  Jorge L Irizarry Dominicci y Marian I Roig
          1570908 Franceschini                                     Urb. Punto Oro                                   4447 Calle El Angel                                          Ponce          PR    00728‐2048
                  Jose A. Fuentes Agostini and Maria C. Gonzalez
          1487903 Vizcarrondo                                      750 9th St., NW Suite 750                                                                                     Washington     DC    20001
                  JOSE E MARTINO ATTORNEY & COUNSELLOR AT                                                           644 AVE FERNANDEZ JUNCOS STE
           247184 LAW P S C                                        DISTRICT VIEW PLZ                                301                                                          SAN JUAN       PR    00907‐3183
           252153 JRZ TRANSPORT INC                                VILLA DE SAN AGUSTIN                             M49 CALLE 13 1449                                            BAYAMON        PR    00959‐2083
           256587 JURIMETRICS RESEARCH CORP                        PO BOX 361776                                                                                                 SAN JUAN       PR    00936‐1776
           260028 LABORATORIO CLINICO JUNCOS INC                   PO BOX 1920                                                                                                   JUNCOS         PR    00777
           260028 LABORATORIO CLINICO JUNCOS INC                   PO BOX3012                                                                                                    JUNCOS         PR    00777
           260049 LABORATORIO CLINICO MINILLAS CORP                MANS DEL NORTE                                   NH31 CAMINO DE VELARDE                                       TOA BAJA       PR    00949
           260140 LABORATORY CORP OF AMERICA HOLDINGS              231 Maple Ave.                                                                                                Burlington     NC    27215
           260140 LABORATORY CORP OF AMERICA HOLDINGS              338 S MAIN STREET 2ND FL                                                                                      BURLINGTON     NC    27215
                  LEGALITY INVESTIGATION & SECURITY SERVICE
           264990 INC                                              PMB 198, PO BOX 1345                                                                                          TOA ALTA       PR    00954‐9905
           270550 LOPEZ BERRIOS, ANGEL                             Angel Mario Lopez                                3117 Carr 351                                                Mayaguez       P.R   00682
           270550 LOPEZ BERRIOS, ANGEL                             PO BOX 3882                                                                                                   MAYAGUEZ       PR    00681
          1477884 Lopez Bonelli, Pedro R.                          Noemi Landrau Rivera, Attorney                   Landrau Rivera & Associates      PO Box 270219               San Juan       PR    00927‐0219
          1477884 Lopez Bonelli, Pedro R.                          #2 Calle Candina, Apt. 1001                                                                                   San Juan       PR    00907
          1391006 Lopez Ortiz, Bamily                              PO Box 635                                                                                                    Rio Grande     PR    00745
                                                                                                                    VICTOR GRATACOS‐DIAZ,
          1435489 LOS ANGELES GUARDIANES DE PUERTO RICO, INC. GRATACOS LAW FIRM, PSC                                ATTORNEY FOR CREDITOR            PO BOX 7571                 CAGUAS         PR    00726

          1435489 LOS ANGELES GUARDIANES DE PUERTO RICO, INC. COND FIRST MEDICAL FEDERAL                            1056 AVE. MUNOZ RIVERA STE 409                               SAN JUAN       PR    00927‐5013
           288570 MACRIAFI INC                                URB COUNTRY CLUB                                      OK23 CALLE 508                                               CAROLINA       PR    00982‐1905
          1600445 MANTENIMIENTO DE AREAS VERDES               PO BOX 1047                                                                                                        CABO ROJO      PR    00622
           542509 MANUEL PIRALLO, SUCN                        PO BOX 1370                                                                                                        MAYAGUEZ       PR    00681‐1370
          1639992 MARCUCCI SOBRADO, MARCOS E                  PMB 351                                               609 AVE TITO CASTRO SUITE 102                                PONCE          PR    00716‐0211
          1639992 MARCUCCI SOBRADO, MARCOS E                  PO BOX 7732                                                                                                        PONCE          PR    00732
          1377441 MARTINEZ LUGO, ELSIE                        RR 01 BZ 3081                                                                                                      MARICAO        PR    00606
          1424451 MARTINEZ RAMIREZ, NIVEA                     MR2 VIA 18 VILLA FONTANA                                                                                           CAROLINA       PR    00983
                  MAYAGUEZ ADVANCED RADIOTHERAPHY CENTER
           317461 PC                                          P.O. Box 3825                                                                                                      Mayaguez       PR    00681
                  MAYAGUEZ ADVANCED RADIOTHERAPHY CENTER
           317461 PC                                          PO BOX 8043                                                                                                        MAYAGUEZ       PR    00681‐8043

          1817403 MEDTRONIC INTERNATIONAL TRADING SARL             MR. PHILIP J. ALBERT                             710 MEDTRONIC PARKWAY LC355                                  MINNEAPOLIS    MN    55432
          1817403 MEDTRONIC INTERNATIONAL TRADING SARL             FERNANDRO VAN DERDYS, ESQ.                       REICHARD & ESCALERA LLC     PO BOX 364148                    SAN JUAN       PR    00936‐4148
                                                                                                                                                710 Medtronic
          1811982 Medtronic Logistics LLC                          Mr. Philip J. Albert                             Medtronic Logistics LLC     Parkway LC355                    Minneapolis    MN    55432
          1811982 Medtronic Logistics LLC                          Fernando Van Derdys, Esq.                        Reichard & Escalera LLC     PO BOX 364148                    SAN JUAN       PR    00936‐4148
                  MEDTRONIC PUERTO RICO OPERATIONS
          1817082 COMPANY                                          PHILIP J. ALBERT                                 710 MEDTRONIC PARKWAY LC355                                  MINNEAPOLIS    MN    55432
                  MEDTRONIC PUERTO RICO OPERATIONS
          1817082 COMPANY                                          REICHARD & ESCALERA LLC                          FERNANDO VAN DERDYS, ESQ.        PO BOX 364148               SAN JUAN       PR    00936‐4148
           328993 MERCADO OLIVENCIA, FRANCISCO                     PO BOX 1415                                                                                                   LARES          PR    00669
          1490390 Miguel A. Perez‐Bonilla Estate                   Luz A. Ramírez‐López                             1000 Worthington LN              44‐101                      Spring Hill    TN    37174



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         1753521 Miranda, Julio L.                                 369 Peachstone Way                                                                                                   Lawrenceville   GA    30042
         1798898 Miro, Carlos                                      Luis Muñoz Marin Ave 15 Rd Km 25.4                                                                                   Cayey           PR    00737‐8000
                                                                                                                                                Capital Center
                                                                                                                Carlos Jose Grovas‐Porrata,     Building ‐ South    Suite 605, 239
          1780452 Mitsubishi Motor Sales of Caribbean Inc.         Belk & Grovas Law Offices                    Attorney                        Tower               Arterial Hostos     San Juan        PR   00918
          1780452 Mitsubishi Motor Sales of Caribbean Inc.         Belk & Grovas Law Offices                    PO Box 194927                                                           San Juan        PR   00919‐4927
           343958 MORALES DELGADO, AGUSTIN                         PO BOX 895                                                                                                           LAJAS           PR   00667
          2217010 Morales Rosario, Ivan J.                         HC‐03 Box 100436                                                                                                     Comerio         PR   00782‐9570
           721329 NEGRON MATTA, MIGUEL A                           CALLE ESTEBAN PADILLA                        60 E BAJOS                                                              BAYAMON         PR   00959

           721329 NEGRON MATTA, MIGUEL A                           654 PLAZA, SUITE 1024, AVE. MUNOZ RIVERA                                                                             SAN JUAN        PR   00918
          1741972 NEGRON MATTA, MIGUEL A.                          CALLE ESTEBAN PADILLA                        60 E BAJOS                                                              BAYAMON         PR   00959

          1741972 NEGRON MATTA, MIGUEL A.                          654 PLAZA, SUITE 1024, AVE. MUNOZ RIVERA                                                                             SAN JUAN        PR   00918
          1895865 Newmeco, Inc.                                    Jeannette Stomayor, Pres.                    138 Winston Churchill Ave       Suite 800                               San Juan        PR   00926‐4203
          1895865 Newmeco, Inc.                                    1 Santa Anastacia St. Urb El vigia                                                                                   San Juan        PR   00926‐4203
                                                                                                                                                Newmeco, Inc EIN    1 Santa Anastacia
          1760676 Newmeco, Inc. and/or Jeannette Sotomayor, Pres. Jose Luis Alicea                              Vice President                  66‐0775064          St., Urb El Vigia   San Juan        PR   00926‐4203

          1760676 Newmeco, Inc. and/or Jeannette Sotomayor, Pres. 138 Winston Churchill Ave                     Suite 800                                                               San Juan        PR   00924‐203
          1473424 Niavius Trust                                   201 S. Phillips Ave.                          Suite 201                                                               Sioux Falls     SD   57104
           153112 NIEVES MOURNIER, EMIL                           Urb Las Delicias                              1006 General Valero                                                     San Juan        PR   00924
           153112 NIEVES MOURNIER, EMIL                           RIO PIEDRAS VALLEY                            7 CALLE AZUCENA                                                         SAN JUAN        PR   00926
           366422 Nolla Amado, Juan Jose                          3051 AVE. JUAN HERNANDEZ                      SUITE 202                                                               ISABELA         PR   00662‐3616
          1497891 Nordstrom Puerto Rico, Inc.                     Andrew C. Vickers                             1301 2nd Avenue, Suite 700                                              Seattle         WA   98101
          1497891 Nordstrom Puerto Rico, Inc.                     1700 7th Avenue, Suite 700                                                                                            Seattle         WA   98101
          2130973 NORTHERN RADIOTHERAPY CANCER CENTER             PO BOX 142500                                                                                                         ARECIBO         PR   00614
          2130973 NORTHERN RADIOTHERAPY CANCER CENTER             PO Box 3825                                                                                                           Mayaguez        PR   00681
          1771972 Ocasio Torres, Jessica                          PO Box 1555                                                                                                           Morovis         PR   00687
          1522433 Olivencia Velazquez CPAS P S C                  PO BOX 79715                                                                                                          CAROLINA        PR   00984‐9715
          1457411 Open Int'l Systems Corp                         6190 SW 116th St                                                                                                      Pinecrest       FL   33156
          2207303 Ortiz Diaz, Judith                              Buzon RR 01 2138                                                                                                      Cidra           PR   00739
                                                                                                                                                M TORRES‐DIAZ &
           388454 P P L MEDICAL CSP                                MIGUEL A TORRES DIAZ                         CONTADOR                        CO., C.S.P.         PO BOX 3502         GUAYNABO        PR   00970‐3502

           388454 P P L MEDICAL CSP                                GALERIA PASEOS                               100 GRAND PASEO BLVD STE 112    PMB 333                                 SAN JUAN        PR   00926
           395188 PARCOM INC                                       PO BOX 466                                                                                                           BAYAMON         PR   00961
           396564 PC G INT'L                                       COND PLAZA ATHENEE                           101 AVE ORTEGON APT 301                                                 GUAYNABO        PR   00966
          2207489 Pedraza Olique, Iris D.                          1739 Carr 172                                                                                                        Cidra           PR   00739
          1159802 PEREZ RAMIREZ, ALEJANDRO E                       1484 AVE FD ROOSVELT                         APARTAMENTO 1108                                                        SAN JUAN        PR   00920
          1507684 PEREZ RIVERA, GABRIEL                            CMR 490 BOX 2416                                                                                                     APO             AE   09708
          1792363 PEREZ RIVERA, HECTOR                             PO BOX 9007                                                                                                          SAN JUAN        PR   00908
          2205018 Perez Vazquez, Milagros                          P.O. Box 9842                                                                                                        Cidra           PR   00739
          1252187 PEREZ VELEZ, LUIS A                              RR 1 BOX 3081                                                                                                        MARICAO         PR   00606
                                                                                                                183 AVE UNIVERSIDAD
           409284 PHDS CORP                                        CHRISTOPHER MOLINA                           INTERAMERICANA                  SUITE 208                               SAN GERMAN      PR   00683
           409284 PHDS CORP                                        PO BOX 5075 PMB 214                                                                                                  SAN GERMAN      PR   00683‐9809
                                                                                                                                                101 Constitutiion
                                                                                                                                                Ave., NW, Suite
          1507453 Philip Morris USA, Inc.                          Altria Client Services LLC                   Robert Alexander McCarter lll   400W                                    Washington      DC   20001
          1507453 Philip Morris USA, Inc.                          McConnell Valdes LLC                         P.O. Box 364225                                                         San Juan        PR   00936



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         1507453 Philip Morris USA, Inc.                          6603 W. Broad St.                                                                                           Richmond      VA    23220
          410384 PINNACLE PARTNERS, CORP                          PO BOX 9022399                                                                                              SAN JUAN      PR    00902‐2399
          412612 PONCE GASTROENTEROLOGY SOC                       SANTA MARIA MEDICAL BLDG                        450 CALLE FERROCARRIL STE 210                               PONCE         PR    00717
          412628 PONCE LOPEZ, JOSE                                1410 MARBELLA ST. VISTAMAR MARINA                                                                           CAROLINA      PR    00922
          412628 PONCE LOPEZ, JOSE                                PO BOX 10275                                                                                                SAN JUAN      PR    00922
         1531953 Portela Rodriguez, Ramon M.                      91 Calle 1 Paseo Las Vistas                                                                                 San Juan      PR    00926
          413512 POWER COOLING                                    PO BOX 192817                                                                                               SAN JUAN      PR    00919
          414610 PROFESSIONAL SERVICES NETWORK INC                402 KING FARM BLVD                              SUITE 125‐142                                               ROCKVILLE     MD    20850
          414685 PROJECT MANAGEMENT CONSTUCTION CORP              1336 CALLE SALUD                                                                                            PONCE         PR    00717
          414691 PROJECT MANAGEMENT SERVICES PSC                  1336 CALLE SALUD                                                                                            PONCE         PR    00717
          415229 PUERTO RICO REFROCTORY SERVICES INC              PO BOX 7903                                                                                                 PONCE         PR    00732
          415449 PULMONARY EQUIPMENT CORP                         PO BOX 19870                                                                                                SAN JUAN      PR    00910
          419458 QUINTEROS, ALEJANDRO                             1367 AVE WILSON                                 APTO 301                                                    SAN JUAN      PR    00907
         1577097 R&D Master Enterprises, Inc.                     PO Box 21110                                                                                                San Juan      PR    00928
          878670 RA RF INC                                        MONTECASINO HIGHTS                              CALLE RIO GRANDE 48                                         TOA ALTA      PR    00953
         1598463 RAFAEL E TIMOTHEE / CONCEPCION VEGA              URB MONTE CARLO                                 1312 CALLE 25                                               SAN JUAN      PR    00924‐5251
         1467183 Ramon J Vinas Sr Estate                          c/o Ramón L. Viñas Bueso, Esq.                  623 Ponce de Leon               Suite 1202B                 San Juan      PR    00917‐4831
         1426297 REBARBER OCASIO, FRED                            241 S RIVERWALK DRIVE                                                                                       PALM COAST    FL    32137
                                                                                                                  17 CALLE REGINA MEDINA APT
           431591 RED BUSINESS SUPPORT GROUP INC                  COND ATRIUM PARK                                506A                                                        GUAYNABO      PR   00969‐6029
          1508434 RED VENTURES, LLC                               FUENTES LAW OFFICES, LLC                        P.O. BOX 9022726                                            SAN JUAN      PR   00902‐2726
          1508434 RED VENTURES, LLC                               1101 RED VENTURES DRIVE                                                                                     FORT MILL     SC   29707
                  Renato V. Sartori Salvucci and Paola Marchita
          2124314 Bazzano                                         Rafael H. Ramirez Ball                          Legal Counsel                   PO Box 195492               San Juan      PR   00919
                  Renato V. Sartori Salvucci and Paola Marchita
          2124314 Bazzano                                         Edificio Capital Center 603 Ave. 239            Arterial Hostos                                             San Juan      PR   00911
           432865 RESPIRATORY LEASING CORP                        PO BOX 19870                                                                                                SAN JUAN      PR   00910
           436935 RHEINSCHMIDT TILE AND MARBLE INC                LARRY W. RHEINSCHMIDT, JR.                      1100 AGENCY STREET                                          BURLINGTON    IA   52601
           436935 RHEINSCHMIDT TILE AND MARBLE INC                PO BOX 668                                                                                                  BURLINGTON    IA   52601
           442673 RIVERA BURGOS, CARLOS                           URB PRADERA                                     AM 35 CALLE 19                                              TOA BAJA      PR   00949
          1399741 RIVERA ECHANDY, ALBERTO E                       PO BOX 645                                                                                                  MAYAGUEZ      PR   00681‐0645
           458734 RIVERA SANCHEZ, JOSE                            C35 CALLE PASEO DE LA ROSA                      JDNS DE CAYEY                                               CAYEY         PR   00736
          1500044 RN Promotions & Inc                             PO Box 50635                                                                                                Toa Baja      PR   00950‐0635
          1570564 RN Promotions & Inc.                            PO Box 50635                                                                                                Toa Baja      PR   00950‐0635
           470717 RODRIGUEZ GARCIA, JESUS                         PO BOX 547                                                                                                  CAMUY         PR   00627
           476421 RODRIGUEZ PAGAN, RADAMES                        37 CALLE LOS BASORA SECT TOKIO                                                                              LAJAS         PR   00667
          1453940 RODRIGUEZ RAMIREZ, ANGEL                        HC 3 BOX 17365                                                                                              LAJAS         PR   00667
          1690463 RODRIGUEZ SOLIS, RAFAEL                         PO BOX 7173                                                                                                 MAYAGUEZ      PR   00680‐7173
           486404 Roma Realty Corp                                Urb Sagrado Corazon                             1625 Calle Santa Ursula                                     San Juan      PR   00926
           496243 ROSARIO COLON, FRANCISCO                        PO BOX 505                                                                                                  COROZAL       PR   00783
          2203867 Rosario Melendez, Rosanell                      Urb. Freire 123 Calle Rubi                                                                                  Cidra         PR   00739‐3143
           499891 RSM LAW OFFICE, PSC                             PMB 361, SUITE 102                              405 AVE ESMERALDA                                           GUAYNABO      PR   00969
           504369 Saez Galindo, Raul                              Calle 25 De Julio #80                           Urb. Bahia                                                  Guanica       PR   00653
          1814294 Salud Integral de la Montana, Inc.              PO Box 515                                                                                                  Naranjito     PR   00719
          1814294 Salud Integral de la Montana, Inc.              John E. Mudd                                    P.O. Box 194134                                             San Juan      PR   00919
           855658 Salvador Rovira Rodriguez Attorneys at Law      203 San Cristobal Office Park Ste 201                                                                       Coto Laurel   PR   00780
           855658 Salvador Rovira Rodriguez Attorneys at Law      PO Box 7462                                                                                                 Ponce         PR   00732
          2025803 Sanabria Figueroa, Harry L.                     182 Tulipan                                                                                                 San Juan      PR   00927‐6214
           508524 SANCHEZ GONZALEZ, JOSE                          2B INT CALLE TEODORO FIGUEROA                                                                               ADJUNTAS      PR   00601‐2300
          2208435 Santiago Rivera, Juan A.                        P.O. Box 502                                                                                                Cidra         PR   00739
          2205874 Santos Rodriguez, Carlos J.                     144 Cidra Bo. Sud Arriba                                                                                    Cidra         PR   00739



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          2206927 Santos Saez, Carmen Gloria                      Departamento de Educacion de Puerto Rico       RR ‐ 1 Bo. Rio Abajo, 2244 ‐ 1                                    Cidra          PR   00739
          1464223 SAP Legal PSC                                   434 Ave. Hostos                                                                                                  San Juan       PR   00918
           526185 Seascape Corporation                            1 Rodriguez Serra Apt 902                                                                                        San Juan       PR   00907‐1451
          2053176 Sense Corp.                                     17 Rams Gate                                                                                                     St. Louis      MO   63132
                                                                                                                                                  1000 San Roberto
                                                                                                                                                  Street, Reparto
          2053176 Sense Corp.                                     Albieli Carrasquillo                           RSM Puerto Rico                  Loyola                           San Juan       PR   00922
          2215210 Serrano Sanchez, Victor M.                      Bo. Arenas Km.1 Sector los Pinos               Apt. 1245                                                         Cidra          PR   00739

           530540 SERV DE SALUD PRIMARIO DE BARCELONETA           LEIDA ANNETTE NAZARIO                          CARR #2 KM. 57.8 CRUCE DAVILA                                     BARCELONETA    PR   00617
           530540 SERV DE SALUD PRIMARIO DE BARCELONETA           D/B/A ATLANTIC MEDICAL CENTER                  PO BOX 2045                                                       BARCELONETA    PR   00617
          1571566 Servicios de Transportacion Juan Carlos Inc     PO Box 439                                                                                                       Loiza          PR   00772
          1490298 Smart Insurance Agency VSJ, P.S.C.              1510 F.D. Roosevelt Ave.                       Suite 9A1                                                         Guaynabo       PR   00968

          1490298 Smart Insurance Agency VSJ, P.S.C.              Marichal, Hernández, Santiago & Juarbe, LLC    Juan Jose Charana‐Agudo          PO Box 190095                    San Juan       PR   00919‐0095
           537437 SOTO GONZALEZ, JUAN                             25 CALLE SERENIDAD                             URB PARAISO DE MAYAGUEZ                                           MAYAGUEZ       PR   00680
          1598821 Soto Gonzalez, Luis                             PMB 511                                        PO BOX 607071                                                     Bayamon        PR   00960‐7071
                  Southern Surgicenter Corp. / Fundacion Damas,
           540105 Inc..                                           Parra Medical Plaza                            Suite 1009                       2225 Ponce By‐Pass               PONCE          PR   00717‐1382
          2207329 Tirado Aponte, Elffy                            PO Box 11998 Suite 148                                                                                           Cidra          PR   00739
           550339 TORRES COLON, ANGEL                             477 CALLE UNION INTERIOR STE 206                                                                                 PUERTO REAL    PR   00740
          2203834 Vazquez Morales, Ana L.                         Bz 236 Urb. Las Muesas                         Calle Fco. Colon Julia                                            Cayey          PR   00736
          2204820 Vega Santiago , Damaris                         Urb. Vista Monte Calle 6 G‐3                                                                                     Cidra          PR   00789
          2204912 Vega Santiago, Nelida                           Urb. Ferrer Calle 1 #8                                                                                           Cidra          PR   00739
          2207631 Velazquez Nieves, Roberto                       P.O. Box 1185                                                                                                    Aguas Buenas   PR   00703‐1185




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